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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF OHIO
                            EASTERN DIVISION

                            FILED ELECTRONICALLY

BON SECOURS
HEALTH SYSTEM, INC.

BON SECOURS- RICHMOND
COMMUNITY HOSPITAL,
INCORPORATED
                                                      IN RE: NATIONAL
BON SECOURS DEPAUL MEDICAL                          PRESCRIPTION OPIATE
CENTER, INC.                                             LITIGATION

BON SECOURS-MEMORIAL
REGIONAL MEDICAL CENTER, INC.                   MDL No. 2804

BON SECOURS—ST. FRANCIS                         Case No. 17-md-2804
MEDICAL CENTER, INC.
                                                COMPLAINT
BON SECOURS—ST. MARY’S
HOSPITAL OF RICHMOND, INC.                      JURY TRIAL DEMANDED

BON SECOURS—VIRGINIA
HEALTHSOURCE, INC.

CHESAPEAKE HOSPITAL
CORPORATION

MARY IMMACULATE HOSPITAL,
INCORPORATED

and

MARYVIEW HOSPITAL

       Plaintiffs

V.
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PURDUE PHARMA L.P.
    Serve:
    The Prentice-Hall Corporation
    System, Inc.
    251 Little Falls Drive
    Wilmington, DE 19808

PURDUE PHARMA, INC.
    Serve:
    The Prentice-Hall Corporation
    System, Inc.
    80 State Street
    Albany, NY 12207-2543

PURDUE FREDERICK COMPANY, INC.
    Serve:
    The Prentice-Hall Corporation
    System, Inc.
    251 Little Falls Drive
    Wilmington, DE 19808

CEPHALON, INC.
    Serve:
    Corporate Creations Network Inc.
    3411 Silverside Road
    Tatnal Building, Suite 104
    Wilmington, DE 19810

TEVA PHARMACEUTICAL
INDUSTRIES, LTD.
     Serve: Teva Pharmaceutical
     Industries, Ltd.
     5 Base Street
     Petach Tikva, Israel 49131

TEVA PHARMACEUTICALS USA, INC.
     Serve:
     Corporate Creations Network Inc.
     3411 Silverside Road
     Tatnal Building, Suite 104
     Wilmington, DE 19810




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JOHNSON & JOHNSON
    Serve:
    Johnson & Johnson
    One Johnson & Johnson Plaza,
    New Brunswick, NJ 08933

JANSSEN PHARMACEUTICALS, INC.
     Serve:
     CT Corporation System
     600 N. 2nd Street, Suite 401
     Harrisburg, PA 17101-1071

ORTHO-MCNEIL-JANSSEN
PHARMACEUTICALS, INC. n/k/a
JANSSEN PHARMACEUTICALS, INC.
     Serve:
     CT Corporation System
     600 N. 2nd Street, Suite 401
     Harrisburg, PA 17101-1071

JANSSEN PHARMACEUTICA INC. n/k/a
JANSSEN PHARMACEUTICALS, INC.
     Serve:
     Oliver Building
     Mellon Square
     c/o CT Corporation System
     Pittsburgh
     Allegheny, PA 15222-0

NORAMCO, INC.
    Serve:
    The Corporation Trust Company
    Corporation Trust Center
    1209 Orange St.
    Wilmington, DE 19801

ENDO HEALTH SOLUTIONS INC.
    Serve:
    The Corporation Trust Company
    Corporation Trust Center
    1209 Orange St.
    Wilmington, DE 19801




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ENDO PHARMACEUTICALS, INC.
    Serve:
    The Corporation Trust Company
    Corporation Trust Center
    1209 Orange St.
    Wilmington, DE 19801


ALLERGAN PLC f/k/a ACTAVIS PLS
    Serve:
    Clonshaugh Business and
    Technology Park
    Coolock, Dublin D E400

WATSON PHARMACEUTICALS, INC.
n/k/a ACTAVIS, INC.
       Serve:
       CT Corporation System
       818 W. Seventh Street, Suite 930
       Los Angeles, CA 90017

WATSON LABORATORIES, INC.
    Serve:
    Corporate Creations Network, Inc.
    8275 South Eastern Avenue, #200
    Las Vegas, NV 89123

ACTAVIS LLC
    Serve:
    Corporate Creations Network, Inc.
    3411 Silverside Road, Suite 104
    Wilmington, DE 19810

ACTAVIS PHARMA, INC. f/k/a
WATSON PHARMA, INC.
    Serve:
    c/o Corporate Creations Network,
    Inc. 3422 Silver Road
    Tatnal Building, Suite 104
    Wilmington, DE 19810




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DEPOMED, INC.
    Serve:
    Arthur J. Higgins
    7999 Gateway Blvd, Ste 300
    Newark, CA 94560

MALLINCKRODT PLC
    Serve:
    3 Lotus Park, The Causeway
    Staines-upon-Thames TW18 3AG
    United Kingdom

MALLINCKRODT LLC
    Serve:
    The Corporation Trust Company
    Corporation Trust Center
    1209 Orange St.
    Wilmington, DE 19801

McKESSON CORPORATION
    Serve:
    CSC Lawyers Incorporating Service
    Megan Bretz
    2710 Gateway Oaks Drive, Ste 150N
    Sacramento, CA 95833-3505

CARDINAL HEALTH, INC.
    Serve:
    Cardinal Health 107, Inc.
    7000 Cardinal Place
    Dublin, OH 43017

AMERISOURCEBERGEN DRUG
CORPORATION
    Serve:
    The Corporation Trust Company
    Corporation Trust Center
    1209 Orange St.
    Wilmington, DE 19801




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COLLEGIUM PHARMACEUTICAL,
INC.
     Serve:
     Corporation Service Company
     100 Shockoe Slip
     2nd Floor
     Richmond, VA 23219

and

MIAMI-LUKEN, INC.
    Serve:
    William Powers
    265 Pioneer Blvd.
    Springboro, OH 45066

       Defendants


                                  *********




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         Come the Plaintiffs, Bon Secours Health System, Inc.; Bon Secours- Richmond

Community Hospital, Incorporated; Bon Secours DePaul Medical Center, Inc.; Bon Secours—

Memorial Regional Medical Center, Inc.; Bon Secours—St. Francis Medical Center, Inc.; Bon

Secours—St. Mary’s Hospital of Richmond, Inc.; Bon Secours—Virginia Healthsource, Inc.;

Chesapeake Hospital Corporation; Mary Immaculate Hospital, Incorporated; and Maryview

Hospital (collectively, “Plaintiffs”), by and through counsel, and hereby bring this Complaint

against Defendants, Purdue Pharma L.P.; Purdue Pharma, Inc.; The Purdue Frederick Company,

Inc.; Cephalon, Inc.; Teva Pharmaceutical Industries, LTD.; Teva Pharmaceuticals USA, Inc.;

Johnson & Johnson; Janssen Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc.

n/k/a Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutical Inc. n/k/a Janssen Pharmaceuticals,

Inc.; Noramco, Inc.; Endo Health Solutions Inc.; Endo Pharmaceuticals, Inc.; Allergan PLC f/k/a

Actavis PLS; Watson Pharmaceuticals, Inc. n/k/a Actavis, Inc.; Watson Laboratories, Inc.;

Actavis, LLC; Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.; Depomed, Inc.; Mallinckrodt PLC;

Mallinckrodt LLC; McKesson Corporation; Cardinal Health, Inc.; AmerisourceBergen Drug

Corporation;      Collegium       Pharmaceutical,        Inc.;   and     Miami-Luken,         Inc.    (collectively,

“Defendants”), alleging as follows:

                                         I.        INTRODUCTION

    1. The United States is in the midst of an opioid 1 epidemic caused by Defendants’ unlawful

         marketing, sales, and distribution of prescription opioids that has resulted in addiction,

         dependency, criminal activity, serious health issues, and loss of life.




1
 As used herein, the term “opioid” refers to the entire family of opiate drugs including natural, synthetic, and semi-
synthetic opiates.

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    2. Plaintiffs bring this civil action to recover monetary losses that have been incurred, and

        will continue to be incurred, as a direct and proximate result of Defendants’ false,

        deceptive, and unfair marketing and/or unlawful diversion of prescription opioids. Such

        economic damages were foreseeable to Defendants and were sustained because of

        Defendants’ unlawful actions and omissions, which amounted to wanton, grossly negligent

        conduct; which constituted negligence, per se; fraud; and the Virginia Consumer

        Protections Act; and which was violative of both State and Federal law.

    3. Opioid analgesics are widely diverted and improperly used, and the widespread abuse of

        opioids has resulted in a national epidemic of opioid overdose deaths, addictions, and

        dependencies. 2

    4. The opioid epidemic is “directly related to the increasingly widespread misuse of powerful

        opioid pain medications.” 3

    5. Plaintiffs bring this suit against the manufacturers of prescription opioids. The

        manufacturers aggressively marketed highly addictive, dangerous opioids, falsely

        representing to practitioners that patients would only rarely succumb to drug addiction.

        These pharmaceutical companies aggressively advertised to and persuaded practitioners to

        prescribe highly addictive, dangerous opioids, causing drug addiction and dependency for

        these companies’ own corporate profit. Such actions were unlawful.

    6. Plaintiffs also bring this suit against the wholesale distributors of these highly addictive

        drugs. The distributors and manufacturers unlawfully breached their legal duties under



2
  See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain-Misconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).
3
  See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).


                                                        2
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   federal law to monitor, detect, investigate, refuse, and report suspicious orders of

   prescription opiates.

7. Plaintiffs have incurred substantial expenditures, for which they have not received

   compensation or reimbursement, in connection with their provision of care to individuals

   who have been impacted by the opioid epidemic being perpetuated by the Defendants.

8. As a direct and proximate result of the foregoing, Defendants have foreseeably caused

   damages to Plaintiffs including but not limited to the following: (a) unreimbursed and/or

   uncompensated costs incurred for the treatment of patients who suffer from conditions

   related to or caused by opioid use; (b) unreimbursed and/or uncompensated costs incurred

   for the treatment of patients, whose conditions are managed through the prescribing of

   long-term opioid use and the complications suffered by those patients as a result of long-

   term use of opioids; (c) unreimbursed and/or uncompensated costs incurred for the

   treatment and management of patients under the influence of opioids or suffering

   complications as a result of opioid use or misuse; (d) unreimbursed and/or uncompensated

   costs incurred for the treatment of patients including children whose medical conditions

   and complications may be caused by or exacerbated by the use of opioids by others; (e)

   unreimbursed or uncompensated costs of providing additional treatments and services

   including therapeutic and prescription drug purchases; (f) unreimbursed and/or

   uncompensated costs incurred for the provision of laboratory and other diagnostic testing

   for the treatment and/or management of patients using opioids or undergoing therapeutic

   interventions to address opioid use or misuse; (g) unreimbursed and/or uncompensated

   costs incurred for the emergency treatment of patients with opioid-related addiction,

   disease, or dependency, including but not limited to emergency healthcare services


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 provided for opioid overdose or for patients seeking treatment with opioids due to

 addictions, dependencies, and/or misuse; (h) unreimbursed and/or uncompensated costs

 incurred for the treatment with life support-related healthcare services to prevent death in

 certain instances of opioid overdose, including but not limited to treatment for babies born

 with addictions and dependencies; (i) the increased costs due to providing necessary

 screening procedures for acceptance of patients due to the high prevalence of individuals

 suffering from opioid-related addiction, disease, or dependency and needing medical care;

 (j) increased costs related to the monitoring of patients; (k) increased costs related to the

 credentialing and monitoring of healthcare providers; (l) increased costs related to

 additional security to address public safety concerns, particularly in the emergency

 department; (m) increased costs related to the storage and safekeeping of controlled

 substances; (n) increased costs related to added regulatory compliance; (o) increased

 litigation defense costs; (p) increased costs related to the procurement and maintenance of

 insurance; (q) lost revenue attributable to the required discharge of patients who are

 diverting and/or using opioids in a manner which does not comply with their prescribed

 use; (r) lost opportunity costs; (s) the diversion of assets from the provision of other needed

 health care; (t) increased human resources costs, as well as loss of employee productivity;

 (u) uncompensated research cost related to non-opioid treatment alternatives; (v)

 uncompensated cost and expense for the provision of non-opioid treatment alternatives in

 the future; (w) uncompensated cost and expense for the current and future provision of

 treatment to address the consequences of opioid addiction and dependency, including but

 not limited to the after-effects attributable to medication assisted therapies; and (x)

 uncompensated cost and expense for the current and future provision of treatment to


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   patients suffering from opioid withdrawal and/or medical issues related to opioid

   withdrawal.

                                     II. PARTIES

                                  III. PLAINTIFFS

9. Bon Secours Health System, Inc. (“BSHSI”), is a non-profit corporation organized under

   the laws of the State of Maryland, with its principal place of business in Maryland. BSHSI,

   through its Affiliates and Health Care Providers, provides for the health care needs of

   people in the United States and seeks to deliver exemplary outcomes in terms of both

   clinical quality and patient experience. BSHSI also works across the healthcare continuum

   to provide improved population health through its Affiliates and Health Care Providers

   offering direct care services. In February 2018, BSHSI was recognized by the Ethisphere

   Institute, a global leader in defining and advancing the standards of ethical business

   practices as one of “2018 World’s Most Ethical Companies.” BSHSI is one of only eight

   honorees in the healthcare industry to be so recognized, underscoring the organization’s

   commitment to lead with integrity, as well as its prioritization of ethical business practices.

   BSHSI is committed to building healthy communities, to transforming the health delivery

   system to ensure high standards of clinical care, and to the exemplary coordination of

   patient care.

10. Bon Secours- Richmond Community Hospital, Incorporated (“RCH”), is a non-profit

   corporation organized under the laws of the State of Virginia, with its principal place of

   business in Virginia. RHC, located in Richmond, Virginia, owns and operates an acute care

   hospital and provides outpatient health care services to residents of the Commonwealth of

   Virginia.


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11. Bon Secours DePaul Medical Center, Inc. (“DMC”), is a non-profit corporation organized

   under the laws of the State of Virginia, with its principal place of business in Virginia.

   DMC, located in Norfolk, Chesapeake, and Virginia Beach, owns and operates an acute

   care hospital and related health care services and clinics, and provides extensive health

   services to residents of the Commonwealth of Virginia. These include, but are not limited

   to, Amelia Medical Associates, Bon Secours Fastcare—Battlefield, Bon Secours

   Greenbrier Medical Associates, Bon Secours Medical Associates at Virginia Beach, Bon

   Secours Medical Associates II, Bon Secours Monarch Medical Associates, Bon Secours

   Neuroscience for Pain Management, Bon Secours Neurovascular Center, Bon Secours

   Patient Choice/Oceana, Bon Secours Town Center Medical Associates, DePaul Medical

   Associates, DePaul Medical Center, DePaul Palliative Care, East Beach Medical

   Associates, Ghent Station Medical Associates, and Hampton Roads OB/GYN.

12. Bon Secours—Memorial Regional Medical Center, Inc. (“MRMC”), is a non-profit

   corporation organized under the laws of the State of Virginia, with its principal place of

   business in Virginia. MRMC, located in King William, Richmond, Kilmarnock,

   Mechanicsville, Glen Allen, and Urbanna, owns and operates an acute care hospital and

   related health care services and clinics, and provides extensive health services to residents

   of the Commonwealth of Virginia. These include, but are not limited to, Aylett Medical

   Center, Bon Secours Behavioral Health Services, Bon Secours Behavioral Health Group,

   Bon Secours Behavioral Health Group at Memorial Regional, Bon Secours Capitol

   OB/GYN, Crossridge Pediatrics and Internal Medicine, Hanover County and Bon Secours

   Good Health Clinic, Hanover Pediatrics, Laburnum Medical Center, Lee Davis Pediatrics,




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   Memorial Medical Center, Memorial Regional Medical Center, and Urbanna Medical

   Center.

13. Bon Secours—St. Francis Medical Center, Inc. (“SFMC”), is a non-profit corporation

   organized under the laws of the State of Virginia, with its principal place of business in

   Virginia. SFMC, located in Chester, Blackstone, Midlothian, Petersburg, Powhatan, and

   Richmond, owns and operates an acute care hospital and related health care services and

   clinics, and provides extensive health services to residents of the Commonwealth of

   Virginia. These include, but are not limited to, Bermuda Crossroads Primary Care,

   Blackstone Family Practice Center, Bon Secours FastCare, Bon Secours Freedom

   Healthcare Associates, Bon Secours Commonwealth Fertility and Women’s Health, Bon

   Secours Neurology Clinic at the Westchester, Bon Secours St. Francis Medical Center,

   Bon Secours Westchester Emergency Center, Charter Colony Family Practice, Ironbridge

   Family Practice, Neurology Clinic, Powhatan Medical Associates, Richmond OB/GYN,

   St. Joseph’s Outreach Clinic, St. Francis Family Medicine Center, and St. Francis Family

   Practice OB/GYN.

14. Bon Secours—St. Mary’s Hospital of Richmond, Inc. (“SMHR”), is a non-profit

   corporation organized under the laws of the State of Virginia, with its principal place of

   business in Virginia. SMHR, located in Richmond, owns and operates an acute care

   hospital and related health care services and clinics, and provides extensive health services

   to residents of the Commonwealth of Virginia. This includes, but is not limited to,

   Behavioral Health Group at St. Mary’s, Bon Secours Behavioral Health Services, Bon

   Secours Cure and Care, Bon Secours Developmental & Special Needs Pediatrics, Bon

   Secours Neurology Clinic at St. Mary’s, Bon Secours Senior Care Services, Bon Secours


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   St. Mary’s Hospital of Richmond Psychiatric Unit, Good Health Clinic, Patterson Avenue

   Family Practice, The Perinatal Center, Bon Secours Richmond OB/GYN at St. Mary’s, and

   St. Mary’s Hospital.

15. Bon Secours—Virginia Healthsource, Inc. (“VH”), is a non-profit corporation organized

   under the laws of the State of Virginia, with its principal place of business in Virginia. VH,

   located in Richmond, owns and operates and health care services and clinics, and provides

   extensive health services to residents of the Commonwealth of Virginia. This includes, but

   is not limited to, Bon Secours Medcare Center and Brook Run Family Physicians.

16. Chesapeake Hospital Corporation (“CHC”), is a non-profit corporation organized under

   the laws of the State of Virginia, with its principal place of business in Virginia. CHC,

   located in Kilmarnock and Irvington, owns and operates an acute care hospital and related

   health care services and clinics, and provides extensive health services to residents of the

   Commonwealth of Virginia. This includes, but is not limited to, Rappahannock General

   Hospital and Rappahannock Hospital Physicians.

17. Mary Immaculate Hospital, Incorporated (“MIH”), is a non-profit corporation organized

   under the laws of the State of Virginia, with its principal place of business in Virginia.

   MIH, located in Newport News, owns and operates an acute care hospital and related health

   care services and clinics, and provides extensive health services to residents of the

   Commonwealth of Virginia. This includes, but is not limited to, Bon Secours Gynecologic

   Oncology Specialists and Bon Secours Mary Immaculate Hospital.

18. Maryview Hospital (“MH”), is a non-profit corporation organized under the laws of the

   State of Virginia, with its principal place of business in Virginia. MH, located in

   Portsmouth, Suffolk, and Carrollton, owns and operates an acute care hospital and related


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   health care services and clinics, and provides extensive health services to residents of the

   Commonwealth of Virginia. This includes, but is not limited to, Airline Boulevard Medical

   Associates, Bon Secours Grassfield Medical Associates, Bon Secours Health Center at

   Harbour View, Bon Secours Maryview Behavioral Health, Bon Secours Maryview

   Medical Center, Bon Secours Neuroscience Center, Bon Secours Suffolk Primary Care,

   Center for Pain Management, Eagle Harbor Medical Associates, Harbour View Family

   Practice, Maryview Acute Rehab Unit, Maryview Medical Center Rehabilitation Unit,

   Maryview Palliative Care, Nansemond Suffolk Family Practice, Western Branch Family

   Practice, Western Branch OB/GYN, and Bon Secours Western Branch Primary.

19. All Plaintiffs that operate hospitals provide important emergency medical services through

   respective emergency departments for residents of the Commonwealth of Virginia in

   addition to extensive outpatient services through various clinics and health facilities that

   may include specific behavioral health and addiction treatment services. In conjunction

   with BSHSI, all Plaintiffs are committed to creating communities of health, hope and well-

   being and providing access to quality health care services to support healthy communities.

                   IV.         MANUFACTURER DEFENDANTS

19. The Manufacturer Defendants are defined below. At all relevant times, the Manufacturer

   Defendants have packaged, distributed, supplied, sold, placed into the stream of commerce,

   labeled, described, marketed, advertised, promoted and purported to warn or purported to

   inform prescribers and users regarding the benefits and risks associated with the use of the

   prescription opioid drugs. The Manufacturer Defendants, at all times, have manufactured

   and sold prescription opioids without fulfilling their legal duty to prevent diversion and

   report suspicious orders.


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20. PURDUE PHARMA L.P. is a limited partnership organized under the laws of Delaware.

   None of its partners are citizens of the Commonwealth of Virginia. PURDUE PHARMA

   INC. is a New York corporation with its principal place of business in Stamford,

   Connecticut, and THE PURDUE FREDERICK COMPANY is a Delaware corporation

   with its principal place of business in Stamford, Connecticut (collectively, “Purdue”).

21. Purdue manufactures, promotes, sells, and distributes opioids such as OxyContin, MS

   Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq ER in the United

   States. OxyContin is Purdue’s best-selling opioid. Since 2009, Purdue’s annual nationwide

   sales of OxyContin have fluctuated between $2.47 billion and $2.99 billion, up four-fold

   from its 2006 sales of $800 million. OxyContin constitutes roughly 30% of the entire market

   for analgesic drugs.

22. CEPHALON, INC. (“Cephalon, Inc.”) is a Delaware corporation with its principal place

   of business in Frazer, Pennsylvania.

23. TEVA PHARMACEUTICAL INDUSTRIES, LTD. (“Teva Ltd.”) is an Israeli

   corporation with its principal place of business in Petach Tikva, Israel. In 2011, Teva Ltd.

   acquired Cephalon, Inc. TEVA PHARMACEUTICALS USA, INC. (“Teva USA”) is a

   Delaware corporation which is a wholly owned subsidiary of Teva Ltd. In Pennsylvania.

   Teva USA acquired Cephalon in October of 2011.

24. Cephalon, Inc. manufactures, promotes, sells, and distributes opioids such as Actiq and

   Fentora in the United States. Actiq has been approved by the FDA only for the

   “management of breakthrough cancer pain in patients 16 years and older with malignancies

   who are already receiving and who are tolerant to around-the-clock opioid therapy for the




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        underlying persistent cancer pain.” 4 Fentora has been approved by the FDA only for the

        “management of breakthrough pain in cancer patients 18 years of age and older who are

        already receiving and who are tolerant to around-the-clock opioid therapy for their

        underlying persistent cancer pain.” 5 In 2008, Cephalon, Inc. pled guilty to a criminal

        violation of the Federal Food, Drug and Cosmetic Act for its misleading promotion of Actiq

        and two other drugs, and agreed to pay $425 million. 6

    25. Teva Ltd., Teva USA, and Cephalon, Inc. work together closely to market and sell

        Cephalon, Inc. products in the United States. Teva Ltd. conducts all sales and marketing

        activities for Cephalon, Inc. in the United States through Teva USA and has done so since

        its October of 2011 acquisition of Cephalon, Inc. Teva Ltd. and Teva USA hold out Actiq

        and Fentora as Teva products to the public. Teva USA sells all former Cephalon, Inc.

        branded products through its “specialty medicines” division. The FDA-approved

        prescribing information and medication guide, which is distributed with Cephalon, Inc.

        opioids, discloses that the guide was submitted by Teva USA, and directs physicians to

        contact Teva USA to report adverse events.

    26. All of Cephalon, Inc.’s promotional websites, including those for Actiq and Fentora,

        display Teva Ltd.’s logo. 7 Teva Ltd.’s financial reports list Cephalon, Inc.’s and Teva

        USA’s sales as its own, and its year-end report for 2012 - the year immediately following

        the Cephalon, Inc. acquisition—attributed a 22% increase in its specialty medicine sales to


4
   Highlights of Prescribing information, ACTIQ® (fentanyl citrate) oral transmucosal lozenge, CII (2009),
https://www.accessdata.fda.gov/drugsatfda docs/label/2009/020747s030lbl.pdf.
5
  Highlights of Prescribing Information, FENTORA® (fentanyl citrate) buccal tablet, CII (2011),
https://www.accessdata.fda.gov/drugsatfda docs/label/2012/021947s015lbl.pdf.
6
  Press Release, U.S. Dep’t of Justice, Biopharmaceutical Company, Cephalon, to Pay $425 Million & Enter Plea to
Resolve Allegations of Off-Label Marketing (Sept. 29, 2008),
https://www.justice.gov/archive/opa/pr/2008/September/08-civ-860.html.
7
  e.g., ACTIQ, http://www.actiq.com/ (displaying logo at bottom-left) (last visited Aug. 21, 2017).

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       “the inclusion of a full year of Cephalon, Inc.’s specialty sales,” including inter alia sales

       of Fentora®. 8 Through interrelated operations like these, Teva Ltd. operates in the United

       States through its subsidiaries, Cephalon, Inc. and Teva USA. The United States is the

       largest of Teva Ltd.’s global markets, representing 53% of its global revenue in 2015, and,

       were it not for the existence of Teva USA and Cephalon, Inc., Teva Ltd. would conduct

       those companies’ business in the United States itself. Upon information and belief, Teva

       Ltd. directs the business practices of Cephalon, Inc. and Teva USA, and their profits inure

       to the benefit of Teva Ltd. as controlling shareholder. Teva Pharmaceutical Industries, Ltd.,

       Teva Pharmaceuticals USA, Inc., and Cephalon, Inc. are referred to as “Cephalon.”

    27. JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its

       principal place of business in Titusville, New Jersey, and is a wholly owned subsidiary of

       JOHNSON & JOHNSON (“J&J”), a New Jersey corporation with its principal place of

       business in New Brunswick, New Jersey. NORAMCO, INC. is a Delaware company

       headquartered in Wilmington, Delaware and was a wholly owned subsidiary of J&J until

       July of 2016. ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC., now

       known as JANSSEN PHARMACEUTICALS, INC., is a Pennsylvania corporation with

       its principal place of business in Titusville, New Jersey. JANSSEN PHARMACEUTICA

       INC., now known as JANSSEN PHARMACEUTICALS, INC., is a Pennsylvania

       corporation with its principal place of business in Titusville, New Jersey. J&J is the only

       company that owns more than 10% of Janssen Pharmaceuticals’ stock, and corresponds

       with the FDA regarding Janssen’s products. Upon information and belief, J&J controls the



8
 Teva Ltd., Annual Report (Form 20-F) 62 (Feb. 12, 2013),
http://annualreports.com/HostedData/AnnualReportArchive/t/NASDAQ TEVA 2012.pdf.

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   sale and development of Janssen Pharmaceuticals’ drugs and Janssen’s profits inure to

   J&J’s benefit. Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc.,

   Janssen Pharmaceutica, Inc., Noramco, and J&J are referred to as “Janssen.”

28. Janssen manufactures, promotes, sells, and distributes drugs in the United States, including

   the opioid Duragesic (fentanyl). Before 2009, Duragesic accounted for at least $1 billion in

   annual sales. Until January 2015, Janssen developed, marketed, and sold the opioids

   Nucynta (tapentadol) and Nucynta ER. Together, Nucynta and Nucynta ER accounted for

   $172 million in sales in 2014.

29. ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with its principal place

   of business in Malvern, Pennsylvania. ENDO PHARMACEUTICALS INC. is a wholly

   owned subsidiary of Endo Health Solutions Inc. and is a Delaware corporation with its

   principal place of business in Malvern, Pennsylvania. Endo Health Solutions, Inc. and

   Endo Pharmaceuticals Inc. are referred to as “Endo.”

30. Endo develops, markets, and sells prescription drugs, including the opioids Opana/Opana

   ER, Percodan, Percocet, and Zydone, in the United States. Opioids made up roughly $403

   million of Endo’s overall revenues of $3 billion in 2012. Opana ER yielded $1.15 billion

   in revenue from 2010 and 2013, and it accounted for 10% of Endo’s total revenue in 2012.

   Endo also manufactures and sells generic opioids such as oxycodone, oxymorphone,

   hydromorphone, and hydrocodone products in the United States, by itself and through its

   subsidiary, Qualitest Pharmaceuticals, Inc.

31. ALLERGAN, PLC is a public limited company incorporated in Ireland with its principal

   place of business in Dublin, Ireland. ACTAVIS, PLC acquired Allergan, PLC in March

   2015, and the combined company changed its name to Allergan, PLC in January 2013.


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   Before that, WATSON PHARMACEUTICALS, INC. acquired ACTAVIS, INC. in

   October 2012, and the combined company changed its name to Actavis, Inc. as of January

   2013 and then Actavis, PLC in October 2013. WATSON LABORATORIES, INC. is a

   Nevada corporation with its principal place of business in Corona, California, and is a

   wholly-owned subsidiary of Allergan, PLC (f/k/a Actavis, Inc., f/k/a Watson

   Pharmaceuticals, Inc.). ACTAVIS PHARMA, INC. (f/k/a Actavis, Inc.) is a Delaware

   corporation with its principal place of business in New Jersey and was formerly known as

   WATSON PHARMA, INC. ACTAVIS, LLC is a Delaware limited liability company

   with its principal place of business in Parsippany, New Jersey. Each of these defendants is

   owned by Allergan, PLC, which uses them to market and sell its drugs in the United States.

   Upon information and belief, Allergan, PLC exercises control over these marketing and

   sales efforts and profits from the sale of Allergan, PLC/Actavis, LLC products ultimately

   inure to its benefit. Allergan, PLC, Actavis, PLC, Actavis, Inc., Actavis LLC, Actavis

   Pharma, Inc., Watson Pharmaceuticals, Inc., Watson Pharma, Inc., and Watson

   Laboratories, Inc. are referred to as “Actavis.”

32. Actavis manufactures, promotes, sells, and distributes opioids, including the branded drugs

   Kadian and Norco, a generic version of Kadian, and generic versions of Duragesic and

   Opana, in the United States. Actavis acquired the rights to Kadian from King

   Pharmaceuticals, Inc. on December 30, 2008, and began marketing Kadian in 2009.

33. DEPOMED, INC. (“Depomed”), is an American corporation organized and existing

   under the laws of the State of California, with its principal place of business in Newark,

   California.




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34. Depomed manufactures, promotes, sells, and distributes opioids, including but not limited

   to the branded drugs Nucynta ER, Nucynta, Gralise, Cambia, Lazanda, and Zipsor.

35. MALLINCKRODT, PLC is an Irish public limited company headquartered in Staines-

   upon-Thames, United Kingdom, with its U.S. headquarters in St. Louis, Missouri.

   MALLINCKRODT, LLC is a limited liability company organized and existing under the

   laws of the State of Delaware. Mallinckrodt, LLC has no members that are citizens of the

   Commonwealth of Virginia and is a wholly owned subsidiary of Mallinckrodt, PLC.

   Mallinckrodt, PLC and Mallinckrodt, LLC are referred to as “Mallinckrodt.”

36. Mallinckrodt manufactures, markets, and sells drugs in the United States including generic

   oxycodone, of which it is one of the largest manufacturers. Upon information and belief,

   in July of 2017, Mallinckrodt agreed to pay $35 million to settle allegations brought by the

   Department of Justice that it failed to detect and notify the DEA of suspicious orders of

   controlled substances.

                         V.    DISTRIBUTOR DEFENDANTS

37. The Distributor Defendants also are defined below. At all relevant times, the Distributor

   Defendants have distributed, supplied, sold, and placed into the stream of commerce the

   prescription opioids, without fulfilling the fundamental duty of wholesale drug distributors

   to detect and warn of diversion of dangerous drugs for non-medical purposes. The

   Distributor Defendants universally failed to comply with federal law. Plaintiffs allege the

   unlawful conduct by the Distributor Defendants is responsible for the volume of

   prescription opioids plaguing the United States.




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38. McKESSON CORPORATION (“McKesson”) is a Delaware corporation, with its

   principal place of business located in San Francisco, California. McKesson distributes

   pharmaceuticals to retail pharmacies and institutional providers in all 50 states.

39. CARDINAL HEALTH, INC. (“Cardinal”) is an Ohio corporation with its principal place

   of business located in Dublin, Ohio. Cardinal distributes pharmaceuticals to retail

   pharmacies and institutional providers in all 50 states.

40. AMERISOURCEBERGEN DRUG CORPORATION (“AmerisourceBergen”) is a

   Delaware corporation with its principal place of business in Chesterbrook, Pennsylvania.

   AmerisourceBergen distributes pharmaceuticals to retail pharmacies and institutional

   providers in all 50 states.

41. Upon    information    and    belief,   COLLEGIUM          PHARMACEUTICAL,          INC.

   (“Collegium”) is an American corporation organized and existing under the laws of either

   Delaware or Virginia, with its principal place of business in either Cumberland Rhode

   Island or Canton, Massachusetts. In December of 2017, Collegium signed a definitive

   Commercialization Agreement with Depomed, under which Collegium commercializes the

   NUCYNTA pain franchise, and from which Depomed receives a royalty rate on all

   NUCYNTA revenues based on certain net sales thresholds.

42. MIAMI-LUKEN, INC. (“Miami-Luken”) is an Ohio corporation with its principal place

   of business in Springboro, Ohio. Miami-Luken distributes pharmaceuticals to retail

   pharmaceuticals and institutional providers in Kentucky, Ohio, Tennessee, West Virginia,

   Pennsylvania, and Michigan.

                          VI.    JURISDICTION AND VENUE

43. This Complaint was filed as an original action in this district.


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44. Plaintiffs bring this civil action in MDL No. 2804, entitled In Re: National Prescription

   Opiate Litigation. Plaintiff is filing this Complaint directly in the Northern District of Ohio

   as permitted by paragraph 6(a) of this Court’s April 11, 2018 Case Management Order No.

   1.

45. This Court and the Eastern and Western Districts of Virginia have subject matter

   jurisdiction under 28 U.S.C. § 1331 based upon the federal claims asserted under the

   Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1961, et seq. (“RICO”).

   This Court has supplemental jurisdiction over Plaintiffs’ state law claims pursuant to 28

   U.S.C. § 1367 because those claims are so related to Plaintiffs’ federal claims that they

   form part of the same case or controversy.

46. This Court has personal jurisdiction over Defendants because all the Defendants

   purposefully conduct substantial business in this State and in this judicial district.

47. This Court also has personal jurisdiction over all of the Defendants under 18 U.S.C. 1965(b).

   This Court may exercise nation-wide jurisdiction over the named Defendants where the

   “ends of justice” require national service and Plaintiffs demonstrate national contacts.

   Here, the interests of justice require that Plaintiffs be allowed to bring all members of the

   nationwide RICO enterprise before the court in a single trial. See, e.g., Iron Workers Local

   Union No. 17 Insurance Fund v. Philip Morris Inc., 23 F.Supp.2d 796 (1998) (citing

   LaSalle National Bank v. Arroyo Office Plaza, Ltd., 1988 WL 23824, *3 (N.D. Ill. Mar 10,

   1988); Butcher’s Union Local No. 498 v. SDC Invest., Inc., 788 F.2d 535, 539 (9th Cir.

   1986)).

48. Venue is proper in this District under 28 U.S.C. § 1391(b)(2), because Plaintiffs are

   domiciled in this judicial district; because Plaintiff, BSHSI, by and through its affiliation


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        with the other named Plaintiffs, is domiciled in this judicial district; and because a

        substantial part of the events and omissions giving rise to Plaintiffs’ claims occurred in this

        judicial district.     Furthermore, because all the Defendants are subject to personal

        jurisdiction in this state and in this judicial district under 28 U.S.C. § 1391(b)(1) and §

        (c)(2), Defendants are deemed to reside in this state and in this judicial district for the

        purposes of venue.

    49. Further, Venue is proper in this Court pursuant to this Court’s April 11, 2018 Case

        Management Order No. 1.

                VII.      FACTUAL BACKGROUND: THE OPIOID EPIDEMIC

    50. The past two decades have been characterized by increasing abuse and diversion of

        prescription drugs, including opioid medications, in the United States. 9

    51. Prescription opioids have become widely prescribed. By 2010, enough prescription opioids

        were sold to medicate every adult in the United States with a dose of 5 milligrams of

        hydrocodone every 4 hours for 1 month. 10

    52. By 2011, the U.S. Department of Health and Human Resources, Centers for Disease Control

        and Prevention, declared prescription painkiller overdoses at epidemic levels. The News

        Release noted:

             a. The death toll from overdoses of prescription painkillers has more than tripled in
                the past decade.

             b. More than 40 people die every day from overdoses involving narcotic pain relievers
                like hydrocodone (Vicodin), methadone, oxycodone (OxyContin), and
                oxymorphone (Opana).


9
  See Richard C. Dart et al, Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N. Eng. J. Med.
241 (2015).
10
   Katherine M. Keyes at al., Understanding the Rural-Urban Differences in Nonmedical Prescription Opioid Use
and Abuse in the United States, 104 Am. J. Pub. Health e52 (2014).

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             c. Overdoses involving prescription painkillers are at epidemic levels and now kill
                more Americans than heroin and cocaine combined.

             d. The increased use of prescription painkillers for nonmedical reasons, along with
                growing sales, has contributed to a large number of overdoses and deaths. In
                2010, 1 in every 20 people in the United States age 12 and older-a total of 12
                million people-reported using prescription painkillers either without a valid
                prescription, or for a non-medically prescribed purpose, according to the
                National Survey on Drug Use and Health. Based on the data from the Drug
                Enforcement Administration, sales of these drugs to pharmacies and health care
                providers have increased by more than 300 percent since 1999.

             e. Prescription drug abuse is a silent epidemic that is stealing thousands of lives and
                tearing apart communities and families across America.

             f. Almost 5,500 people start to misuse prescription painkillers every day. 11

     53. The number of annual opioid prescriptions written in the United States in now roughly

        equal to the number of adults in the population. 12

     54. Many Americans are now addicted or dependent on prescription opioids, and the number

        of deaths due to prescription opioid overdose has become an epidemic. In 2016, drug

        overdoses killed roughly 64,000 people in the United States, an increase of more than 21

        percent over the 52,898 drug deaths recorded the previous year. 13

     55. Moreover, the CDC has identified addiction to prescription pain medication as the strongest

        risk factor for heroin addiction. People who are addicted to prescription opioid painkillers are

        forty times more likely to be addicted to heroin. 14




11
   See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Prescription
Painkiller Overdoses at Epidemic Levels (Nov. 1, 2011), https://www.cdc.gov/media/releases/2011/p1101 flu pain
killer overdose.html.
12
   See Califf et al., supra note 3.
13
   See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Provisional Counts of Drug
Overdose Deaths, (August 6, 2017),
https://www.cdc.gov/nchs/data/health_policy/monthly-drug-overdose-death-estimates.pdf.
14
   See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Today’s Heroin Epidemic,
https://www.cdc.gov/vitalsigns/heroin/index.html (last updated July 7, 2015).

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     56. Heroin is pharmacologically similar to prescription opioids. The majority of current heroin

        users report having used prescription opioids non-medically before they initiated heroin

        use. Available data indicates that the nonmedical use of prescription opioids is a strong risk

        factor for heroin use. 15

     57. The CDC reports that drug overdose deaths involving heroin continued to climb sharply,

        with heroin overdoses more than tripling in 4 years. This increase mirrors large increases

        in heroin use across the country and has been shown to be closely tied to opioid pain

        reliever misuse and dependence. Past misuse of prescription opioids is the strongest risk

        factor for heroin initiation and use, specifically among persons who report past-year

        dependence or abuse. The increased availability of heroin, combined with its relatively low

        price (compared with diverted prescription opioids) and high purity appear to be major

        drivers of the upward trend in heroin use and overdose. 16

     58. Upon information and belief, and in an effort to curb the impact of opioid addiction, abuse,

        and/or dependency, many healthcare providers have started treating patients with

        Suboxone, which was once thought to be a “miracle drug” for patients suffering from

        opioid-related issues. However, more recent medical literature has indicated the existence

        of symptoms of psychosis induced by Buprenorphine, a semi-synthetic opioid which is a

        key component of Suboxone, in patients who have received such treatment. 17 In many

        instances, the Plaintiffs are then left with the uncompensated expense of providing




15
   See Wilson M. Compton, Relationship Between Nonmedical Prescription-Opioid Use and Heroin, 374 N. Eng. J.
Med. 154 (2016).
16
   See Rose A. Rudd et al., Increases in Drug and Opioid Overdose Deaths—United States, 2000–2014, 64 Morbidity
& Mortality Wkly. Rep. 1378 (2016).
17
   Sannidhya Varma, MD, Srinivas Balachander, MBBS & Debasish Basu, MD, DNB, MAMS, Buprenorphine-
Induced Psychotic Symptoms: A Case Report, [15(4)] The Primary Care Companion for CNS Disorders (2013).

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        psychiatric treatment to these patients, in an attempt to reduce the negative after-effects of

        their prior use of opioids, and/or their current use of Suboxone. Furthermore, because these

        symptoms frequently do not manifest until opioid usage has been discontinued, the costs

        related to the treatment of them will continue to exist moving forward.

     59. The societal costs of prescription drug abuse are “huge.” 18

     60. Across the nation, healthcare providers are struggling with a pernicious, ever-expanding

        epidemic of opioid addiction, dependency, and abuse. Every day, more than 90 Americans

        lose their lives after overdosing on opioids. 19

     61. The National Institute on Drug Abuse identifies misuse and addiction to opioids as “a

        serious national crisis that affects public health as well as social and economic welfare.” 20

        The economic burden of prescription opioid misuse alone is $78.5 billion a year, including

        the costs of healthcare, lost productivity, addiction treatment, and criminal justice

        expenditures. 21

     62. The U.S. opioid epidemic is continuing, and drug overdose deaths nearly tripled during

        1999-2014. Among 47,055 drug overdose deaths that occurred in 2014 in the United States,

        28,647 (60.9%) involved an opioid. 22




18
   See Amicus Curiae Brief of Healthcare Distribution Management Association in Support of Appellant Cardinal
Health, Inc., Cardinal Health, Inc. v. United States Dept. Justice, No. 12-5061 (D.C. Cir. May 9, 2012), 2012 WL
1637016, at *10 [hereinafter Brief of HDMA].
19
    Opioid Crisis, NIH, National Institute on Drug Abuse (available at https://www.drugabuse.gov/drugs-
abuse/opioids/opioid-crisis, last visited Sept. 19, 2017) (“Opioid Crisis, NIH”) (citing at note 1 Rudd RA, Seth
P, David F, Scholl L, Increases in Drug and Opioid- Involved Overdose Deaths - United States, 2010-2015,
MMWR MORB MORTAL WKLY REP. 2016;65, doi:10.15585/mmwr.mm655051e1).
20
   Opioid Crisis, NIH.
21
   Id. (citing at note 2 Florence CS, Zhou C, Luo F, Xu L, The Economic Burden of Prescription Opioid Overdose,
Abuse, and Dependence in the United States, 2013, MED CARE 2016;54(10):901-906,
doi:10.1097/MLR.0000000000000625).
22
   See Rose A. Rudd et al., Increases in Drug and Opioid-Involved Overdose Deaths—United States, 2010–2015, 65
Morbidity & Mortality Wkly. Rep. 1445 (2016).

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     63. The rate of death from opioid overdose has quadrupled during the past 15 years in the

        United States. Nonfatal opioid overdoses that require medical care in a hospital or

        emergency department have increased by a factor of six in the past 15 years. 23

     64. Every day brings a new revelation regarding the depth of the opioid plague. In one

        particularly jarring example, the New York Times reported in September 2017 that the

        epidemic, which now claims 60,000 lives a year, is now killing babies and toddlers because

        ubiquitous, deadly opioids are “everywhere” and mistaken as candy. 24

     65. In 2016, the President of the United States declared an opioid and heroin epidemic. 25

     66. The epidemic of prescription pain medication and heroin deaths is devastating families and

        communities across the country. 26 Meanwhile, the manufacturers and distributors of

        prescription opioids extract billions of dollars of revenue from the addicted and dependent

        American public while billions of dollars of injury are caused by the reasonably foreseeable

        consequences of the prescription opioid addiction and dependency epidemic, and its

        ancillary effects. 27

     67. Plaintiffs incur significant uncompensated cost and expense in connection with their

        treatment of patients who suffer from opioid abuse, dependency, or disease. Furthermore,

        even in the event that the opioid epidemic is favorably resolved, Plaintiffs will continue to


23
   See Volkow & McLellan, supra note 1.
24
   Julie Turkewitz, ‘The Pills are Everywhere’: How the Opioid Crisis Claims Its Youngest Victims, N.Y. Times,
Sept. 20, 2017 (“‘It’s a cancer,’ said [grandmother of dead one-year old], of the nation’s opioid problem, ‘with
tendrils that are going everywhere.’”).
25
   See Proclamation No. 9499, 81 Fed. Reg. 65,173 (Sept. 16, 2016) (proclaiming “Prescription Opioid and Heroin
Epidemic Awareness Week”).
26
   See Presidential Memorandum - Addressing Prescription Drug Abuse and Heroin Use, 2015 Daily Comp. Pres.
Doc. 743 (Oct. 21, 2015), https://obamawhitehouse.archives.gov/the-press-office/2015/10/21/presidential-
memorandum-addressing-prescription-drug-abuse-and-heroin.
27 The Council of Economic Advisers, The Underestimated Cost of the Opioid Crisis, November 2017,

https://www.whitehouse.gov/sites/whitehouse.gov/files/images/The%20Underestimated%20Cost%20of%20the%20
Opioid%20Crisis.pdf.


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          incur significant uncompensated cost and expense for the provision of non-opioid treatment

          alternatives in the future, as well as treatment to address the consequences of opioid

          addiction and dependency, including but not limited to the after-effects attributable to the

          usage of Suboxone. All of these costs and expenses are or will be directly attributable to

          the fraudulent scheme perpetrated by Defendants in connection with their marketing, sale,

          and distribution of highly addictive prescription opioids.

      68. Pursuant to a statutory mandate set out by the federal government under the Emergency

          Medical Treatment and Active Labor Act (“EMTALA”) 28, Plaintiffs are required to

          provide treatment to patients suffering from opioid addiction, disease, or dependency,

          and/or any other opioid-related medical issues, when those patients present to Plaintiffs in

          an emergency condition.      This treatment includes stabilization and the provision of

          treatment and services necessary for stabilization. Plaintiffs provide this treatment to all

          patients presenting in an emergency medical condition as a result of opioid use or misuse.

      69. The prescription opioid manufacturers and distributors, including the Defendants, have

          continued their wrongful, intentional, and unlawful conduct, despite their knowledge that

          such conduct is causing and/or continuing to cause a national, state, and local opioid

          epidemic, which has created a public health emergency crisis.

          VIII.     THE MANUFACTURER DEFENDANTS’ FALSE, DECEPTIVE,
                         AND UNFAIR MARKETING OF OPIOIDS

      70. The opioid epidemic did not happen by accident.

      71. Before the 1990s, generally accepted standards of medical practice dictated that opioids

          should only be used short-term for acute pain, pain relating to recovery from surgery, or


28
     42 USCA § 1395dd.


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   for cancer or palliative (end-of-life) care. Due to the lack of evidence that opioids improved

   patients’ ability to overcome pain and function, coupled with evidence of greater pain

   complaints as patients developed tolerance to opioids over time and the serious risk of

   addiction, dependency, and other side effects, the use of opioids for chronic pain was

   discouraged or prohibited. As a result, practitioners generally did not prescribe opioids for

   chronic pain.

72. Each Manufacturer Defendant has conducted, and has continued to conduct, a marketing

   scheme designed to persuade practitioners and patients that opioids can and should be used

   for chronic pain, resulting in opioid treatment for a far broader group of patients who are

   much more likely to become addicted or dependent and suffer other adverse effects from the

   long-term use of opioids. In connection with this scheme, each Manufacturer Defendant

   spent, and continues to spend, millions of dollars on promotional activities and materials

   that falsely deny or trivialize the risks of opioids while overstating the benefits of using

   them for chronic pain.

73. The Manufacturer Defendants have made false and misleading claims, contrary to the

   language on their drugs’ labels, regarding the risks of using their drugs that: (1)

   downplayed the serious risk of addiction and dependency; (2) created and promoted the

   concept of “pseudo-addiction” when signs of actual addiction and dependency began

   appearing and advocated that the signs of addiction and dependency should be treated with

   more opioids; (3) exaggerated the effectiveness of screening tools to prevent addiction and

   dependency; (4) claimed that opioid dependence and withdrawal are easily managed; (5)

   denied the risks of higher opioid dosages; and (6) exaggerated the effectiveness of “abuse-

   deterrent” opioid formulations to prevent abuse, addiction, and dependency. The


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        Manufacturer Defendants have also falsely touted the benefits of long-term opioid use,

        including the supposed ability of opioids to improve function and quality of life, even

        though there was no scientifically reliable evidence to support the Manufacturer

        Defendants’ claims.

     74. The Manufacturer Defendants have disseminated these common messages to reverse the

        popular and medical understanding of opioids and risks of opioid use. They disseminated

        these messages directly, through their sales representatives, in speaker groups led by

        physicians that the Manufacturer Defendants recruited for their support of their marketing

        messages, and through unbranded marketing and industry-funded front groups, often

        presented in the form of continuing education.

     75. Defendants’ efforts have been wildly successful. Opioids are now the most prescribed class

        of drugs. Globally, opioid sales generated $11 billion in revenue for drug companies in

        2010 alone; sales in the United States have exceeded $8 billion in revenue annually since

        2009. 29 In an open letter to the nation’s physicians in August 2016, the then-U.S. Surgeon

        General expressly connected this “urgent health crisis” to “heavy marketing of opioids to

        doctors ... [m]any of [whom] were even taught - incorrectly - that opioids are not addictive

        when prescribed for legitimate pain.” 30 This epidemic has resulted in a flood of prescription

        opioids available for illicit use or sale (the supply), and a population of patients physically

        and psychologically dependent on them (the demand). And when those patients can no




29
     See Katherine Eban, Oxycontin: Purdue Pharma’s Painful Medicine, Fortune, Nov. 9,
2011,http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/; David Crow, Drugmakers
Hooked on $10bn Opioid Habit, Fin. Times, Aug. 10, 2016, https://www. ft.com/content/f6e989a8-5dac-11e6-bb77-
a121aa8abd95.
30
   Letter from Vivek H. Murthy, U.S. Surgeon General (Aug. 2016), http://turnthetiderx.org/.

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   longer afford or obtain opioids from licensed dispensaries, they often turn to the street to by

   prescription opioids or even non-prescription opioids, like heroin.

76. The Manufacturer Defendants intentionally continued their conduct, as alleged herein, with

   knowledge that such conduct was creating the opioid nuisance and causing the harms and

   damages alleged herein.

       a. Each Manufacturer Defendant Used Multiple Avenues to Disseminate False
          and Deceptive Statements about Opioids

77. The Manufacturer Defendants spread their false and deceptive statements by marketing

   their branded opioids directly to practitioners and patients throughout the United States.

   Defendants also deployed seemingly unbiased and independent third parties that they

   controlled to spread their false and deceptive statements about the risks and benefits of

   opioids for the treatment of chronic pain throughout the United States, the Commonwealth

   of Virginia, and the Plaintiffs’ Communities.

78. Across the pharmaceutical industry, “core message” development is funded and overseen

   on a national basis by corporate headquarters. This comprehensive approach ensures that

   the Manufacturer Defendants’ messages are accurately and consistently delivered across

   marketing channels - including detailing visits, speaker events, and advertising - and in

   each sales territory. The Manufacturer Defendants consider this high level of coordination

   and uniformity crucial to successfully marketing their drugs.

79. Upon information and belief, the Manufacturer Defendants ensure marketing consistency

   nationwide through national and regional sales representative training; national training of

   local medical liaisons, the company employees who respond to physician inquiries;

   centralized speaker training; single sets of visual aids, speaker slide decks, and sales



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   training materials; and nationally coordinated advertising. The Manufacturer Defendants’

   sales representatives and physician speakers were required to stick to prescribed talking

   points, sales messages, and slide decks, and supervisors rode along with them periodically

   to both check on their performance and compliance.

                  i.      Direct Marketing

80. The Manufacturer Defendants’ direct marketing of opioids generally proceeded on two

   tracks. First, each Manufacturer Defendant conducted and continues to conduct advertising

   campaigns touting the purported benefits of their branded drugs. For example, upon

   information and belief, the Manufacturer Defendants spent more than $14 million on

   medical journal advertising of opioids in 2011, nearly triple what they spent in 2001.

81. Many of the Manufacturer Defendants’ branded ads deceptively portrayed the benefits of

   opioids for treatment of chronic pain. For example, Endo distributed and made available

   on its website opana.com a pamphlet promoting Opana ER with photographs depicting

   patients with physically demanding jobs like construction worker, chef, and teacher,

   misleadingly implying that the drug would provide long-term pain-relief and functional

   improvement. Upon information and belief, Purdue also ran a series of ads, called “pain

   vignettes,” for OxyContin in 2012 in medical journals. These ads featured chronic pain

   patients and recommended OxyContin for each. One ad described a “54-year-old writer

   with osteoarthritis of the hands” and implied that OxyContin would help the writer work

   more effectively.

82. Second, each Manufacturer Defendant promoted the use of opioids for chronic pain

   through “detailers” - sales representatives who visited individual practitioners and medical

   staff in their offices - and small-group speaker programs, often offering continuing medical


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        education created to enhance the credibility of the programs. The Manufacturer Defendants

        have not corrected this misinformation. Instead, each Defendant devoted massive resources

        to direct sales contacts with practitioners. Upon information and belief, in 2014 alone, the

        Manufacturer Defendants spent in excess of $168 million on detailing branded opioids to

        practitioners 31, more than twice what they spent on detailing in 2000.

     83. The Manufacturer Defendants’ detailing to practitioners is effective. Numerous studies

        indicate that marketing impacts prescribing habits, with face-to-face detailing having the

        greatest influence. Even without such studies, the Manufacturer Defendants purchase,

        manipulate and analyze some of the most sophisticated data available in any industry, data

        available from IMS Health Holdings, Inc., to track, precisely, the rates of initial prescribing

        and renewal by individual practitioners, which in turn allows them to target, tailor, and

        monitor the impact of their core messages. Thus, the Manufacturer Defendants know their

        detailing to practitioners is effective.

     84. The Manufacturer Defendants’ detailers have been reprimanded for their deceptive

        promotions. In March 2010, for example, the FDA found that Actavis had been distributing

        promotional materials that “minimize the risks associated with Kadian and misleadingly

        suggest that Kadian is safer than has been demonstrated.” Those materials in particular

        “fail to reveal warnings regarding potentially fatal abuse of opioids, use by individuals

        other than the patient for whom the drug was prescribed.” 32



31Mike DeWine, This Is Why I’m Suing Five Opioid Manufacturers in My State, The Wash. Post (2017) available at
https://www.washingtonpost.com/opinions/this-is-why-im-suing-five-opioid-manufacturers-in-my-
state/2017/08/10/9eac79fe-7c59-11e7-a669-b400c5c7e1cc_story.html?noredirect=on&utm_term=.f18b5fc24647.
32
  Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Commc’ns, U.S. Food & Drug Admin., to Doug
Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010),
http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.

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                  ii.     Indirect Marketing

85. The Manufacturer Defendants’ indirectly marketed their opioids using unbranded

   advertising, paid speakers and “key opinion leaders” (“KOLs”), and industry-funded

   organizations posing as neutral and credible professional societies and patient advocacy

   groups (referred to hereinafter as “Front Groups”).

86. The Manufacturer Defendants deceptively marketed opioids throughout the United States

   through unbranded advertising - e.g., advertising that promotes opioid use generally but

   does not name a specific opioid. This advertising was ostensibly created and disseminated

   by independent third parties. But by funding, directing, reviewing, editing, and distributing

   this unbranded advertising, the Manufacturer Defendants controlled the deceptive

   messages disseminated by these third parties and acted in concert with them to falsely and

   misleadingly promote opioids for the treatment of chronic pain. Much as Defendants

   controlled the distribution of their “core messages” via their own detailers and speaker

   programs, the Manufacturer Defendants similarly controlled the distribution of these

   messages in scientific publications, treatment guidelines, Continuing Medical Education

   (“CME”) programs, and medical conferences and seminars. To this end, the Manufacturer

   Defendants used third-party public relations firms to help control those messages when they

   originated from third-parties.

87. It is widely believed and/or known, that the Manufacturer Defendants marketed through

   third-party, unbranded advertising to avoid regulatory scrutiny because that advertising is

   not submitted to and typically is not reviewed by the FDA. The Manufacturer Defendants


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   also used third-party, unbranded advertising to give the false appearance that the deceptive

   messages came from an independent and objective source. Like the tobacco companies, the

   Manufacturer Defendants used third parties that they funded, directed, and controlled to

   carry out and conceal their scheme to deceive practitioners and patients about the risks and

   benefits of long term opioid use for chronic pain.

88. Defendants also identified practitioners to serve, for payment, on their speakers’ bureaus

   and to attend programs with speakers and meals paid for by Defendants. These speaker

   programs provided: (1) an incentive for practitioners to prescribe a particular opioid (so

   they might be selected to promote the drug); (2) recognition and compensation for the

   practitioners selected as speakers; and (3) an opportunity to promote the drug through the

   speaker to his or her peers. These speakers give the false impression that they are providing

   unbiased and medically accurate presentations when they are, in fact, presenting a script

   prepared by Defendants. On information and belief, these presentations conveyed

   misleading information, omitted material information, and failed to correct Defendants’

   prior misrepresentations about the risks and benefits of opioids.

89. Borrowing a page from the “Big Tobacco” playbook, the Manufacturer Defendants worked

   through third parties they controlled by: (a) funding, assisting, encouraging, and directing

   practitioners who served as KOLs, and (b) funding, assisting, directing, and encouraging

   seemingly neutral and credible Front Groups. The Manufacturer Defendants then worked

   together with those KOLs and Front Groups to taint the sources that practitioners and

   patients relied on for ostensibly “neutral” guidance, such as treatment guidelines, CME

   programs, medical conferences and seminars, and scientific articles. Thus, working

   individually and collectively, and through these Front Groups and KOLs, the Manufacturer


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   Defendants persuaded practitioners and patients that what they have long known - that

   opioids are addictive drugs, unsafe in most circumstances for long-term use - was untrue,

   and that the compassionate treatment of pain required opioids.

90. In 2007, multiple States sued Purdue for engaging in unfair and deceptive practices in its

   marketing, promotion, and sale of OxyContin. Certain states settled their claims in a series

   of Consent Judgments that prohibited Purdue from making misrepresentations in the

   promotion and marketing of OxyContin in the future. However, by using indirect

   marketing strategies, it is widely known and/or believed that Purdue intentionally

   circumvented these restrictions. Such actions include contributing to the creation of

   misleading publications and prescribing guidelines that lack reliable scientific basis and

   promote prescribing practices which have worsened the opioid crisis.

91. Pro-opioid practitioners are one of the most important avenues that the Manufacturer

   Defendants use to spread their false and deceptive statements about the risks and benefits

   of long-term opioid use. The Manufacturer Defendants know that practitioners rely heavily

   and less critically on their peers for guidance, and KOLs provide the false appearance of

   unbiased and reliable support for chronic opioid therapy. For example, the State of New

   York found in its settlement with Purdue that the Purdue website “In the Face of Pain”

   failed to disclose that practitioners who provided testimonials on the site were paid by

   Purdue and concluded that Purdue’s failure to disclose these financial connections

   potentially misled consumers regarding the objectivity of the testimonials.

92. Defendants utilized many KOLs, including many of the same ones.

93. Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and Palliative

   Care at Beth Israel Medical Center in New York, is one example of a KOL whom the


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           Manufacturer Defendants identified and promoted to further their marketing campaign. Dr.

           Portenoy received research support, consulting fees, and honoraria from Cephalon, Endo,

           Janssen, and Purdue (among others), and was a paid consultant to Cephalon and Purdue.

           Dr. Portenoy was instrumental in opening the door for the regular use of opioids to treat

           chronic pain. He served on the American Pain Society (“APS”)/American Academy of

           Pain Medicine (“AAPM”) Guidelines Committees, which endorsed the use of opioids to

           treat chronic pain, first in 1996 and again in 2009. He was also a member of the board of

           the American Pain Foundation (“APF”), an advocacy organization almost entirely funded

           by the Manufacturer Defendants.

       94. Dr. Portenoy also made frequent media appearances promoting opioids and spreading

           misrepresentations, such as his claim that “the likelihood that the treatment of pain using an

           opioid drug which is prescribed by a doctor will lead to addiction is extremely low.” He

           appeared on Good Morning America in 2010 to discuss the use of opioids long-term to

           treat chronic pain. On this widely-watched program, broadcast across the country, Dr.

           Portenoy claimed: “Addiction, when treating pain, is distinctly uncommon. If a person does

           not have a history, a personal history, of substance abuse, and does not have a history in

           the family of substance abuse, and does not have a very major psychiatric disorder, most

           doctors can feel very assured that that person is not going to become addicted.” 33

       95. Dr. Portenoy later admitted that he “gave innumerable lectures in the late 1980s and 1990s

           about addiction that weren’t true.” These lectures falsely claimed that fewer than 1% of

           patients would become addicted to opioids. According to Dr. Portenoy, because the

           primary goal was to “destigmatize” opioids, he and other practitioners promoting them


33
     Good Morning America (ABC television broadcast Aug. 30, 2010).

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        overstated their benefits and glossed over their risks. Dr. Portenoy also conceded that

        “[d]ata about the effectiveness of opioids does not exist.” 34 Portenoy candidly stated: “Did

        I teach about pain management, specifically about opioid therapy, in a way that reflects

        misinformation? Well…I guess I did.” 35

     96. Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director of

        Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr.

        Webster was President of American Academy of Pain Medicine (“AAPM”) in 2013. He is a

        Senior Editor of Pain Medicine, the same journal that published Endo special advertising

        supplements touting Opana ER. Dr. Webster was the author of numerous CMEs sponsored

        by Cephalon, Endo, and Purdue. At the same time, Dr. Webster was receiving significant

        funding from the Manufacturer Defendants (including nearly $2 million from Cephalon).

     97. During a portion of his time as a KOL, Dr. Webster was under investigation for

        overprescribing by the U.S. Department of Justice’s Drug Enforcement Agency, which

        raided his clinic in 2010. Although the investigation was closed without charges in 2014,

        more than 20 of Dr. Webster’s former patients at the Lifetree Clinic have died of opioid

        overdoses.

     98. Ironically, Dr. Webster created and promoted the Opioid Risk Tool, a five question, one-

        minute screening tool relying on patient self-reports that purportedly allows practitioners to

        manage the risk that their patients will become dependent, addicted to or abusive of opioids.

        The claimed ability to pre-sort patients likely to become addicted or dependent is an

        important tool in giving practitioners confidence to prescribe opioids long-term, and for this


34
    Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St. J., Dec. 17, 2012,
https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.
35
   Id.

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          reason, references to screening appear in various industry-supported guidelines. Versions of

          Dr. Webster’s Opioid Risk Tool appear on, or are linked to, websites run by Endo, Janssen,

          and Purdue. Unaware of the flawed science and industry bias underlying this tool, certain

          states and public entities have incorporated the Opioid Risk Tool into their own guidelines,

          indicating, also, their reliance on the Manufacturer Defendants and those under their

          influence and control.

      99. In 2011, Dr. Webster presented, via webinar, a program sponsored by Purdue entitled

          “Managing Patient’s Opioid Use: Balancing the Need and the Risk.” Dr. Webster

          recommended use of risk screening tools, urine testing, and patient agreements as a way to

          prevent “overuse of prescriptions” and “overdose deaths.” This webinar was available to

          and was intended to reach practitioners throughout the United States. 36

     100. Dr. Webster also was a leading proponent of the concept of “pseudo-addiction”, the

          notion that addictive behaviors should be seen not as warnings, but as indications of

          undertreated pain. In Dr. Webster’s description, the only way to differentiate the two was

          to increase a patient’s dose of opioids. As he and co-author Beth Dove wrote in their 2007

          book Avoiding Opioid Abuse While Managing Pain-a book that is still available online-

          when faced with signs of aberrant behavior, increasing the dose “in most cases . . . should

          be the clinician’s first response.” 37 Upon information and belief, Endo distributed this

          book to practitioners. Years later, Dr. Webster reversed himself, acknowledging that




36
   See Emerging Solutions in Pain, Managing Patient’s Opioid Use: Balancing the Need and the Risk,
http://www.emergingsolutionsinpain.com/ce-education/opioid-
management?option=com_continued&view=frontmatter&Itemid=303&course=209 (last visited Aug. 22, 2017.
37
   Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).

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          “[pseudo-addiction] obviously became too much of an excuse to give patients more

          medication.” 38

     101. The Manufacturer Defendants also entered into arrangements with seemingly unbiased

          and independent patient and professional organizations to promote opioids for the

          treatment of chronic pain. Under the direction and control of the Manufacturer Defendants,

          these “Front Groups” generated treatment guidelines, unbranded materials, and programs

          that favored chronic opioid therapy. They also assisted the Manufacturer Defendants by

          responding to negative articles, by advocating against regulatory changes that would limit

          opioid prescribing in accordance with the scientific evidence, and by conducting outreach

          to vulnerable patient populations targeted by the Manufacturer Defendants.

     102. These Front Groups depended on the Manufacturer Defendants for funding and, in some

          cases, for survival. The Manufacturer Defendants also exercised control over programs and

          materials created by these groups by collaborating on, editing, and approving their content,

          and by funding their dissemination. In doing so, the Manufacturer Defendants made sure

          that the Front Groups would generate only the messages that the Manufacturer Defendants

          wanted to distribute. Despite this, the Front Groups held themselves out as independent

          and serving the needs of their members - whether patients suffering from pain or

          practitioners treating those patients.

     103. Defendants Cephalon, Endo, Janssen, and Purdue, in particular, utilized many Front

          Groups, including many of the same ones. Several of the most prominent are described

          below, but there are many others, including the American Pain Society (“APS”), American


38
    John Fauber, Painkiller Boom Fueled by Networking, Milwaukee Wisc. J. Sentinel, Feb. 18, 2012,
http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2rn-
139609053.html.

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          Geriatrics Society (“AGS”), the Federation of State Medical Boards (“FSMB”), American

          Chronic Pain Association (“ACPA”), the Center for Practical Bioethics (“CPB”), the U.S.

          Pain Foundation (“USPF”) and Pain & Policy Studies Group (“PPSG”). 39

     104. The most prominent of the Manufacturer Defendants’ Front Groups was the American Pain

          Foundation (“APF”), which, upon information and belief, received more than $10 million

          in funding from opioid manufacturers from 2007 until it closed its doors in May 2012,

          primarily from Endo and Purdue. APF issued education guides for patients, reporters, and

          policymakers that touted the benefits of opioids for chronic pain and trivialized their risks,

          particularly the risk of addiction and dependency. APF also launched a campaign to

          promote opioids for returning veterans, which has contributed to high rates of addiction,

          dependency, and other adverse outcomes—including death—among returning soldiers.

          APF also engaged in a significant multimedia campaign - through radio, television and the

          internet - to educate patients about their “right” to pain treatment, namely opioids. All of

          the programs and materials were available nationally and were intended to reach citizens

          of all 50 states.

     105. In 2009 and 2010, more than 80% of APF’s operating budget came from pharmaceutical

          industry sources. Including industry grants for specific projects, APF received about $2.3

          million from industry sources out of total income of about $2.85 million in 2009; its budget

          for 2010 projected receipts of roughly $2.9 million from drug companies, out of total

          income of about $3.5 million. By 2011, upon information and belief, APF was entirely



39
   See generally, e.g., Letter from Sen. Ron Wyden, U.S. Senate Comm. on Fin., to Sec. Thomas E. Price,
U.S. Dep’t of Health and Human Servs., (May 5, 2015),
https://www.finance.senate.gov/imo/media/doc/050517%20Senator%20Wyden%20to%20Secretary%20P
rice%20re%20FDA%20Opioid%20Prescriber%20Working%20Group.pdf.

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     dependent on incoming grants from defendants Purdue, Cephalon, Endo, and others to

     avoid using its line of credit.

106. APF held itself out as an independent patient advocacy organization. It often engaged in

     grassroots lobbying against various legislative initiatives that might limit opioid

     prescribing, and thus the profitability of its sponsors. Upon information and belief, it was

     often called upon to provide “patient representatives” for the Manufacturer Defendants’

     promotional activities, including for Purdue’s “Partners Against Pain” and Janssen’s “Let’s

     Talk Pain”. APF functioned largely as an advocate for the interests of the Manufacturer

     Defendants, not patients. Indeed, upon information and belief, as early as 2001, Purdue

     told APF that the basis of a grant was Purdue’s desire to “strategically align its investments

     in nonprofit organizations that share [its] business interests.”

107. Plaintiffs are informed, and believe, that on several occasions, representatives of the

     Manufacturer Defendants, often at informal meetings at conferences, suggested activities

     and publications for APF to pursue. APF then submitted grant proposals seeking to fund

     these activities and publications, knowing that drug companies would support projects

     conceived as a result of these communications.

108. The U.S. Senate Finance Committee began looking into APF in May 2012 to determine

     the links, financial and otherwise, between the organization and the manufacturers of

     opioid painkillers. The investigation caused considerable damage to APF’s credibility as

     an objective and neutral third party, and the Manufacturer Defendants stopped funding it.

     Within days of being targeted by Senate investigation, APF’s board voted to dissolve the




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          organization “due to irreparable economic circumstances.” APF “cease[d] to exist, effective

          immediately.” 40

     109. Another front group for the Manufacturer Defendants was the American Academy of Pain

          Medicine (“AAPM”). With the assistance, prompting, involvement, and funding of the

          Manufacturer Defendants, the AAPM—founded in 1983, just as the Defendants’ predatory

          marketing tactics were beginning to take hold—issued purported treatment guidelines and

          sponsored and hosted medical education programs essential to the Manufacturer

          Defendants’ deceptive marketing of chronic opioid therapy.

     110. AAPM received substantial funding from opioid manufacturers. For example, AAPM

          maintained a corporate relations council, whose members paid $25,000 per year (on top of

          other funding) to participate. The benefits included allowing members to present

          educational programs at off-site dinner symposia in connection with AAPM’s marquee

          event - its annual meeting held in Palm Springs, California, or other resort locations.

          AAPM describes the annual event as an “exclusive venue” for offering education programs

          to practitioners. Membership in the corporate relations council also allows drug company

          executives and marketing staff to meet with AAPM executive committee members in small

          settings. Defendants Endo, Purdue, and Cephalon were members of the council and

          presented deceptive programs to practitioners who attended this annual event.

     111. Upon information and belief, AAPM is viewed internally by Endo as “industry friendly,”

          with Endo advisors and speakers among its active members. Endo attended AAPM

          conferences, funded its CMEs, and distributed its publications. The conferences sponsored


40
   Charles Ornstein & Tracy Weber, Senate Panel Investigates Drug Companies’ Ties to Pain Groups, Wash. Post,
May 8, 2012, https://www.washingtonpost.com/national/health-science/senate-panel- investigates-drug-companies-
ties-to-pain-groups/2012/05/08/gIQA2X4qBU_story.html.

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          by AAPM heavily emphasized sessions on opioids - 37 out of roughly 40 at one conference

          alone. AAPM’s presidents have included top industry-supported KOLs Perry Fine and

          Lynn Webster. Dr. Webster was even elected president of AAPM while under a DEA

          investigation.

     112. The Manufacturer Defendants were able to influence AAPM through both their significant

          and regular funding and the leadership of pro-opioid KOLs within the organization.

     113. In 1996, AAPM and APS jointly issued a consensus statement, “The Use of Opioids for

          the Treatment of Chronic Pain,” which endorsed opioids to treat chronic pain and claimed

          that the risk of a patients’ addiction to opioids was low. Dr. Haddox, who co-authored the

          AAPM/APS statement, was a paid speaker for Purdue at the time. Dr. Portenoy was the

          sole consultant. The consensus statement remained on AAPM’s website until 2011, and,

          upon information and belief, was taken down from AAPM’s website only after a

          practitioner complained. 41

     114. AAPM and APS issued their own guidelines in 2009 (“AAPM/APS Guidelines”) and

          continued to recommend the use of opioids to treat chronic pain. 42 Treatment guidelines

          have been relied upon by practitioners, especially the general practitioners and family

          practitioners targeted by the Manufacturer Defendants. Treatment guidelines not only

          directly inform practitioners’ prescribing practices, but are cited throughout the scientific

          literature and referenced by third- party payors in determining whether they should cover

          treatments for specific indications. Pharmaceutical sales representatives employed by



41
   The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement From the American Academy of
Pain Medicine and the American Pain Society, 13 Clinical J. Pain 6 (1997).
42
   Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, 10 J.
Pain 113 (2009).

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            Endo, Actavis, and Purdue discussed treatment guidelines with practitioners during

            individual sales visits.

     115. At least fourteen of the 21 panel members who drafted the AAPM/APS Guidelines,

            including KOLs Dr. Portenoy and Dr. Perry Fine of the University of Utah, received

            support from Janssen, Cephalon, Endo, and Purdue. The 2009 Guidelines promote opioids

            as “safe and effective” for treating chronic pain, despite acknowledging limited evidence,

            and conclude that the risk of addiction is manageable for patients regardless of past abuse

            histories. 43 One panel member, Dr. Joel Saper, Clinical Professor of Neurology at

            Michigan State University and founder of the Michigan Headache & Neurological Institute,

            resigned from the panel because of his concerns that the 2009 Guidelines were influenced

            by contributions that drug companies, including Manufacturer Defendants, made to the

            sponsoring organizations and committee members. These AAPM/APS Guidelines have

            been a particularly effective channel of deception and have influenced not only treating

            physicians, but also the body of scientific evidence on opioids; the Guidelines have been

            cited hundreds of times in academic literature, were disseminated in the State and/or

            Plaintiffs’ Communities during the relevant time period, are still available online, and were

            reprinted in the Journal of Pain. The Manufacturer Defendants widely referenced and

            promoted the 2009 Guidelines without disclosing the lack of evidence to support them or

            the Manufacturer Defendants financial support to members of the panel.

     116. The Manufacturer Defendants worked together, through Front Groups, to spread their

            deceptive messages about the risks and benefits of long-term opioid therapy. For example,

            Defendants combined their efforts through the Pain Care Forum (“PCF”), which began in


43
     Id.

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     2004 as an APF project. PCF is comprised of representatives from opioid manufacturers

     (including Cephalon, Endo, Janssen, and Purdue) and various Front Groups, almost all of

     which received substantial funding from the Manufacturer Defendants. Among other

     projects, PCF worked to ensure that an FDA-mandated education project on opioids was

     not unacceptably negative and did not require mandatory participation by prescribers,

     which the Manufacturer Defendants determined would reduce prescribing.

         b. The Manufacturer Defendants’ Marketing Scheme Misrepresented the Risks
            and Benefits of Opioids

                    i.      The Manufacturer Defendants embarked upon a campaign of
                            false, deceptive, and unfair assurances grossly understating and
                            misstating the dangerous addiction and dependency risks of opioid
                            drugs

117. To falsely assure physicians and patients that opioids are safe, the Manufacturer Defendants

     deceptively trivialized and failed to disclose the risks of long-term opioid use, particularly

     the risk of addiction and dependency, through a series of misrepresentations that have been

     conclusively debunked by the FDA and CDC. These misrepresentations - which are

     described below - reinforced each other and created the dangerously misleading impression

     that: (1) starting patients on opioids was low risk because most patients would not become

     addicted or dependent, and because those at greatest risk for addiction or dependency could

     be identified and managed; (2) patients who displayed signs of addiction or dependency

     probably were not addicted or dependent and, in any event, could easily be weaned from

     the drugs; (3) the use of higher opioid doses, which many patients need to sustain pain

     relief as they develop tolerance to the drugs, do not pose special risks; and (4) abuse-

     deterrent opioids both prevent abuse and overdose and are inherently less addictive. The




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          Manufacturer Defendants have not only failed to correct these misrepresentations, they

          continue to make them today.

     118. Opioid manufacturers, including Defendants Endo Pharmaceuticals, Inc. and Purdue

          Pharma L.P., have entered into settlement agreements with public entities that prohibit

          them from making many of the misrepresentations identified in this Complaint. Yet even

          afterward, each Manufacturer Defendant continued to misrepresent the risks and benefits

          of long-term opioid use and each continues to fail to correct its past misrepresentations.

     119. Some illustrative examples of the Manufacturer Defendants’ false, deceptive, and unfair

          claims about the purportedly low risk of addiction and dependency include:

              i. Actavis’s predecessor caused a patient education brochure, Managing Chronic
                 Back Pain, to be distributed beginning in 2003 that admitted that opioid addiction
                 is possible, but falsely claimed that it is “less likely if you have never had an
                 addiction problem.” Based on Actavis’s acquisition of its predecessor’s marketing
                 materials along with the rights to Kadian, it appears that Actavis continued to use
                 this brochure in 2009 and beyond.

             ii. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
                 Living with Pain (2007), which suggested that addiction is rare and limited to
                 extreme cases of unauthorized dose escalations, obtaining duplicative opioid
                 prescriptions from multiple sources, or theft. This publication is still available
                 online. 44

             iii. Endo sponsored a website, “PainKnowledge,” which, upon information and belief,
                  claimed in 2009 that “[p]eople who take opioids as prescribed usually do not
                  become addicted.” Upon information and belief, another Endo website,
                  PainAction.com, stated “Did you know? Most chronic pain patients do not become
                  addicted to the opioid medications that are prescribed for them.” Endo also
                  distributed an “Informed Consent” document on PainAction.com that misleadingly
                  suggested that only people who “have problems with substance abuse and
                  addiction” are likely to become addicted to opioid medications.

             iv. Upon information and belief, Endo distributed a pamphlet with the Endo logo
                 entitled Living with Someone with Chronic Pain, which stated that: “Most health


44
  Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF,
Treatment Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.

                                                      42
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                 care providers who treat people with pain agree that most people do not develop an
                 addiction problem.”

            v. Janssen reviewed, edited, approved, and distributed a patient education guide
               entitled Finding Relief: Pain Management for Older Adults (2009), which
               described as “myth” the claim that opioids are addictive, and asserted as fact that
               “[m]any studies show that opioids are rarely addictive when used properly for the
               management of chronic pain.”

            vi. Janssen currently runs a website, Prescriberesponsibly.com (last updated July 2,
                2015), which claims that concerns about opioid addiction are “overestimated.”

            g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
               Management, which claims that less than 1% of children prescribed opioids will
               become addicted and that pain is undertreated due to “[m]isconceptions about
               opioid addiction.” 45

            h. Consistent with the Manufacturer Defendants’ published marketing materials, upon
               information and belief, detailers for Purdue, Endo, Janssen, and Cephalon minimized
               or omitted any discussion with practitioners of the risk of addiction; misrepresented
               the potential for abuse of opioids with purportedly abuse-deterrent formulations;
               and routinely did not correct the misrepresentations noted above.

            i. Seeking to overturn the criminal conviction of a practitioners for illegally
               prescribing opioids, the Manufacturer Defendants’ Front Groups APF and NFP
               argued in an amicus brief to the United States Fourth Circuit Court of Appeals that
               “patients rarely become addicted to prescribed opioids,” citing research by their
               KOL, Dr. Portenoy. 46

  120. These claims are contrary to longstanding scientific evidence. A 2016 opioid- prescription

        guideline issued by the CDC (the “2016 CDC Guideline”) explains that there is

        “[e]xtensive evidence” of the “possible harms of opioids (including opioid use disorder [an

        alternative term for opioid addiction], [and] overdose . . .).” 47 The 2016 CDC Guideline


45
   Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide],
http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf.
46
   Brief of the American Pain Foundation, the National Pain Foundation, and the National Foundation for the
Treatment of Pain in Support of Appellant and Reversal of the Conviction, United States v. Hurowitz, No. 05-4474
(4th Cir. Sept. 8, 2005) [hereinafter Brief of APF] at 9.
47
   Deborah Dowell et al., CDC Guideline for Prescribing Opioids for Chronic Pain—United States, 2016, Morbidity
& Mortality Wkly. Rep., Mar. 18, 2016, at 15 [hereinafter 2016 CDC Guideline],
https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.

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          further explains that “[o]pioid pain medication use presents serious risks, including

          overdose and opioid use disorder” and that “continuing opioid therapy for 3 months

          substantially increases risk for opioid use disorder.” 48

     121. The FDA further exposed the falsity of Defendants’ claims about the low risk of addiction

          and dependency when it announced changes to the labels for extended-release and long-

          acting (“ER/LA”) opioids in 2013 and for immediate release (“IR”) opioids in 2016. In its

          announcements, the FDA found that “most opioid drugs have ‘high potential for abuse’”

          and that opioids “are associated with a substantial risk of misuse, abuse, NOWS [neonatal

          opioid withdrawal syndrome], addiction, overdose, and death.” According to the FDA,

          because of the “known serious risks” associated with long-term opioid use, including “risks

          of addiction, abuse, and misuse, even at recommended doses, and because of the greater

          risks of overdose and death,” opioids should be used only “in patients for whom

          alternative treatment options” like non-opioid drugs have failed. 49

     122. The State of New York, in a 2016 settlement agreement with Endo, found that opioid “use

          disorders appear to be highly prevalent in chronic pain patients treated with opioids, with

          up to 40% of chronic pain patients treated in specialty and primary care outpatient centers

          meeting the clinical criteria for an opioid use disorder.” 50 Endo had claimed on its



48
   Id. at 2, 25.
49
   Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin., U.S.
Dep’t of Health and Human Servs., to Andrew Koldny, M.D., President, Physicians for Responsible Opioid
Prescribing (Sept. 10, 2013),
https://www.regulations.gov/contentStreamer?documentId=FDA-2012-P-0818-
0793&attachmentNumber=1&contentType=pdf.; Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation
and Research, U.S. Food and Drug Admin., U.S. Dep’t of Health and Human Servs., to Peter Mathers & Jennifer A.
Davidson, Kleinfeld, Kaplan and Becker, LLP (Mar. 22, 2016),
https://www.regulations.gov/contentStreamer?documentId=FDA-2014-P-0205-
0006&attachmentNumber=1&contentType=pdf.
50
   Assurance of Discontinuance, In re Endo Health Solutions Inc. and Endo Pharm. Inc. (Assurance No. 15-228), at
16, https://ag.ny.gov/pdfs/Endo AOD 030116-Fully Executed.pdf.

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           www.opana.com website that “[m]ost healthcare providers who treat patients with pain

           agree that patients treated with prolonged opioid medicines usually do not become

           addicted,” but the State of New York found that Endo had no evidence for that statement.

           Consistent with this, Endo agreed not to “make statements that . . . opioids generally are

           non-addictive” or “that most patients who take opioids do not become addicted” in New

           York. Endo remains free, however, to make those statements in this State.

     123. In addition to mischaracterizing the highly addictive nature of the drugs they were pushing,

           the Manufacturer Defendants also fostered a fundamental misunderstanding of the signs of

           addiction and dependency. Specifically, the Manufacturer Defendants misrepresented, to

           practitioners and patients, that warning signs and/or symptoms of addiction and

           dependency were, instead, signs of undertreated pain (i.e., pseudo-addiction) - and

           instructed practitioners to increase the opioid prescription dose for patients who were

           already in danger.

     124. To this end, one of Purdue’s employees, Dr. David Haddox, invented a phenomenon called

           “pseudo-addiction.” KOL Dr. Portenoy popularized the term. Examples of the false,

           misleading, deceptive, and unfair statements regarding pseudo-addiction include:

                i. Cephalon and Purdue sponsored Responsible Opioid Prescribing (2007), which
                   taught that behaviors such as “requesting drugs by name,” “demanding or
                   manipulative behavior,” seeing more than one practitioner to obtain opioids, and
                   hoarding, are all signs of pseudo-addiction, rather than true addiction. 51 The 2012
                   edition, which remains available for sale online, continues to teach that pseudo-
                   addiction is real. 52

               ii. Janssen sponsored, funded, and edited the Let’s Talk Pain website, which in 2009
                   stated: “pseudo-addiction . . . refers to patient behaviors that may occur when pain
                   is under-treated… Pseudo-addiction is different from true addiction because such
                   behaviors can be resolved with effective pain management.”

51
     Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2007) at 62.
52
     See Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2d ed. 2012).

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        iii. Endo sponsored a National Initiative on Pain Control (“NIPC”) CME program in
             2009 entitled “Chronic Opioid Therapy: Understanding Risk While Maximizing
             Analgesia,” which, upon information and belief, promoted pseudo-addiction by
             teaching that a patient’s aberrant behavior was the result of untreated pain. Endo
             appears to have substantially controlled NIPC by funding NIPC projects;
             developing, specifying, and reviewing content; and distributing NIPC materials.

        iv. Purdue published a pamphlet in 2011 entitled Providing Relief, Preventing Abuse,
            which, upon information and belief, described pseudo-addiction as a concept that
            “emerged in the literature” to describe the inaccurate interpretation of [drug-
            seeking behaviors] in patients who have pain that has not been effectively treated.”

         v. Upon information and belief, Purdue sponsored a CME program titled “Path of the
            Patient, Managing Chronic Pain in Younger Adults at Risk for Abuse”. In a role
            play, a chronic pain patient with a history of drug abuse tells his practitioner that
            he is taking twice as many hydrocodone pills as directed. The narrator notes that
            because of pseudo-addiction, the practitioner should not assume the patient is
            addicted even if he persistently asks for a specific drug, seems desperate, hoards
            medicine, or “overindulges in unapproved escalating doses.” The practitioner treats
            this patient by prescribing a high-dose, long-acting opioid.

125. In the 2016 CDC Guideline, the CDC rejects the validity of the pseudo-addiction fallacy

     invented by a Purdue employee as a reason to push more opioid drugs onto already addicted

     or dependent patients.

126. In addition to misstating the addiction and dependency risk and inventing the pseudo-

     addiction falsehood, a third category of false, deceptive, and unfair practice is the

     Manufacturer Defendants’ false instructions that addiction risk screening tools, patient

     contracts, urine drug screens, and similar strategies allow them to reliably identify and

     safely prescribe opioids to patients predisposed to addiction or dependency. These

     misrepresentations were especially insidious because the Manufacturer Defendants aimed

     them at general practitioners and family practitioners who lack the time and expertise to

     closely manage higher-risk patients on opioids. The Manufacturer Defendants’

     misrepresentations made these practitioners feel more comfortable prescribing opioids to


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            their patients, and patients more comfortable starting on opioid therapy for chronic pain.

            Illustrative examples include:

                  a. Endo paid for a 2007 supplement in the Journal of Family Practice written by a
                     practitioner who became a member of Endo’s speakers’ bureau in 2010. The
                     supplement, entitled Pain Management Dilemmas in Primary Care: Use of
                     Opioids, emphasized the effectiveness of screening tools, claiming that patients at
                     high risk of addiction could safely receive chronic opioid therapy using a
                     “maximally structured approach” involving toxicology screens and pill counts.

                  b. Purdue, upon information and belief, sponsored a 2011 webinar, Managing
                     Patient’s Opioid Use: Balancing the Need and Risk, which claimed that screening
                     tools, urine tests, and patient agreements prevent “overuse of prescriptions” and
                     “overdose deaths.”

                  c. As recently as 2015, upon information and belief, Purdue has represented in
                     scientific conferences that “bad apple” patients - and not opioids - are the source
                     of the addiction crisis and that once those “bad apples” are identified, practitioners
                     can safely prescribe opioids without causing addiction.

     127. The 2016 CDC Guideline confirms the falsity of these claims. The Guideline explains that

            there are no studies assessing the effectiveness of risk mitigation strategies “for improving

            outcomes related to overdose, addiction, abuse or misuse.” 53

     128. A fourth category of deceptive messaging regarding dangerous opioids is the Manufacturer

            Defendants’ false assurances regarding the alleged ease of eliminating opioid dependence.

            The Manufacturer Defendants falsely claimed that opioid dependence can easily be

            addressed by tapering and that opioid withdrawal is not a problem, but they failed to

            disclose the increased difficulty of stopping opioids after long-term use. In truth, the 2016

            CDC Guideline explains that the symptoms of opioid withdrawal include abdominal pain,

            vomiting, diarrhea, sweating, tremor, tachycardia, drug cravings, anxiety, insomnia,

            spontaneous abortion and premature labor in pregnant women. 54


53
     Id. at 11.
54
     Id. at 26.

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     129. The Manufacturer Defendants nonetheless downplayed the severity of opioid

           detoxification. For example, upon information and belief, a CME sponsored by Endo,

           entitled Persistent Pain in the Older Adult, claimed that withdrawal symptoms can be

           avoided by tapering a patient’s opioid dose by 10%-20% for 10 days. And Purdue

           sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its Management, which

           claimed that “[s]ymptoms of physical dependence can often be ameliorated by gradually

           decreasing the dose of medication during discontinuation” without mentioning any

           hardships that might occur. 55

     130. A fifth category of false, deceptive, and unfair statements the Manufacturer Defendants

           made to sell more drugs is that opioid dosages could be increased indefinitely without

           added risk. The ability to escalate dosages was critical to Defendants’ efforts to market

           opioids for long-term use to treat chronic pain because, absent this misrepresentation,

           practitioners would have abandoned treatment when patients built up tolerance and lower

           dosages did not provide pain relief. The Manufacturer Defendants’ deceptive claims

           include:

               a. Upon information and belief, Actavis’s predecessor created a patient brochure for
                  Kadian in 2007 that stated, “Over time, your body may become tolerant of your
                  current dose. You may require a dose adjustment to get the right amount of pain
                  relief. This is not addiction.” Based on Actavis’s acquisition of its predecessor’s
                  marketing materials along with the rights to Kadian, Actavis appears to have
                  continued to use these materials in 2009 and beyond.

               b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
                  Living with Pain (2007), which claims that some patients “need” a larger dose of
                  an opioid, regardless of the dose currently prescribed. The guide stated that opioids
                  have “no ceiling dose” and insinuated that they are therefore the most appropriate
                  treatment for severe pain. 56 This publication is still available online.


55
     APF, Policymaker’s Guide, supra note 48, at 32.
56
     APF, Treatment Options, supra note 47, at 12.

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            c. Endo sponsored a website, “PainKnowledge,” which, upon information and belief,
               claimed in 2009 that opioid dosages may be increased until “you are on the right
               dose of medication for your pain.”

            d. Endo distributed a pamphlet edited by a KOL entitled Understanding Your Pain:
               Taking Oral Opioid Analgesics (2004 Endo Pharmaceuticals PM- 0120). In Q&A
               format, it asked “If I take the opioid now, will it work later when I really need it?”
               The response is, “The dose can be increased… You won’t ‘run out’ of pain relief.”57

            e. Janssen sponsored a patient education guide entitled Finding Relief: Pain
               Management for Older Adults (2009), which was distributed by its sales force. This
               guide listed dosage limitations as “disadvantages” of other pain medicines but
               omitted any discussion of risks of increased opioid dosages.

            f. Upon information and belief, Purdue’s In the Face of Pain website promoted the
               notion that if a patient’s practitioner does not prescribe what, in the patient’s view,
               is a sufficient dosage of opioids, he or she should find another practitioner who
               would.

            g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
               Management, which taught that dosage escalations are “sometimes necessary,” and
               that “the need for higher doses of medication is not necessarily indicative of
               addiction,” but inaccurately downplayed the risks from high opioid dosages. 58

            h. In 2007, Purdue sponsored a CME entitled “Overview of Management Options”
               that was available for CME credit and available until at least 2012. The CME was
               edited by a KOL and taught that NSAIDs and other drugs, but not opioids, are
               unsafe at high dosages.

            i. Purdue presented a 2015 paper at the College on the Problems of Drug Dependence,
               “the oldest and largest organization in the US dedicated to advancing a scientific
               approach to substance use and addictive disorders,” challenging the correlation
               between opioid dosage and overdose. 59

            j. Seeking to overturn the criminal conviction of a practitioner for illegally
               prescribing opioids, the Manufacturer Defendants’ Front Groups APF and NFP
               argued in an amicus brief to the United States Fourth Circuit Court of Appeals that
               “there is no ‘ceiling dose’” for opioids. 60




57
   Margo McCaffery & Chris Pasero, Endo Pharm., Understanding Your Pain: Taking Oral Opioid Analgesics
(Russell K Portenoy, M.D., ed., 2004).
58
   APF, Policymaker’s Guide, supra note 48, at 32.
59
   The College on Problems of Drug Dependence, About the College, http://cpdd.org (last visited Aug. 21, 2017).
60
   Brief of APF, supra note 49, at 9.

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     131. Once again, the 2016 CDC Guideline reveals that the Manufacturer Defendants’

          representations regarding opioids were lacking in scientific evidence. The 2016 CDC

          Guideline clarifies that the “[b]enefits of high-dose opioids for chronic pain are not

          established” while the “risks for serious harms related to opioid therapy increase at higher

          opioid dosage.” 61 More specifically, the CDC explains that “there is now an established

          body of scientific evidence showing that overdose risk is increased at higher opioid

          dosages.” 62 The CDC also states that there is an increased risk “for opioid use disorder,

          respiratory depression, and death at higher dosages.” 63 That is why the CDC advises

          practitioners to “avoid increasing dosage” to above 90 morphine milligram equivalents per

          day. 64

     132. Defendants’ deceptive marketing of the so-called abuse-deterrent properties of some of

          their opioids has created false impressions that these opioids can cure addiction,

          dependency, and abuse.

     133. The Manufacturer Defendants made misleading claims about the ability of their so-called

          abuse-deterrent opioid formulations to deter abuse. For example, Endo’s advertisements

          for the 2012 reformulation of Opana ER claimed that it was designed to be crush resistant,

          in a way that suggested it was more difficult to abuse. This claim was false. The FDA

          warned in a 2013 letter that Opana ER Extended-Release Tablets “extended-release

          features can be compromised, causing the medication to ‘dose dump,’ when subject

          to…forms of manipulation such as cutting, grinding, or chewing, followed by



61
   2016 CDC Guideline, supra note 50, at 22-23.
62
   Id. at 23-24.
63
   Id. at 21.
64
   Id. at 16.

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                        65
          swallowing.” Also troubling, Opana ER can be prepared for snorting using commonly

          available methods and “readily prepared for injection.” 66 The letter discussed “the troubling

          possibility that a higher (and rising) percentage of [Opana ER Extended-Release Tablet]

          abuse is occurring via injection.” 67 Endo’s own studies, which it failed to disclose, showed

          that Opana ER could still be ground and chewed. In June 2017, the FDA requested that

          Opana ER be removed from the market.

                          ii.     The Manufacturer Defendants embarked upon a campaign of
                                  false, deceptive, and unfair assurances grossly overstating the
                                  benefits of the opioid drugs

     134. To convince practitioners and patients that opioids should be used to treat chronic pain, the

          Manufacturer Defendants also had to persuade them that there was a significant upside to

          long-term opioid use. But as the CDC Guideline makes clear, “[n]o evidence shows a long-

          term benefit of opioids in pain and function versus no opioids for chronic pain with

          outcomes examined at least 1 year later (with most placebo-controlled randomized trials

          less than 6 weeks in duration)” and that other treatments were more or equally beneficial

          and less harmful than long- term opioid use. 68 The FDA, too, has recognized the lack of

          evidence to support long-term opioid use. Despite this, Defendants falsely and misleadingly

          touted the benefits of long-term opioid use and falsely and misleadingly suggested that these

          benefits were supported by scientific evidence.

     135. Some illustrative examples of the Manufacturer Defendants’ false claims are:



65
    Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin.,U.S.
Dep’t of Health and Human Servs., to Robert Barto, Vice President, Reg. Affairs, Endo Pharm. Inc. (May 10, 2013),
at 5.
66
   Id. at 6.
67
   Id. at 21.
68
   Id. at 15.

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            a. Upon information and belief, Actavis distributed an advertisement claiming that the
               use of Kadian to treat chronic pain would allow patients to return to work, relieve
               “stress on your body and your mental health,” and help patients enjoy their lives.

            b. Endo distributed advertisements that claimed that the use of Opana ER for chronic
               pain would allow patients to perform demanding tasks like construction work or
               work as a chef and portrayed seemingly healthy, unimpaired subjects.

            c. Janssen sponsored and edited a patient education guide entitled Finding Relief: Pain
               Management for Older Adults (2009) - which states as “a fact” that “opioids may
               make it easier for people to live normally.” The guide lists expected functional
               improvements from opioid use, including sleeping through the night, returning to
               work, recreation, sex, walking, and climbing stairs.

            d. Janssen promoted Ultracet for everyday chronic pain and distributed posters, for
               display in practitioners’ offices, of presumed patients in active professions; the
               caption read, “Pain doesn’t fit into their schedules.”

            e. Upon information and belief, Purdue ran a series of advertisements for OxyContin
               in 2012 in medical journals entitled “Pain vignettes,” which were case studies
               featuring patients with pain conditions persisting over several months and
               recommending OxyContin for them. The ads implied that OxyContin improves
               patients’ function.

            f. Responsible Opioid Prescribing (2007), sponsored and distributed by Cephalon,
               Endo and Purdue, taught that relief of pain by opioids, by itself, improved patients’
               function.
            g. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
               Living with Pain (2007), which counseled patients that opioids “give [pain patients]
               a quality of life we deserve.” 69 This publication is still available online.

            h. Endo’s NIPC website “PainKnowledge” claimed in 2009, upon information and
               belief, that with opioids, “your level of function should improve; you may find you
               are now able to participate in activities of daily living, such as work and hobbies,
               that you were not able to enjoy when your pain was worse.” Elsewhere, the website
               touted improved quality of life (as well as “improved function”) as benefits of
               opioid therapy. The grant request that Endo approved for this project specifically
               indicated NIPC’s intent to make misleading claims about function, and Endo
               closely tracked visits to the site.

            i. Endo was the sole sponsor, through NIPC, of a series of CMEs entitled “Persistent
               Pain in the Older Patient.” 70 Upon information and belief, a CME disseminated via

69
  APF, Treatment Options, supra note 47.
70
  E.g., NIPC, Persistent Pain and        the     Older Patient (2007),
https://www.painedu.org/Downloads/NIPC/Activities/B173_Providence_RI_%20Invite.pdf.

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                   webcast claimed that chronic opioid therapy has been “shown to reduce pain and
                   improve depressive symptoms and cognitive functioning.”

               j. Janssen sponsored and funded a multimedia patient education campaign called
                  “Let’s Talk Pain.” One feature of the campaign was to complain that patients were
                  under-treated. In 2009, upon information and belief, a Janssen-sponsored website,
                  part of the “Let’s Talk Pain” campaign, featured an interview edited by Janssen
                  claiming that opioids allowed a patient to “continue to function.”

               k. Purdue sponsored the development and distribution of APF’s Policymaker’s
                  Guide to Understanding Pain & Its Management, which claimed that “[m]ultiple
                  clinical studies” have shown that opioids are effective in improving “[d]aily
                  function,” “[p]sychological health,” and “[o]verall health-related quality of life for
                  chronic pain.” 71 The Policymaker’s Guide was originally published in 2011.

               l. Purdue’s, Cephalon’s, Endo’s, and Janssen’s sales representatives have conveyed
                  and continue to convey the message that opioids will improve patient function.

     136. As the FDA and other agencies have made clear for years, these claims have no support in

           the scientific literature.

     137. In 2010, the FDA warned Actavis, in response to its advertising of Kadian described above,

           that “we are not aware of substantial evidence or substantial clinical experience

           demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating pain,

           taken together with any drug-related side effects patients may experience . . . results in any

           overall positive impact on a patient’s work, physical and mental functioning, daily

           activities, or enjoyment of life.” 72 And in 2008, upon information and belief, the FDA sent

           a warning letter to an opioid manufacturer, making it clear “that [the claim that] patients

           who are treated with the drug experience an improvement in their overall function, social

           function, and ability to perform daily activities . . . has not been demonstrated by substantial

           evidence or substantial clinical experience.”



71
     APF, Policymaker’s Guide, supra note 48, at 29.
72
     Letter from Thomas Abrams to Doug Boothe, supra note 32.

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     138. The Manufacturer Defendants also falsely and misleadingly emphasized or exaggerated

           the risks of competing medications like NSAIDs, so that practitioners and patients would

           look to opioids first for the treatment of chronic pain. Once again, these

           misrepresentations by the Manufacturer Defendants contravene pronouncements by and

           guidance from the FDA and CDC based on the scientific evidence. Indeed, the FDA

           changed the labels for ER/LA opioids in 2013 and IR opioids in 2016 to state that opioids

           should only be used as a last resort “in patients for which alternative treatment options”

           like non-opioid drugs “are inadequate.” And the 2016 CDC Guideline states that NSAIDs,

           not opioids, should be the first-line treatment for chronic pain, particularly arthritis and

           lower back pain. 73 Purdue misleadingly promoted OxyContin as being unique among

           opioids in providing 12 continuous hours of pain relief with one dose. In fact, OxyContin

           does not last for 12 hours - a fact that Purdue has known at all times relevant to this action.

           Upon information and belief, Purdue’s own research shows that OxyContin wears off in

           under six hours in one quarter of patients and in under 10 hours in more than half. This is

           because OxyContin tablets release approximately 40% of their active medicine

           immediately, after which release tapers. This triggers a powerful initial response, but

           provides little or no pain relief at the end of the dosing period, when less medicine is

           released. This phenomenon is known as “end of dose” failure, and the FDA found in 2008

           that a “substantial proportion” of chronic pain patients taking OxyContin experience it.

           This not only renders Purdue’s promise of 12 hours of relief false and deceptive, it also

           makes OxyContin more dangerous because the declining pain relief patients experience

           toward the end of each dosing period drives them to take more OxyContin before the next


73
     2016 CDC Guideline, supra note 50, at 12.

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          dosing period begins, quickly increasing the amount of drug they are taking and spurring

          growing dependence.

     139. Purdue’s competitors were aware of this problem. For example, upon information and

          belief, Endo ran advertisements for Opana ER referring to “real” 12-hour dosing.

          Nevertheless, Purdue falsely promoted OxyContin as if it were effective for a full 12 hours.

          Upon information and belief, Purdue’s sales representatives continue to tell practitioners

          that OxyContin lasts a full 12 hours.

     140. Front Groups supported by Purdue likewise echoed these representations. For example, in

          an amicus brief submitted to the Supreme Court of Ohio by the American Pain

          Foundation, the National Foundation for the Treatment of Pain and the Ohio Pain Initiative

          in support of Purdue, those amici represented:

                 OxyContin is particularly useful for sustained long-term pain because it
                 comes in higher, compact pills with a slow release coating. OxyContin pills
                 can work for 12 hours. This makes it easier for patients to comply with
                 dosing requirements without experiencing a roller-coaster of pain relief
                 followed quickly by pain renewal that can occur with shorter acting
                 medications. It also helps the patient sleep through the night, which is often
                 impossible with short-acting medications. For many of those serviced by
                 Pain Care Amici, OxyContin has been a miracle medication. 74

     141. Cephalon deceptively marketed its opioids Actiq and Fentora for chronic pain even though

          the FDA has expressly limited their use to the treatment of cancer pain in opioid tolerant

          individuals. Both Actiq and Fentora are extremely powerful fentanyl-based IR opioids.

          Neither is approved for or has been shown to be safe or effective for chronic pain. Indeed,

          the FDA expressly prohibited Cephalon from marketing Actiq for anything but cancer pain,



74
  Reply Brief of Amicus Curiae of the American Pain Foundation, The National Foundation for the Treatment of Pain
and the Ohio Pain Initiative Supporting Appellants, Howland v. Purdue Pharma L.P., No. 2003-1538 (Ohio Apr. 13,
2004), 2004 WL 1637768, at *4 (footnote omitted).

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          and refused to approve Fentora for the treatment of chronic pain because of the potential

          harm, including the high risk of “serious and life-threatening adverse events” and abuse -

          which are greatest in non-cancer patients. The FDA also issued a Public Health Advisory

          in 2007 emphasizing that Fentora should only be used for cancer patients who are opioid-

          tolerant and should not be used for any other conditions, such as migraines, post-operative

          pain, or pain due to injury. 75 Specifically, the FDA advised that Fentora “is only approved

          for breakthrough cancer pain in patients who are opioid-tolerant, meaning those patients

          who take a regular, daily, around-the-clock narcotic pain medication.” 76

     142. Despite this, Cephalon conducted and continues to conduct a well-funded campaign to

          promote Actiq and Fentora for chronic pain and other non-cancer conditions for which it

          was not approved, appropriate, and for which it is not safe. As part of this campaign,

          Cephalon used CMEs, speaker programs, KOLs, journal supplements, and detailing by its

          sales representatives to give practitioners the false impression that Actiq and Fentora are

          safe and effective for treating non-cancer pain. For example:

             a. Cephalon paid to have a CME it sponsored, Opioid-Based Management of
                Persistent and Breakthrough Pain, published in a supplement of Pain Medicine
                News in 2009. The CME instructed practitioners that “[c]linically, broad
                classification of pain syndromes as either cancer- or non-cancer-related has limited
                utility” and recommended Actiq and Fentora for patients with chronic pain.

             b. Upon information and belief, Cephalon’s sales representatives set up hundreds of
                speaker programs for practitioners, including many non-oncologists, which
                promoted Actiq and Fentora for the treatment of non-cancer pain.

             c. In December 2011, Cephalon widely disseminated a journal supplement entitled
                “Special Report: An Integrated Risk Evaluation and Mitigation Strategy for
                Fentanyl Buccal Tablet (FENTORA) and Oral Transmucosal Fentanyl Citrate

75
   See U.S. Food & Drug Admin., Public Health Advisory: Important Information for the Safe Use of Fentora (fentanyl
buccal tablets) (Sept. 26, 2007),
https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm05 1273.htm.
76
   Id.

                                                        56
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                  (ACTIQ)” to Anesthesiology News, Clinical Oncology News, and Pain Medicine
                  News - three publications that are sent to thousands of anesthesiologists and other
                  medical professionals. The Special Report openly promotes Fentora for “multiple
                  causes of pain” - and not just cancer pain.

     143. Cephalon’s deceptive marketing gave practitioners and patients the false impression that

          Actiq and Fentora were not only safe and effective for treating chronic pain, but were also

          approved by the FDA for such uses.

     144. Purdue also unlawfully and unfairly failed to report or address illicit and unlawful

          prescribing of its drugs, despite knowing about it for years. Purdue’s sales representatives

          have maintained a database since 2002 of practitioners suspected of inappropriately

          prescribing its drugs. Rather than report these practitioners to state medical boards or law

          enforcement authorities (as Purdue is legally obligated to do) or cease marketing to them,

          Purdue used the list to demonstrate the high rate of diversion of OxyContin - the same

          OxyContin that Purdue had promoted as less addictive - in order to persuade the FDA to

          bar the manufacture and sale of generic copies of the drug because the drug was too likely

          to be abused. In an interview with the Los Angeles Times, Purdue’s senior compliance

          officer acknowledged that in five years of investigating suspicious pharmacies, Purdue

          failed to take action - even where Purdue employees personally witnessed the diversion of

          its drugs. The same was true of prescribers; despite its knowledge of illegal prescribing,

          Purdue did not report that a Los Angeles clinic prescribed more than 1.1 million OxyContin

          tablets and that Purdue’s district manager described it internally as “an organized drug

          ring” until years after law enforcement shut it down. In doing so, Purdue protected its own

          profits at the expense of public health and safety. 77


77
  Harriet Ryan et al., More Than 1 Million Oxycontin Pills Ended Up in the Hands of Criminals and Addicts. What
the Drugmaker Knew, L.A. Times, July 10, 2016, http://www.latimes.com/projects/la-me- oxycontin-part2/.

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145. Like Purdue, Endo has been cited for its failure to set up an effective system for

     identifying and reporting suspicious prescribing. In its settlement agreement with Endo,

     the State of New York found that Endo failed to require sales representatives to report signs

     of abuse, diversion, and inappropriate prescribing; paid bonuses to sales representatives for

     detailing prescribers who were subsequently arrested or convicted for illegal prescribing;

     and failed to prevent sales representatives from visiting prescribers whose suspicious

     conduct had caused them to be placed on a no-call list.

        c. The Manufacturer Defendants made Materially Deceptive Statements and
           Concealed Materials Facts

146. As alleged herein, the Manufacturer Defendants made and/or disseminated deceptive

     statements regarding material facts and further concealed material facts, in the course of

     manufacturing, marketing, and selling prescription opioids. The Manufacturer Defendants’

     actions were intentional and/or unlawful. Such statements include, but are not limited to,

     those set out below and alleged throughout this Complaint.

147. Defendant Purdue made and/or disseminated deceptive statements, and concealed material

     facts in such a way to make their statements deceptive, including, but not limited to, the

     following:

        a. Creating, sponsoring, and assisting in the distribution of patient education materials
           distributed to consumers that contained deceptive statements;

        b. Creating and disseminating advertisements that contained deceptive statements
           concerning the ability of opioids to improve function long-term and concerning the
           evidence supporting the efficacy of opioids long-term for the treatment of chronic
           non-cancer pain;

        c. Disseminating misleading statements concealing the true risk of addiction and
           dependency, and promoting the deceptive concept of pseudo-addiction through
           Purdue’s own unbranded publications and on internet sites Purdue operated that
           were marketed to and accessible by consumers;


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     d. Distributing brochures to practitioners, patients, and law enforcement officials that
        included deceptive statements concerning the indicators of possible opioid abuse;

     e. Sponsoring, directly distributing, and assisting in the distribution of publications
        that promoted the deceptive concept of pseudo-addiction, even for high-risk
        patients;

     f. Endorsing, directly distributing, and assisting in the distribution of publications that
        presented an unbalanced treatment of the long-term and dose- dependent risks of
        opioids versus NSAIDs;

     g. Providing significant financial support to pro-opioid KOL practitioners who made
        deceptive statements concerning the use of opioids to treat chronic non-cancer pain;

     h. Providing needed financial support to pro-opioid pain organizations that made
        deceptive statements, including in patient education materials, concerning the use
        of opioids to treat chronic non-cancer pain;

     i. Assisting in the distribution of guidelines that contained deceptive statements
        concerning the use of opioids to treat chronic non-cancer pain and misrepresented
        the risks of opioid addiction and dependency;

     j. Endorsing and assisting in the distribution of CMEs containing deceptive
        statements concerning the use of opioids to treat chronic non-cancer pain;

     k. Developing and disseminating scientific studies that misleadingly concluded
        opioids are safe and effective for the long-term treatment of chronic non- cancer
        pain and that opioids improve quality of life, while concealing contrary data;

     l. Assisting in the dissemination of literature written by pro-opioid KOLs that
        contained deceptive statements concerning the use of opioids to treat chronic
        noncancer pain;

     m. Creating, endorsing, and supporting the distribution of patient and prescriber
        education materials that misrepresented the data regarding the safety and efficacy
        of opioids for the long-term treatment of chronic non-cancer pain, including known
        rates of abuse, dependency, and addiction and the lack of validation for long-term
        efficacy;

     n. Targeting veterans by sponsoring and disseminating patient education marketing
        materials that contained deceptive statements concerning the use of opioids to treat
        chronic non-cancer pain;




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        o. Targeting the elderly by assisting in the distribution of guidelines that contained
           deceptive statements concerning the use of opioids to treat chronic non-cancer pain
           and misrepresented the risks of opioid addiction and dependency in this population;

        p. Exclusively disseminating misleading statements in education materials to medical
           facility practitioners and staff while purportedly educating them on new pain
           standards;

        q. Making deceptive statements concerning the use of opioids to treat chronic
           noncancer pain to prescribers through in-person detailing; and

        r. Withholding from law enforcement the names of prescribers Purdue believed to be
           facilitating the diversion of its opioid, while simultaneously marketing opioids to
           these practitioners by disseminating patient and prescriber education materials and
           advertisements and CMEs they knew would reach these same prescribers.

148. Defendant Endo made and/or disseminated deceptive statements, and concealed material

     facts in such a way to make their statements deceptive, including, but not limited to, the

     following:

        a. Creating, sponsoring, and assisting in the distribution of patient education materials
           that contained deceptive statements;

        b. Creating and disseminating advertisements that contained deceptive statements
           concerning the ability of opioids to improve function long-term and concerning the
           evidence supporting the efficacy of opioids long-term for the treatment of chronic
           non-cancer pain;

        c. Creating and disseminating paid advertisement supplements in academic journals
           promoting chronic opioid therapy as safe and effective for long term use for high
           risk patients;

        d. Creating and disseminating advertisements that falsely and inaccurately conveyed
           the impression that Endo’s opioids would provide a reduction in oral, intranasal, or
           intravenous abuse;

        e. Disseminating misleading statements concealing the true risk of addiction and
           dependency, and promoting the misleading concept of pseudo-addiction through
           Endo’s own unbranded publications and on internet sites Endo sponsored or
           operated;




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         f. Endorsing, directly distributing, and assisting in the distribution of publications that
            presented an unbalanced treatment of the long-term and dose-dependent risks of
            opioids versus NSAIDs;

         g. Providing significant financial support to pro-opioid KOLs, who made deceptive
            statements concerning the use of opioids to treat chronic non-cancer pain;

         h. Providing needed financial support to pro-opioid pain organizations - including
            over $5 million to the organization responsible for many of the most egregious
            misrepresentations - that made deceptive statements, including in patient education
            materials, concerning the use of opioids to treat chronic non-cancer pain;

         i. Targeting the elderly by assisting in the distribution of guidelines that contained
            deceptive statements concerning the use of opioids to treat chronic non-cancer pain
            and misrepresented the risks of opioid addiction and dependency in this population;

         j. Endorsing and assisting in the distribution of CMEs containing deceptive
            statements concerning the use of opioids to treat chronic non-cancer pain;
         k. Developing and disseminating scientific studies that deceptively concluded opioids
            are safe and effective for the long-term treatment of chronic non- cancer pain and
            that opioids improve quality of life, while concealing contrary data;

         l. Directly distributing and assisting in the dissemination of literature written by pro-
            opioid KOLs that contained deceptive statements concerning the use of opioids to
            treat chronic non-cancer pain, including the concept of pseudo-addiction;

         m. Creating, endorsing, and supporting the distribution of patient and prescriber
            education materials that misrepresented the data regarding the safety and efficacy
            of opioids for the long-term treatment of chronic non-cancer pain, including known
            rates of abuse, dependency, and addiction and the lack of validation for long-term
            efficacy; and

         n. Making deceptive statements concerning the use of opioids to treat chronic non-
            cancer pain to prescribers through in-person detailing.

149. Defendant Janssen made and/or disseminated deceptive statements, and concealed material

     facts in such a way to make their statements deceptive, including, but not limited to, the

     following:

         a. Creating, sponsoring, and assisting in the distribution of patient education materials
            that contained deceptive statements;


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     b. Directly disseminating deceptive statements through internet sites over which
        Janssen exercised final editorial control and approval stating that opioids are safe
        and effective for the long-term treatment of chronic non- cancer pain and that
        opioids improve quality of life, while concealing contrary data;

     c. Disseminating deceptive statements concealing the true risk of addiction and
        dependency, and promoting the deceptive concept of pseudo-addiction through
        internet sites over which Janssen exercised final editorial control and approval;

     d. Promoting opioids for the treatment of conditions for which Janssen knew, due to
        the scientific studies it conducted, that opioids were not efficacious and concealing
        this information;

     e. Sponsoring, directly distributing, and assisting in the dissemination of patient
        education publications over which Janssen exercised final editorial control and
        approval, which presented an unbalanced treatment of the long- term and dose
        dependent risks of opioids versus NSAIDs;

     f. Providing significant financial support to pro-opioid KOLs, who made deceptive
        statements concerning the use of opioids to treat chronic non-cancer pain;

     g. Providing necessary financial support to pro-opioid pain organizations that made
        deceptive statements, including in patient education materials, concerning the use
        of opioids to treat chronic non-cancer pain;

     h. Targeting the elderly by assisting in the distribution of guidelines that contained
        deceptive statements concerning the use of opioids to treat chronic non-cancer pain
        and misrepresented the risks of opioid addiction and dependency in this population;

     i. Targeting the elderly by sponsoring, directly distributing, and assisting in the
        dissemination of patient education publications targeting this population that
        contained deceptive statements about the risks of addiction and dependency, and
        the adverse effects of opioids, and made false statements that opioids are safe and
        effective for the long-term treatment of chronic non-cancer pain and improve
        quality of life, while concealing contrary data;

     j. Endorsing and assisting in the distribution of CMEs containing deceptive
        statements concerning the use of opioids to treat chronic non-cancer pain;

     k. Directly distributing and assisting in the dissemination of literature written by pro-
        opioid KOLs that contained deceptive statements concerning the use of opioids to
        treat chronic non-cancer pain, including the concept of pseudo-addiction;




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         l. Creating, endorsing, and supporting the distribution of patient and prescriber
            education materials that misrepresented the data regarding the safety and efficacy
            of opioids for the long-term treatment of chronic non- cancer pain, including known
            rates of abuse, dependency, and addiction and the lack of validation for long-term
            efficacy;

         m. Targeting veterans by sponsoring and disseminating patient education marketing
            materials that contained deceptive statements concerning the use of opioids to treat
            chronic non-cancer pain; and

         n. Making deceptive statements concerning the use of opioids to treat chronic non-
            cancer pain to prescribers through in-person detailing.

150. Defendant Cephalon made and/or disseminated untrue, false and deceptive statements, and

     concealed material facts in such a way to make their statements deceptive, including, but

     not limited to, the following:

         a. Creating, sponsoring, and assisting in the distribution of patient education materials
            that contained deceptive statements;
         b. Sponsoring and assisting in the distribution of publications that promoted the
            deceptive concept of pseudo-addiction, even for high-risk patients;

         c. Providing significant financial support to pro-opioid KOL practitioners who made
            deceptive statements concerning the use of opioids to treat chronic non-cancer pain
            and breakthrough chronic non-cancer pain;

         d. Developing and disseminating scientific studies that deceptively concluded opioids
            are safe and effective for the long-term treatment of chronic non- cancer pain in
            conjunction with Cephalon’s potent rapid-onset opioids;

         e. Providing needed financial support to pro-opioid pain organizations that made
            deceptive statements, including in patient education materials, concerning the use
            of opioids to treat chronic non-cancer pain;

         f. Endorsing and assisting in the distribution of CMEs containing deceptive
            statements concerning the use of opioids to treat chronic non-cancer pain;

         g. Endorsing and assisting in the distribution of CMEs containing deceptive
            statements concerning the use of Cephalon’s rapid-onset opioids;

         h. Directing its marketing of Cephalon’s rapid-onset opioids to a wide range of
            practitioners, including general practitioners, neurologists, sports medicine
            specialists, and workers’ compensation programs, serving chronic pain patients;


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         i. Making deceptive statements concerning the use of Cephalon’s opioids to treat
            chronic non-cancer pain to prescribers through in-person detailing and speakers’
            bureau events, when such uses are unapproved and unsafe; and

         j. Making deceptive statements concerning the use of opioids to treat chronic non-
            cancer pain to prescribers through in-person detailing and speakers’ bureau events.

151. Defendant Actavis made and/or disseminated deceptive statements, and concealed material

     facts in such a way to make their statements deceptive, including, but not limited to, the

     following:

         a. Making deceptive statements concerning the use of opioids to treat chronic non-
            cancer pain to prescribers through in-person detailing;

         b. Creating and disseminating advertisements that contained deceptive statements that
            opioids are safe and effective for the long-term treatment of chronic non-cancer
            pain and that opioids improve quality of life;

         c. Creating and disseminating advertisements that concealed the risk of addiction and
            dependency in the long-term treatment of chronic, non-cancer pain; and

         d. Developing and disseminating scientific studies that deceptively concluded opioids
            are safe and effective for the long-term treatment of chronic non-cancer pain and
            that opioids improve quality of life while concealing contrary data.

         d. The Manufacturer Defendants Fraudulently Concealed Their Misconduct

152. The Manufacturer Defendants, both individually and collectively, made, promoted, and

     profited from their misrepresentations about the risks and benefits of opioids for chronic

     pain even though they knew that their misrepresentations were false and deceptive. The

     history of opioids, as well as research and clinical experience establish that opioids are

     highly addictive and are responsible for a long list of very serious adverse outcomes. The

     FDA warned Defendants of this, and Defendants had access to scientific studies, detailed

     prescription data, and reports of adverse events, including reports of addiction and

     dependency, hospitalization, and death - all of which clearly described the harm from long-


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     term opioid use and that patients were suffering from addiction and dependency, overdose,

     and death in alarming numbers. More recently, the FDA and CDC have issued

     pronouncements, based on medical evidence, that conclusively expose the falsity of

     Defendants’ misrepresentations, and Endo and Purdue have recently entered agreements in

     New York prohibiting them from making some of the same misrepresentations described

     in this Complaint.

153. At all times relevant to this Complaint, the Manufacturer Defendants took steps to avoid

     detection of and to fraudulently conceal their deceptive marketing and unlawful, unfair,

     and fraudulent conduct. For example, the Manufacturer Defendants disguised their role in

     the deceptive marketing of chronic opioid therapy by funding and working through third

     parties like Front Groups and KOLs. The Manufacturer Defendants purposefully hid

     behind the assumed credibility of these individuals and organizations and relied on them

     to vouch for the accuracy and integrity of the Manufacturer Defendants’ false and deceptive

     statements about the risks and benefits of long-term opioid use for chronic pain. Defendants

     also never disclosed their role in shaping, editing, and approving the content of information

     and materials disseminated by these third parties. The Manufacturer Defendants exerted

     considerable influence on these promotional and “educational” materials in emails,

     correspondence, and meetings with KOLs, Front Groups, and public relations companies

     that were not, and have not yet become, public. For example, PainKnowledge.org, which

     is run by the NIPC, did not disclose Endo’s involvement. Other Manufacturer Defendants,

     such as Purdue and Janssen, ran similar websites that masked their own role.

154. Finally, the Manufacturer Defendants manipulated their promotional materials and the

     scientific literature to make it appear that these documents were accurate, truthful, and


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     supported by objective evidence when they were not. The Manufacturer Defendants

     distorted the meaning or import of studies they cited and offered them as evidence for

     propositions the studies did not support. The Manufacturer Defendants invented “pseudo-

     addiction” and promoted it to an unsuspecting medical community. The Manufacturer

     Defendants provided the medical community with false and misleading information about

     ineffectual strategies to avoid or control opioid addiction and dependency. The

     Manufacturer Defendants recommended to the medical community that dosages be

     increased, without disclosing the risks. The Manufacturer Defendants spent millions of

     dollars over a period of years on a misinformation campaign aimed at highlighting opioids’

     alleged benefits, disguising the risks, and promoting sales.

               IX.    THE DISTRIBUTOR DEFENDANTS’ UNLAWFUL
                             DISTRIBUTION OF OPIOIDS

155. The Distributor Defendants owe a duty under federal law (21 U.S.C. § 823, 21 CFR

     1301.74) to monitor, detect, investigate, refuse to fill, and report suspicious orders of

     prescription opioids as well as those orders which the Distributor Defendants knew or

     should have known were likely to be diverted.

156. The foreseeable harm from a breach of these duties is the diversion of prescription opioids

     for nonmedical purposes.

157. Each Distributor Defendant repeatedly and purposefully breached its duties under state and

     federal law. Such breaches are a direct and proximate causes of the widespread diversion

     of prescription opioids for nonmedical purposes.

158. The unlawful diversion of prescription opioids is a direct and proximate cause of the opioid

     epidemic, prescription opioid abuse, addiction, dependency, morbidity and mortality.



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159. The Distributor Defendants’ intentionally continued their conduct, as alleged herein, with

     knowledge that such conduct was creating the opioid epidemic and causing the damages

     alleged herein.

         a. The Distributor Defendants have a Duty under Federal Law to Guard Against
            and Report Unlawful Diversion, and to Report and Prevent Suspicious Orders

160. Opioids are a controlled substance. These “Schedule II” drugs are controlled substances

     with a “high potential for abuse.” 21 U.S.C. §§ 812(b), 812(2)(A)-(C).

161. Each Distributor Defendant was required to register with the DEA, pursuant to the federal

     Controlled Substance Act. See 21 U.S.C. § 823(b), (e); 28 C.F.R. § 0.100. Each Distributor

     Defendant is a “registrant” as a wholesale distributor in the chain of distribution of

     Schedule II controlled substances with a duty to comply with all security requirements

     imposed under that statutory scheme.

162. Each Distributor Defendant has an affirmative duty under federal law to act as a gatekeeper

     guarding against the diversion of the highly addictive, dangerous opioid drugs. Federal law

     requires that Distributors of Schedule II drugs, including opioids, must maintain “effective

     control against diversion of particular controlled substances into other than legitimate

     medical, scientific, and industrial channels.” 21 U.S.C. §§ 823(b)(1).

163. Federal regulations impose a non-delegable duty upon wholesale drug distributors to

     “design and operate a system to disclose to the registrant suspicious orders of controlled

     substances. The registrant [distributor] shall inform the Field Division Office of the

     Administration in his area of suspicious orders when discovered by the registrant.

     Suspicious orders include orders of unusual size, orders deviating substantially from a

     normal pattern, and orders of unusual frequency.” 21 C.F.R. § 1301.74(b).



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164. “Suspicious orders” include orders of an unusual size, orders of unusual frequency or

     orders deviating substantially from a normal pattern. See 21 CFR 1301.74(b). These criteria

     are disjunctive and are not all inclusive. For example, if an order deviates substantially

     from a normal pattern, the size of the order does not matter and the order should be reported

     as suspicious. Likewise, a wholesale distributor need not wait for a normal pattern to

     develop over time before determining whether a particular order is suspicious. The size of

     an order alone, regardless of whether it deviates from a normal pattern, is enough to trigger

     the wholesale distributor’s responsibility to report the order as suspicious. The

     determination of whether an order is suspicious depends not only on the ordering patterns

     of the particular customer but also on the patterns of the entirety of the wholesale

     distributor’s customer base and the patterns throughout the relevant segment of the

     wholesale distributor industry.

165. In addition to reporting all suspicious orders, distributors must also stop shipment on any

     order which is flagged as suspicious and only ship orders which were flagged as potentially

     suspicious if, after conducting due diligence, the distributor can determine that the order is

     not likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg.

     36,487, 36,501 (Drug Enf’t Admin. July 3, 2007); Masters Pharmaceutical, Inc. v. Drug

     Enforcement Administration, No. 15-11355 (D.C. Cir. June 30, 2017). Regardless, all

     flagged orders must be reported.

166. These prescription drugs are regulated for the purpose of providing a “closed” system

     intended to reduce the widespread diversion of these drugs out of legitimate channels into




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          the illicit market, while at the same time providing the legitimate drug industry with a

          unified approach to narcotic and dangerous drug control. 78

     167. Different entities supervise the discrete links in the chain that separate a consumer from a

          controlled substance. Statutes and regulations define each participant’s role and

          responsibilities. 79

     168. As the DEA advised the Distributor Defendants in a letter to them dated September

          27, 2006, wholesale distributors are “one of the key components of the distribution

          chain. If the closed system is to function properly…distributors must be vigilant in

          deciding whether a prospective customer can be trusted to deliver controlled substances

          only for lawful purposes. This responsibility is critical, as…the illegal distribution of

          controlled substances has a substantial and detrimental effect on the health and general

          welfare of the American people.” 80




78
   See 1970 U.S.C.C.A.N. 4566, 4571-72.
79
   Brief for Healthcare Distribution Management Association and National Association of Chain Drug Stores as Amici
Curiae in Support of Neither Party, Masters Pharm., Inc. v. U.S. Drug Enf’t Admin. (No. 15-1335) (D.C. Cir. Apr. 4,
2016), 2016 WL 1321983, at *22 [hereinafter Brief for HDMA and NACDS]. The Healthcare Distribution
Management Association (HDMA or HMA)-now known as the Healthcare Distribution Alliance (HDA)-is a national,
not-for-profit trade association that represents the nation’s primary, full-service healthcare distributors whose
membership includes, among others: AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and McKesson
Corporation. See generally HDA, About, https://www.healthcaredistribution.org/about (last visited Aug. 21, 2017).
The National Association of Chain Drug Stores (NACDS) is a national, not-for-profit trade association that represents
traditional drug stores and supermarkets and mass merchants with pharmacies whose membership includes, among
others: Walgreen Company, CVS Health, Rite Aid Corporation and Walmart. See generally NACDS, Mission,
https://www.nacds.org/ about/mission/ (last visited Aug. 21, 2017).
80
   See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug. Enf’t Admin.,
U.S. Dep’t of Justice, to Cardinal Health (Sept. 27, 2006) [hereinafter Rannazzisi Letter] (“This letter is being sent to
every commercial entity in the United States registered with the Drug Enforcement Agency (DEA) to distribute
controlled substances. The purpose of this letter is to reiterate the responsibilities of controlled substance distributors
in view of the prescription drug abuse problem our nation currently faces.”), filed in Cardinal Health, Inc. v. Holder,
No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-51.

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  169. The Distributor Defendants have admitted that they are responsible for reporting suspicious

        orders. 81

  170. The DEA sent a letter to each of the Distributor Defendants on September 27, 2006,

        warning that it would use its authority to revoke and suspend registrations when

        appropriate. The letter expressly states that a distributor, in addition to reporting suspicious

        orders, has a “statutory responsibility to exercise due diligence to avoid filling suspicious

        orders that might be diverted into other than legitimate medical, scientific, and industrial

        channels.” 82 The letter also instructs that “distributors must be vigilant in deciding whether

        a prospective customer can be trusted to deliver controlled substances only for lawful

        purposes.” 83 The DEA warns that “even just one distributor that uses its DEA registration

        to facilitate diversion can cause enormous harm.”

  171. The DEA sent a second letter to each of the Distributor Defendants on December 27, 2007. 84

        This letter reminds the Defendants of their statutory and regulatory duties to “maintain

        effective controls against diversion” and “design and operate a system to disclose to the

        registrant suspicious orders of controlled substances.” 85 The letter further explains:

                 The regulation also requires that the registrant inform the local DEA
                 Division Office of suspicious orders when discovered by the registrant.
                 Filing a monthly report of completed transactions (e.g., “excessive purchase
                 report” or “high unity purchases”) does not meet the regulatory requirement
                 to report suspicious orders. Registrants are reminded that their
                 responsibility does not end merely with the filing of a suspicious order
                 report. Registrants must conduct an independent analysis of suspicious

81
   See Brief for HDMA and NACDS, supra note 85, 2016 WL 1321983, at *4 (“[R]egulations . . . in place for more
than 40 years require distributors to report suspicious orders of controlled substances to DEA based on information
readily available to them (e.g., a pharmacy’s placement of unusually frequent or large orders).”).
82
   Rannazzisi Letter, supra note 83, at 2.
83
   Id. at 1.
84
   Id. at 2.
85
   See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug. Enf’t Admin.,
U.S. Dep’t of Justice, to Cardinal Health (Dec. 27, 2007), filed in Cardinal Health, Inc. v.
Holder, No. 1:12-cv- 00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-8.

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        orders prior to completing a sale to determine whether the controlled
        substances are likely to be diverted from legitimate channels. Reporting an
        order as suspicious will not absolve the registrant of responsibility if the
        registrant knew, or should have known, that the controlled substances were
        being diverted.

        The regulation specifically states that suspicious orders include orders of
        unusual size, orders deviating substantially from a normal pattern, and
        orders of an unusual frequency. These criteria are disjunctive and are not all
        inclusive. For example, if an order deviates substantially from a normal
        pattern, the size of the order does not matter and the order should be reported
        as suspicious. Likewise, a registrant need not wait for a “normal pattern” to
        develop over time before determining whether a particular order is
        suspicious. The size of an order alone, whether or not it deviates from a
        normal pattern, is enough to trigger the registrant’s responsibility to report
        the order as suspicious. The determination of whether an order is suspicious
        depends not only on the ordering patterns of the particular customer, but
        also on the patterns of the registrant’s customer base and the patterns
        throughout the segment of the regulated industry.

        Registrants that rely on rigid formulas to define whether an order is
        suspicious may be failing to detect suspicious orders. For example, a system
        that identifies orders as suspicious only if the total amount of a controlled
        substance ordered during one month exceeds the amount ordered the
        previous month by a certain percentage or more is insufficient. This system
        fails to identify orders placed by a pharmacy if the pharmacy placed
        unusually large orders from the beginning of its relationship with the
        distributor. Also, this system would not identify orders as suspicious if the
        order were solely for one highly abused controlled substance if the orders
        never grew substantially. Nevertheless, ordering one highly abused
        controlled substance and little or nothing else deviates from the normal
        pattern of what pharmacies generally order.
        When reporting an order as suspicious, registrants must be clear in their
        communication with DEA that the registrant is actually characterizing an
        order as suspicious. Daily, weekly, or monthly reports submitted by
        registrant indicating “excessive purchases” do not comply with the
        requirement to report suspicious orders, even if the registrant calls such
        reports “suspicious order reports.”

        Lastly, registrants that routinely report suspicious orders, yet fill these
        orders without first determining that order is not being diverted into other
        than legitimate medical, scientific, and industrial channels, may be failing
        to maintain effective controls against diversion. Failure to maintain
        effective controls against diversion is inconsistent with the public interest



                                          71
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                  as that term is used in 21 USC 823 and 824, and may result in the revocation
                  of the registrant’s DEA Certificate of Registration. 86

          Finally, the DEA letter references the Revocation of Registration issued in Southwood

          Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which discusses the

          obligation to report suspicious orders and “some criteria to use when determining whether

          an order is suspicious.” 87

     172. The Distributor Defendants admit that they “have not only statutory and regulatory

          responsibilities to detect and prevent diversion of controlled prescription drugs, but

          undertake such efforts as responsible members of society.”

     173. The Distributor Defendants knew they were required to monitor, detect, and halt suspicious

          orders. Industry compliance guidelines established by the Healthcare Distribution

          Management Association, the trade association of pharmaceutical distributors, explain that

          distributors are “[a]t the center of a sophisticated supply chain” and therefore “are uniquely

          situated to perform due diligence in order to help support the security of the controlled

          substances they deliver to their customers.” The guidelines set forth recommended steps in

          the “due diligence” process, and note in particular: If an order meets or exceeds a

          distributor’s threshold, as defined in the distributor’s monitoring system, or is otherwise

          characterized by the distributor as an order of interest, the distributor should not ship to the

          customer, in fulfillment of that order, any units of the specific drug code product as to

          which the order met or exceeded a threshold or as to which the order was otherwise

          characterized as an order of interest. 88



86
   Id.
87
   Id.
88
   See Brief of HDMA, supra note 19, 2012 WL 1637016, at *2.

                                                      72
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174. Each of the Distributor Defendants sold prescription opioids, including hydrocodone

     and/or oxycodone, to retailers from which Defendants knew prescription opioids were

     likely to be diverted.

175. Each Distributor Defendant owes a duty to monitor and detect suspicious orders of

     prescription opioids.

176. Each Distributor Defendant owes a duty under federal law to investigate and refuse

     suspicious orders of prescription opioids.

177. Each Distributor Defendant owes a duty under federal law to report suspicious orders of

     prescription opioids.

178. Each Distributor Defendant owes a duty under federal law to prevent the diversion of

     prescription opioids into illicit markets throughout the United States.

179. The foreseeable harm resulting from a breach of these duties is the diversion          of

     prescription opioids for nonmedical purposes and subsequent plague of opioid addiction and

     dependency.

180. The foreseeable harm resulting from the diversion of prescription opioids for nonmedical

     purposes is abuse, addiction, dependency, morbidity and mortality and the damages caused

     thereby.

         b. The Distributor Defendants Breached their Duties

181. Because distributors handle such large volumes of controlled substances, and are the first

     major line of defense in the movement of legal pharmaceutical controlled substances from

     legitimate channels into the illicit market, it is incumbent on distributors to maintain




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          effective controls to prevent diversion of controlled substances. Should a distributor

          deviate from these checks and balances, the closed system collapses. 89

     182. The sheer volume of prescription opioids distributed to pharmacies in various areas, and/or

          to pharmacies from which the Distributor Defendants knew the opioids were likely to be

          diverted, was excessive for the medical need of the community and facially suspicious.

          Some red flags are so obvious that no one who engages in the legitimate distribution of

          controlled substances can reasonably claim ignorance of them. 90

     183. The Distributor Defendants failed to report “suspicious orders,” or which the Distributor

          Defendants knew were likely to be diverted, to the federal authorities, including the DEA.

     184. The Distributor Defendants unlawfully filled suspicious orders of unusual size, orders

          deviating substantially from a normal pattern, and/or orders of unusual frequency, and/or

          in areas from which the Distributor Defendants knew opioids were likely to be diverted.

     185. The Distributor Defendants breached their duty to monitor, detect, investigate, refuse and

          report suspicious orders of prescription opiates, and/or in areas from which the Distributor

          Defendants knew opioids were likely to be diverted.

     186. The Distributor Defendants breached their duty to maintain effective controls against

          diversion of prescription opiates into other than legitimate medical, scientific, and

          industrial channels. 91




89
   Healthcare Distribution Management Association (HDMA) Industry Compliance Guidelines: Reporting Suspicious
Orders and Preventing Diversion of Controlled Substances, filed in Cardinal Health, Inc. v. Holder, No. 12-5061
(D.C. Cir. Mar. 7, 2012), Doc. No. 1362415 (App’x B).
90
   See Rannazzisi Decl., r 10, filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10,
2012), ECF No. 14-2.
91
   Masters Pharmaceuticals, Inc., 80 Fed. Reg. 55,418-01, 55,482 (Sept. 15, 2015) (citing Holiday CVS, L.L.C., d/b/a
CVS/Pharmacy Nos. 219 and 5195, 77 Fed. Reg. 62,316, 62,322 (2012)).

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     187. The Distributor Defendants breached their duty to “design and operate a system to disclose

           to the registrant suspicious orders of controlled substances” and failed to inform the

           authorities including the DEA of suspicious orders when discovered, in violation of their

           duties under federal law.

     188. The Distributor Defendants breached their duty to exercise due diligence to avoid filling

           suspicious orders that might be diverted into channels other than legitimate medical,

           scientific and industrial channels. 92

     189. On May 8, 2018, the House Committee on Energy and Commerce, Subcommittee on

           Oversight and Investigations held a hearing entitled “Combating the Opioid Epidemic:

           Examining Concerns about Distribution and Diversion”. During this Hearing the House

           Committee heard testimony from representatives of some of the Distributor Defendants.

           Dr. Joseph Mastandrea, Chairman of the Board for the Defendant Miami-Luken, admitted

           that his Company contributed to the opioid epidemic and that the Company had past

           failings in maintaining effective controls to prevent the diversion of opioids.

     190. The federal laws at issue here are public safety laws.

     191. The Distributor Defendants’ violations of public safety statutes constitute prima facie

           evidence of negligence under State law.

     192. The unlawful conduct by the Distributor Defendants is purposeful and intentional. The

           Distributor Defendants refuse to abide by the duties imposed by federal law which are

           required to legally acquire and maintain a license to distribute prescription opiates.




92
     See Cardinal Health, Inc. v. Holder, 846 F. Supp. 2d 203, 206 (D.D.C. 2012).

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     193. The Distributor Defendants acted with actual malice in breaching their duties, i.e., they have

          acted with a conscious disregard for the rights and safety of other persons, and said actions

          have a great probability of causing substantial harm.

     194. The Distributor Defendants’ repeated shipments of suspicious orders, over an extended

          period of time, in violation of public safety statutes, and without reporting the suspicious

          orders to the relevant authorities demonstrates wanton, willful, or reckless conduct or

          criminal indifference to civil obligations affecting the rights of others and justifies an award

          of punitive damages.

              c. The Distributor Defendants Have Sought to Avoid and Have Misrepresented
                 their Compliance with their Legal Duties

     195. The Distributor Defendants have repeatedly misrepresented their compliance with their

          legal duties under federal law and have wrongfully and repeatedly disavowed those duties

          in an effort to mislead regulators and the public regarding the Distributor Defendants’

          compliance with legal duties.

     196. Distributor Defendants have refused to recognize any duty beyond reporting suspicious

          orders. In Masters Pharmaceuticals, the HDMA, a trade association run by the Distributor

          Defendants, and the NACDS submitted amicus briefs regarding the legal duty of wholesale

          distributors. Inaccurately denying the legal duties that the wholesale drug industry has been

          tragically recalcitrant in performing, they argued as follows:

              a. The Associations complained that the “DEA has required distributors not only to
                 report suspicious orders, but to investigate orders (e.g., by interrogating pharmacies
                 and physicians) and take action to halt suspicious orders before they are filled.” 93

              b. The Associations argued that, “DEA now appears to have changed its position to
                 require that distributors not only report suspicious orders, but investigate and halt
                 suspicious orders. Such a change in agency position must be accompanied by an

93
     Brief for HDMA and NACDS, supra note 85, 2016 WL 1321983, at *4-5.

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                 acknowledgment of the change and a reasoned explanation for it. In other words,
                 an agency must display awareness that it is changing position and show that there
                 are good reasons for the new policy. This is especially important here, because
                 imposing intrusive obligation on distributors threatens to disrupt patient access to
                 needed prescription medications.” 94

              c. The Associations alleged (inaccurately) that nothing “requires distributors to
                 investigate the legitimacy of orders, or to halt shipment of any orders deemed to be
                 suspicious.” 95
              d. The Association complained that the purported “practical infeasibility of requiring
                 distributors to investigate and halt suspicious orders (as well as report them)
                 underscores the importance of ensuring that DEA has complied with the APA
                 before attempting to impose such duties.” 96

              e. The Associations alleged (inaccurately) that “DEA’s regulations… sensibly
                 impose… a duty on distributors simply to report suspicious orders, but left it to
                 DEA and its agents to investigate and halt suspicious orders.” 97

              f. The Associations also inaccurately argued that, “[i]mposing a duty on distributors
                 - which lack the patient information and the necessary medical expertise - to
                 investigate and halt orders may force distributors to take a shot-in-the-dark
                 approach to complying with DEA’s demands.” 98

     197. The positions taken by the trade groups is emblematic of the position taken by the

          Distributor Defendants in a futile attempt to deny their legal obligations to prevent

          diversion of the dangerous drugs. 99

     198. The Court of Appeals for the District of Columbia recently issued its opinion affirming

          that a wholesale drug distributor does, in fact, have duties beyond reporting. Masters

          Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d 206 (D.C. Cir. 2017). The D.C. Circuit

          Court upheld the revocation of Master Pharmaceutical’s license and determined that

          DEA regulations require that in addition to reporting suspicious orders, distributors


94
   Id. at *8 (citations and quotation marks omitted).
95
   Id. at *14.
96
   Id. at *22.
97
   Id. at *24-25.
98
   Id. at *26.
99
   See Brief of HDMA, supra note 19, 2012 WL 1637016, at *3 (arguing the wholesale distributor industry “does not
know the rules of the road because” they claim (inaccurately) that the “DEA has not adequately explained them”).

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        must “decline to ship the order, or conduct some ‘due diligence’ and-if it is able to

        determine that the order is not likely to be diverted into illegal channels-ship the order.”

        Id. at 212. Master Pharmaceutical was in violation of legal requirements because it

        failed to conduct necessary investigations and filled suspicious orders. Id. at 218-19,

        226. A distributor’s investigation must dispel all the red flags giving rise to suspicious

        circumstance prior to shipping a suspicious order. Id. at 226. The Circuit Court also

        rejected the argument made by the HDMA and NACDS (quoted above), that, allegedly, the

        DEA had created or imposed new duties. Id. at 220.

  199. Wholesale Distributor McKesson has recently been forced to specifically admit to breach

        of its duties to monitor, report, and prevent suspicious orders. Pursuant to an

        Administrative Memorandum of Agreement (“2017 Agreement”) entered into between

        McKesson and the DEA in January 2017, McKesson admitted that, at various times during

        the period from January 1, 2009 through the effective date of the Agreement (January 17,

        2017) it “did not identify or report to [the] DEA certain orders placed by certain pharmacies

        which should have been detected by McKesson as suspicious based on the guidance

        contained in the DEA Letters.” 100 Further, the 2017 Agreement specifically finds that

        McKesson “distributed controlled substances to pharmacies even though those McKesson

        Distribution Centers should have known that the pharmacists practicing within those

        pharmacies had failed to fulfill their corresponding responsibility to ensure that controlled

        substances were dispensed pursuant to prescriptions issued for legitimate medical purposes

        by practitioners acting in the usual course of their professional practice, as required by 21



100
  See Administrative Memorandum of Agreement between the U.S. Dep’t of Justice, the Drug Enf’t Admin., and the
McKesson Corp. (Jan. 17, 2017), https://www.justice.gov/opa/press- release/file/928476/download.

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        C.F.R § 1306.04(a).” 101 McKesson admitted that, during this time period, it “failed to

        maintain effective controls against diversion of particular controlled substances into other

        than legitimate medical, scientific and industrial channels by sales to certain of its

        customers in violation of the CSA and the CSA’s implementing regulations, 21 C.F.R.

        Part 1300 et seq., at the McKesson Distribution Centers.”

  200. The 2017 Memorandum of Agreement followed a 2008 Settlement Agreement in which

        McKesson also admitted failure to report suspicious orders of controlled substances to the

        DEA. 102 In the 2008 Settlement Agreement, McKesson “recognized that it had a duty to

        monitor its sales of all controlled substances and report suspicious orders to DEA,” but had

        failed to do so. 103 The 2017 Memorandum of Agreement documents that McKesson

        continued to breach its admitted duties by “fail[ing] to properly monitor its sales of

        controlled substances and/or report suspicious orders to DEA, in accordance with

        McKesson’s obligations.” 104 As a result of these violations, McKesson was fined and

        required to pay to the United States $150,000,000. 105

  201. Even though McKesson had been sanctioned in 2008 for failure to comply with its legal

        obligations regarding controlling diversion and reporting suspicious orders, and even

        though McKesson had specifically agreed in 2008 that it would no longer violate those




101
    Id. at 4.
102
    Id. at 4.
103
    Id.
104
    Id.; see also Settlement Agreement and Release between the U.S. and McKesson Corp., at 5 (Jan. 17, 2017)
[hereinafter 2017 Settlement Agreement and Release] (“McKesson acknowledges that, at various times during the
Covered Time Period [2009-2017], it did not identify or report to DEA certain orders placed by certain pharmacies,
which should have been detected by McKesson as suspicious, in a manner fully consistent with the requirements set
forth in the 2008 MOA.”), https://www.justice.gov/opa/press-release/file/928471/download.
105
    See 2017 Settlement Agreement and Release, supra note 112, at 6.

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        obligations, McKesson continued to violate the laws in contrast to its written agreement

        not to do so.

  202. Because of the Distributor Defendants’ refusal to abide by their legal obligations, the DEA

        has repeatedly taken administrative action to attempt to force compliance. For example, in

        May 2014, the United States Department of Justice, Office of the Inspector General,

        Evaluation and Inspections Divisions, reported that the DEA issued final decisions in 178

        registrant actions between 2008 and 2012. 106 The Office of Administrative Law Judges

        issued a recommended decision in a total of 117 registrant actions before the DEA issued

        its final decision, including 76 actions involving orders to show cause and 41 actions

        involving immediate suspension orders. 107 These actions include the following:

            a. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
               Suspension Order against the AmerisourceBergen Orlando, Florida distribution
               center (“Orlando Facility”) alleging failure to maintain effective controls against
               diversion of controlled substances. On June 22, 2007, AmerisourceBergen entered
               into a settlement that resulted in the suspension of its DEA registration;

            b. On November 28, 2007, the DEA issued an Order to Show Cause and Immediate
               Suspension Order against the Cardinal Health Auburn, Washington Distribution
               Center (“Auburn Facility”) for failure to maintain effective controls against
               diversion of hydrocodone;

            c. On December 5, 2007, the DEA issued an Order to Show Cause and Immediate
               Suspension Order against the Cardinal Health Lakeland, Florida Distribution
               Center (“Lakeland Facility”) for failure to maintain effective controls against
               diversion of hydrocodone;

            d. On December 7, 2007, the DEA issued an Order to Show Cause and Immediate
               Suspension Order against the Cardinal Health Swedesboro, New Jersey
               Distribution Center (“Swedesboro Facility”) for failure to maintain effective
               controls against diversion of hydrocodone;



106
    Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
107
    Id.

                                                     80
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         e. On January 30, 2008, the DEA issued an Order to Show Cause and Immediate
            Suspension Order against the Cardinal Health Stafford, Texas Distribution Center
            (“Stafford Facility”) for failure to maintain effective controls against diversion of
            hydrocodone;

         f. On May 2, 2008, McKesson Corporation entered into an Administrative
            Memorandum of Agreement (“2008 MOA”) with the DEA which provided that
            McKesson would “maintain a compliance program designed to detect and prevent
            the diversion of controlled substances, inform DEA of suspicious orders required
            by 21 C.F.R. § 1301.74(b), and follow the procedures established by its Controlled
            Substance Monitoring Program”;

         g. On September 30, 2008, Cardinal Health entered into a Settlement and Release
            Agreement and Administrative Memorandum of Agreement with the DEA related
            to its Auburn Facility, Lakeland Facility, Swedesboro Facility and Stafford Facility.
            The document also referenced allegations by the DEA that Cardinal failed to
            maintain effective controls against the diversion of controlled substances at its
            distribution facilities located in McDonough, Georgia (“McDonough Facility”),
            Valencia, California (“Valencia Facility”) and Denver, Colorado (“Denver
            Facility”);

         h. On February 2, 2012, the DEA issued an Order to Show Cause and Immediate
            Suspension Order against the Cardinal Health Lakeland, Florida Distribution
            Center (“Lakeland Facility”) for failure to maintain effective controls against
            diversion of oxycodone;

         i. On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to the
            DEA to resolve the civil penalty portion of the administrative action taken against
            its Lakeland, Florida Distribution Center; and

         j. On January 5, 2017, McKesson Corporation entered into an Administrative
            Memorandum Agreement with the DEA wherein it agreed to pay a $150 million
            civil penalty for violation of the 2008 MOA as well as failure to identify and report
            suspicious orders at its facilities in Aurora CO, Aurora IL, Delran NJ, LaCrosse
            WI, Lakeland FL, Landover MD, La Vista NE, Livonia MI, Methuen MA, Sante
            Fe Springs CA, Washington Courthouse OH and West Sacramento CA.

203. Rather than abide by their non-delegable duties under public safety laws, the Distributor

     Defendants, individually and collectively through trade groups in the industry, pressured

     the U.S. Department of Justice to “halt” prosecutions and lobbied Congress to strip the

     DEA of its ability to immediately suspend distributor registrations. The result was a “sharp



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        drop in enforcement actions” and the passage of the “Ensuring Patient Access and Effective

        Drug Enforcement Act” which, ironically, raised the burden for the DEA to revoke a

        distributor’s license from “imminent harm” to “immediate harm” and provided the industry

        the right to “cure” any violations of law before a suspension order can be issued. 108

  204. In addition to taking actions to limit regulatory prosecutions and suspensions, the

        Distributor Defendants undertook to fraudulently convince the public that they were

        complying with their legal obligations, including those imposed by licensing regulations.

        Through such statements, the Distributor Defendants attempted to assure the public they

        were working to curb the opioid epidemic.

  205. For example, a Cardinal Health executive claimed that it uses “advanced analytics” to

        monitor its supply chain, and represented that it was being “as effective and efficient as

        possible in constantly monitoring, identifying, and eliminating any outside criminal

        activity.” 109 Given the sales volumes and the company’s history of violations, this

        executive was either not telling the truth, or, if Cardinal Health had such a system, it ignored

        the results.

  206. Similarly, Defendant McKesson publicly stated that it has a “best-in-class controlled

        substance monitoring program to help identify suspicious orders,” and claimed it is “deeply


108
    See Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid Epidemic
Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-
enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA      Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6,2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had No
Leadership” in W Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills.
109
    Lenny Bernstein et al., How Drugs Intended for Patients Ended Up in the Hands of Illegal Users: “No One Was
Doing Their Job,” Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/how-drugs-intended-
for-patients-ended-up-in-the-hands-of-illegal-users-no-one-was-doing-their-job/2016/10/22/10e79396-30a7-11e6-
8ff7- 7b6c1998b7a0_story.html.

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        passionate about curbing the opioid epidemic in our country.” 110 Again, given McKesson’s

        historical conduct, this statement is either false, or the company ignored outputs of the

        monitoring program.

  207. By misleading the public about the effectiveness of their controlled substance monitoring

        programs, the Distributor Defendants successfully concealed the facts sufficient to arouse

        suspicion of the claims that the Plaintiffs now assert.

  208. Meanwhile, the opioid epidemic rages unabated in the Commonwealth of Virginia,

        and in the United States as a whole.

  209. The epidemic still rages because the fines and suspensions imposed by the DEA do not

        change the conduct of the industry. The distributors, including the Distributor Defendants,

        pay fines as a cost of doing business in an industry that generates billions of dollars in

        annual revenue. They hold multiple DEA registration numbers and when one facility is

        suspended, they simply ship from another facility.

  210. The wrongful actions and omissions of the Distributor Defendants which have caused the

        diversion of opioids and which have been a substantial contributing factor to and/or

        proximate cause of the opioid crisis are alleged in greater detail in Plaintiffs’ racketeering

        allegations below.

  211. The Distributor Defendants have abandoned their duties imposed under federal law, taken

        advantage of a lack of DEA law enforcement, and abused the privilege of distributing

        controlled substances.




110
   Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency Tried to Curb Opioid
Abuse, Wash. Post, Dec. 22, 2016, https://www.washingtonpost.com/investigations/key-officials- switch-sides-from-
dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html.

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              X. THE MANUFACTURER DEFENDANTS’ UNLAWFUL
             FAILURE TO PREVENT DIVERSION, AND TO MONITOR,
                 REPORT, AND PREVENT SUSPICIOUS ORDERS

212. The same legal duties to prevent diversion, and to monitor, report, and prevent suspicious

     orders of prescription opioids that were incumbent upon the Distributor Defendants were

     also legally required of the Manufacturer Defendants under federal law.

213. Like the Distributor Defendants, the Manufacturer Defendants were required to register

     with the DEA to manufacture schedule II controlled substances, like prescription opioids.

     See 21 U.S.C. § 823(a). A requirement of such registration is the:

             Maintenance of effective controls against diversion of particular controlled
             substances and any controlled substance in schedule I or II compounded
             therefrom into other than legitimate medical, scientific, research, or
             industrial channels, by limiting the importation and bulk manufacture of
             such controlled substances to a number of establishments which can
             produce an adequate and uninterrupted supply of these substances under
             adequately competitive conditions for legitimate medical, scientific,
             research, and industrial purposes…

     21 USCA § 823(a)(1).

214. Additionally, as “registrants” under Section 823, the Manufacturer Defendants were also

     required to monitor, report, and prevent suspicious orders of controlled substances:

             The registrant shall design and operate a system to disclose to the registrant
             suspicious orders of controlled substances. The registrant shall inform the
             Field Division Office of the Administration in his area of suspicious orders
             when discovered by the registrant. Suspicious orders include orders of
             unusual size, orders deviating substantially from a normal pattern, and
             orders of unusual frequency.

     21 C.F.R. § 1301.74. See also 21 C.F.R. § 1301.02 (“Any term used in this part shall have
     the definition set forth in section 102 of the Act (21 U.S.C. 802) or part 1300 of this
     chapter.”); 21 C.F.R. § 1300.01 (“Registrant means any person who is registered pursuant
     to either section 303 or section 1008 of the Act [21 U.S.C. 823 or 958]”).

     Like the Distributor Defendants, the Manufacture Defendants breached these duties.



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  215. The Manufacturer Defendants had access to and possession of the information necessary

        to monitor, report, and prevent suspicious orders and to prevent diversion. The

        Manufacturer Defendants engaged in the practice of paying “chargebacks” to opioid

        distributors. A chargeback is a payment made by a manufacturer to a distributor after the

        distributor sells the manufacturer’s product at a price below a specified rate. After a

        distributor sells a manufacturer’s product to a pharmacy, for example, the distributor

        requests a chargeback from the manufacturer and, in exchange for the payment, the

        distributor identifies to the manufacturer the product, volume and the pharmacy to which

        it sold the product. Thus, the Manufacturer Defendants knew - just as the Distributor

        Defendants knew - the volume, frequency, and pattern of opioid orders being placed and

        filled. The Manufacturer Defendants built receipt of this information into the payment

        structure for the opioids provided to the opioid distributors.

  216. Federal statutes and regulations are clear: just like opioid distributors, opioid manufacturers

        are required to “design and operate a system to disclose… suspicious orders of controlled

        substances” and to maintain “effective controls against diversion.” 21 C.F.R. § 1301.74; 21

        USCA § 823(a)(1).

  217. The Department of Justice has recently confirmed the suspicious order obligations clearly

        imposed by federal law upon opioid manufacturers, fining Mallinckrodt $35 million for

        failure to report suspicious orders of controlled substances, including opioids, and for

        violating recordkeeping requirements. 111



111
   See Press Release, U.S. Dep’t of Justice, Mallinckrodt Agrees to Pay Record $35 Million Settlement for Failure to
Report Suspicious Orders of Pharmaceutical Drugs and for Recordkeeping Violations (July 11, 2017),
https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-million-settlement-failure-report-suspicious-
orders.

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  218. In the press release accompanying the settlement, the Department of Justice stated:

       Mallinckrodt did not meet its obligations to detect and notify DEA of suspicious orders of

       controlled substances such as oxycodone, the abuse of which is part of the current opioid

       epidemic. These suspicious order monitoring requirements exist to prevent excessive sales

       of controlled substances, like oxycodone… Mallinckrodt’s actions and omissions formed

       a link in the chain of supply that resulted in millions of oxycodone pills being sold on the

       street…” Manufacturers and distributors have a crucial responsibility to ensure that

       controlled substances do not get into the wrong hands. . .” 112

  219. Among the allegations resolved by the settlement, the government alleged “Mallinckrodt

       failed to design and implement an effective system to detect and report ‘suspicious orders’

       for controlled substances - orders that are unusual in their frequency, size, or other

       patterns… [and] Mallinckrodt supplied distributors, and the distributors then supplied

       various U.S. pharmacies and pain clinics, an increasingly excessive quantity of oxycodone

       pills without notifying DEA of these suspicious orders.” 113

  220. The Memorandum of Agreement entered into by Mallinckrodt (“2017 Mallinckrodt

       MOA”) avers “[a]s a registrant under the CSA, Mallinckrodt had a responsibility to

       maintain effective controls against diversion, including a requirement that it review and

       monitor these sales and report suspicious orders to DEA.” 114

  221. The 2017 Mallinckrodt MOA further details the DEA’s allegations regarding

       Mallinckrodt’s failures to fulfill its legal duties as an opioid manufacturer:


112
    Id.
113
    Id.
114
     Administrative Memorandum of Agreement between the United States Department of Justice, the Drug
Enforcement Agency, and Mallinckrodt, plc. and its subsidiary Mallinckrodt, LLC (July 10, 2017),
https://www.justice.gov/usao-edmi/press-release/file/986026/download. (“2017 Mallinckrodt MOA”).

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                   With respect to its distribution of oxycodone and hydrocodone products,
                   Mallinckrodt’s alleged failure to distribute these controlled substances in a
                   manner authorized by its registration and Mallinckrodt’s alleged failure to
                   operate an effective suspicious order monitoring system and to report
                   suspicious orders to the DEA when discovered as required by and in
                   violation of 21 C.F.R. § 1301.74(b). The above includes, but is not limited
                   to Mallinckrodt’s alleged failure to:

                   i. conduct adequate due diligence of its customers;

                   ii. detect and report to the DEA orders of unusual size and frequency;

                   iii. detect and report to the DEA orders deviating substantially from normal
                   patterns including, but not limited to, those identified in letters from the
                   DEA Deputy Assistant Administrator, Office of Diversion Control, to
                   registrants dated September 27, 2006 and December 27, 2007:

                            1. orders that resulted in a disproportionate amount of a substance
                            which is most often abused going to a particular geographic region
                            where there was known diversion,

                            2. orders that purchased a disproportionate amount of substance
                            which is most often abused compared to other products, and

                            3. orders from downstream customers to distributors who were
                            purchasing from multiple different distributors, of which
                            Mallickrodt was aware;

                   iv. use “chargeback” information from its distributors to evaluate suspicious
                   orders. Chargebacks include downstream purchasing information tied to
                   certain discounts, providing Mallinckrodt with data on buying patterns for
                   Mallinckrodt products; and

                   v. take sufficient action to prevent recurrence of diversion by downstream
                   customers after receiving concrete information of diversion of Mallinckrodt
                   product by those downstream customers. 115

  222. Mallinckrodt agreed that its “system to monitor and detect suspicious orders did not meet

           the standards outlined in letters from the DEA Deputy Administrator, Office of Diversion

           Control, to registrants dated September 27, 2006 and December 27, 2007.” Mallinckrodt



115
      2017 Mallinckrodt MOA at p. 2-3.

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            further agreed that it “recognizes the importance of the prevention of diversion of the

            controlled substances they manufacture” and would “design and operate a system that meets

            the requirements of 21 CFR 1301.74(b)… [such that it would] utilize all available

            transaction information to identify suspicious orders of any Mallinckrodt product. Further,

            Mallinckrodt agrees to notify DEA of any diversion and/or suspicious circumstances

            involving any Mallinckrodt controlled substances that Mallinckrodt discovers.” 116

  223. Mallinckrodt acknowledged that “[a]s part of their business model Mallinckrodt collects

            transaction information, referred to as chargeback data, from their direct customers

            (distributors). The transaction information contains data relating to the direct customer

            sales of controlled substances to “downstream” registrants.” Mallinckrodt agreed that, from

            this data, it would “report to the DEA when Mallinckrodt concludes that the chargeback

            data or other information indicates that a downstream registrant poses a risk of

            diversion.” 117

  224. The same duties imposed by federal law on Mallinckrodt were imposed upon all Distributor

            Defendants.

  225. The same business practices utilized by Mallinckrodt regarding “charge backs” and receipt

            and review of data from opioid distributors regarding orders of opioids were utilized

            industry-wide among opioid manufacturers and distributors, including, upon information

            and belief, the other Distributor Defendants.

  226. Through, inter alia, the charge back data, the Manufacturer Defendants could monitor

            suspicious orders of opioids.



116
      Id. at 3-4.
117
      Id. at p.5.

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227. The Manufacturer Defendants failed to monitor, report, and halt suspicious orders of opioids

     as required by federal law.

228. The Manufacturer Defendants’ failures to monitor, report, and halt suspicious orders of

     opioids were intentional and unlawful.

229. The Manufacturer Defendants have misrepresented their compliance with federal law.

230. The wrongful actions and omissions of the Manufacturer Defendants which have caused

     the diversion of opioids and which have been a substantial contributing factor to and/or

     proximate cause of the opioid crisis are alleged in greater detail in Plaintiffs’ racketeering

     allegations below.

231. The Manufacturer Defendants’ actions and omissions in failing to effective prevent

     diversion and failing to monitor, report, and prevent suspicious orders have enabled the

     unlawful diversion of opioids throughout the United States.

  XI.    DEFENDANTS’ UNLAWFUL CONDUCT, VIOLATION OF STATE AND
         FEDERAL STATUTES AND REGULATIONS, AND BREACH OF LEGAL
          DUTIES, CAUSED THE HARM ALLEGED HEREIN, RESULTING IN
                 SUBSTANTIAL DAMAGES TO PLAINTIFFS

232. As the Manufacturer Defendants’ efforts to expand the market for opioids increased so

     have the rates of prescription and sale of their products - and the rates of opioid-related

     substance abuse, hospitalization, and death among the people of the United States. The

     Distributor Defendants have continued to unlawfully ship these massive quantities of

     opioids.




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  233. There is a “parallel relationship between the availability of prescription opioid analgesics

        through legitimate pharmacy channels and the diversion and abuse of these drugs and

        associated adverse outcomes.” 118

  234. Opioid analgesics are widely diverted and improperly used, and the widespread use of the

        drugs has resulted in a national epidemic of opioid overdose deaths, dependencies, and

        addictions. 119

  235. The epidemic is “directly related to the increasingly widespread misuse of powerful opioid

        pain medications.” 120

  236. The increased abuse of prescription painkillers along with growing sales has contributed

        to a large number of overdoses and deaths. 121

  237. As shown above, the opioid epidemic has escalated with devastating effects: substantial

        opioid-related substance abuse, hospitalization and death that mirrors Defendants’

        increased distribution of opioids.

  238. Because of the well-established relationship between the use of prescription opioids and

        the use of non-prescription opioids, like heroin, the massive distribution of opioids by

        Defendants has caused the Defendant-caused opioid epidemic to include heroin addiction,

        abuse, and death.

  239. Defendants repeatedly and purposefully breached their duties under federal law, and such

        breaches are direct and proximate causes of, and/or substantial factors leading to, the

        widespread diversion of prescription opioids for nonmedical purposes.


118
    See Dart at al., supra note 11.
119
    See Volkow & McLellan, supra note 1.
120
    See Califf et al., supra note 3.
121
    See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs.,
supra note 13.

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240. The unlawful diversion of prescription opioids is a direct and proximate cause of, and/or

     substantial factor leading to, the opioid epidemic, prescription opioid abuse, dependency,

     addiction, morbidity and mortality in the United States. This diversion and the epidemic

     are direct causes of foreseeable harms to the Plaintiffs.

241. Defendants’ unlawful conduct resulted in direct and foreseeable, past and continuing,

     economic damages for which Plaintiffs seek relief, as alleged herein.

            XII.    FACTS PERTAINING TO THE NAMED PLAINTIFFS

242. Plaintiffs have treated and continue to treat numerous patients for opioid-related conditions

     and complications, including but not limited to: (1) opioid overdose; (2) opioid

     detoxification; (3) opioid addiction, disease, and/or dependency; (4) medical conditions

     complications caused by opioid use; (5) treatment for children born with opioid

     addictions—which consists of intensive, complex, and lengthy treatment—because their

     mothers were opioid addicts; (6) treatment for children whose medical conditions and

     complications may be caused or exacerbated by the use of opioids by other individuals;

     and (7) psychiatric and/or related behavioral health treatment for opioid users who

     participate in behavioral health treatment programs, for which treatment is intensive,

     complex, and lengthy.

243. Additionally, opioid users present themselves to Plaintiffs claiming to have illnesses and

     medical problems, which are actually pretexts for obtaining opioids to satisfy cravings,

     prevent withdrawal symptoms, and/or for recreational use. Plaintiffs incur operational

     costs, consisting of expending resources and incurring expenses in diagnosing, testing, and

     otherwise dealing with individuals seeking opioids without a valid or legitimate

     prescription, before their true status can be determined and they can be rejected as patients.


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244. Hospitals also incur operational costs in the form of surgical procedures and medical

     treatment that is more complex and expensive than would otherwise be the case if patients

     were not suffering opioid conditions which complicates surgical procedures and requires

     additional measures and treatments. Because opioid users often present to Plaintiffs in an

     emergency medical condition, they require intensive treatment services to stabilize medical

     conditions caused or exacerbated by opioid use or misuse.

245. Collectively, the patients described above will be referred to herein as “patients with opioid

     conditions.”

246. These patients’ opioid conditions are the direct and proximate results of the opioid

     epidemic created and engineered by Defendants.

247. Plaintiffs also incur operational costs related to treating patients, including children, whose

     medical conditions and complications may be caused by or exacerbated by others’ use of

     opioids.

248. Plaintiffs incur operational costs in the form of providing additional treatments and

     services, including but not necessarily limited to, therapeutic and prescription drug

     purchases for patients with opioid conditions who have other medical conditions that must

     be treated.

249. Plaintiffs incur operational costs related to the provision of laboratory and other diagnostic

     testing for the treatment and/or management of patients with opioid conditions, including

     those undergoing therapeutic interventions to address opioid use or misuse.

250. Plaintiffs incur operational costs relating to treatment with life support-related healthcare

     services to prevent death in certain instances of opioid overdose, including but not limited

     to treatment for babies born with addictions and dependencies.


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251. Due to the high prevalence of individuals suffering from opioid-related addiction, disease,

     or dependency and needing medical care, Plaintiffs incur increased operational costs

     related to providing the necessary screening procedures for the acceptance of patients,

     monitoring patients, monitoring and credentialing healthcare providers, providing

     additional security to address public safety concerns, (particularly in the emergency

     department), storing and safeguarding controlled substances, adding regulatory

     compliance, increasing litigation defense costs, procuring and maintaining insurance,

     diverting assets and employees from the provision of other needed healthcare, and

     increasing human resource costs.

252. Plaintiffs incur lost revenue and lost opportunity costs attributable to the required discharge

     of patients who are diverting and/or using opioids in a manner that does not comply with

     prescribed use.

253. Plaintiffs incur operational costs related to researching non-opioid treatment alternatives

     and training staff accordingly.

254. Plaintiffs each have a price list, which sets the prices for a comprehensive listing of items

     billable to patients or the patients’ health insurance provider for services received.

255. These price lists generally include the full charges for the health services rendered. The full

     charges are only partially reimbursed by private health insurers, Medicare, Medicaid and

     other payors. Plaintiffs have provider agreements with private health insurers whereby they

     accept payment from the health insurers at a discounted rate on behalf of insured patients

     and often do not cover the cost of providing care to patients. The difference between the

     full charges and the discounted rate is lost to the hospitals. Medicare and Medicaid establish




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     set rates for services that are less than the hospitals’ full charges and costs, and the

     difference between the set rates and the full charges is lost to the hospitals.

256. Plaintiffs bill their charges to uninsured patients. Typically, where there is no health

     insurance, Medicare, or Medicaid coverage, these charges are not reimbursed and are lost

     to hospitals. Plaintiffs also provide financial assistance to patients, and receive only a

     portion of the charges and/or costs associated with providing services to these patients.

257. Plaintiffs incur partial monetary losses for patients with health insurance, and total

     monetary losses for uninsured patients, for the treatment of patients with opioid conditions.

     These patients would not have presented to Plaintiffs and would not have had opioid

     conditions, but for the opioid epidemic created and engineered by Defendants.

     Accordingly, Plaintiffs’ aforesaid monetary losses are the direct and proximate result of

     Defendants’ acts and omissions previously specified herein.

258. Because opioids are very dangerous and highly addictive drugs, it was foreseeable to

     Defendants that the opioid epidemic would result in a corresponding epidemic of patients

     with opioid conditions presenting for treatment at hospitals, hospital outpatient clinics,

     and/or other hospital facilities. It was also foreseeable to Defendants that Plaintiffs would

     suffer the aforesaid monetary losses because of the opioid epidemic, since hospitals

     typically are not reimbursed for their treatment of uninsured patients, receive only partial

     reimbursement for their treatment of patients with health insurance, and provide services

     that cost more than the corresponding payment rates set by Medicare, Medicaid, and other

     third-party payors.




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                             XIII.     CAUSES OF ACTION

COUNT I – RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT 18
                U.S.C. 1961, et seq. (Against All Defendants)

259. Plaintiffs reallege and incorporate by reference all preceding paragraphs.

260. Plaintiffs bring this Count against each of the Defendants, as described above.

261. The Defendants conducted and continue to conduct their business through legitimate and

     illegitimate means in the form of an association-in-fact enterprise and/or a legal entity

     enterprise. At all relevant times, the Defendants were “persons” under 18 U.S.C. § 1961(3)

     because they are entities capable of holding, and do hold, “a legal or beneficial interest in

     property.”

262. Section 1962(c) of RICO makes it unlawful “for any person employed by or associated

     with any enterprise engaged in, or the activities of which affect, interstate or foreign

     commerce, to conduct or participate, directly or indirectly, in the conduct of such

     enterprise’s affairs through a pattern of racketeering activity or collection of unlawful

     debt.” 18 U.S.C. § 1962(c); United State v. Turkette, 452 U.S. 576, 580 (1981).

263. The term “enterprise” is defined as including “any individual, partnership, corporation,

     association, or other legal entity, and any union or group of individuals associated in fact

     although not a legal entity.” 18 U.S.C. § 1961(4); Turkette, 452 U.S. at 580; Boyle v. U.S.,

     556 U.S. 938, 944 (2009). The definition of “enterprise” in Section 1961(4) includes

     legitimate and illegitimate enterprises within its scope. Specifically, the section “describes

     two separate categories of associations that come within the purview of an ‘enterprise’ --

     the first encompassing organizations such as corporations, partnerships, and other ‘legal

     entities,’ and the second covering ‘any union or group of individuals associated in fact



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         although not a legal entity.’” Turkette, 452 U.S. at 577. The second category is not a more

         generalized description of the first. Id.

  264. For over a decade, the Defendants aggressively sought to bolster their revenue, increase

         profit, and grow their share of the prescription painkiller market by unlawfully and

         surreptitiously increasing the volume of opioids they sold. However, the Defendants are

         not permitted to engage in a limitless expansion of their market through the unlawful sales

         of regulated painkillers. As “registrants,” the Defendants operated and continue to operate

         within the “closed-system” created under the Controlled Substances Act, 21 U.S.C. § 821,

         et seq. (the “CSA”). The CSA restricts the Defendants’ ability to manufacture or distribute

         Schedule II substances like opioids by requiring them to: (1) register to manufacture or

         distribute opioids; (2) maintain effective controls against diversion of the controlled

         substances that they manufacturer or distribute; (3) design and operate a system to identify

         suspicious orders of controlled substances, halt such unlawful sales, and report them to the

         DEA; and (4) make sales within a limited quota set by the DEA for the overall production

         of Schedule II substances like opioids.

  265. The closed-system created by the CSA, including the establishment of quotas, was

         specifically intended to reduce or eliminate the diversion of Schedule II substances like

         opioids from “legitimate channels of trade” to the illicit market by controlling the quantities

         of the basic ingredients needed for the manufacture of [controlled substances].” 122

  266. Finding it impossible to legally achieve their ever increasing sales ambitions, members of

         the Opioid Diversion Enterprise (as defined below) systematically and fraudulently


122
   1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on International
Narcotics Control, United States Senate, May 5, 2015
(available at https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).

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           violated their statutory duty to maintain effective controls against diversion of their drugs,

           to design and operate a system to identify suspicious orders of their drugs, to halt unlawful

           sales of suspicious orders, and to notify the DEA of suspicious orders. 123 As discussed in

           detail below, through the Defendants’ scheme, members of the Opioid Diversion Enterprise

           repeatedly engaged in unlawful sales of painkillers which, in turn, artificially and

           illegally increased the annual production quotas for opioids allowed by the DEA. 124 In

           doing so, Defendants allowed hundreds of millions of pills to enter the illicit market which

           allowed them to generate obscene profits.

  267. Defendants’ illegal scheme was hatched by an association-in-fact enterprise between the

           Manufacturer Defendants and the Distributor Defendants, and executed in perfect harmony

           by each of them. In particular, each of the Defendants were associated with, and conducted

           or participated in, the affairs of the RICO enterprise (defined below and referred to

           collectively as the “Opioid Diversion Enterprise”), whose purpose was to engage in the

           unlawful sales of opioids, and deceive the public and federal and state regulators into

           believing that the Defendants were faithfully fulfilling their statutory obligations. The

           Defendants’ scheme allowed them to make billions in unlawful sales of opioids and, in

           turn, increase and/or maintain high production quotas with the purpose of ensuring

           unlawfully increasing revenues, profits, and market share. As a direct result of the

           Defendants’ fraudulent scheme, course of conduct, and pattern of racketeering activity,

           they were able to extract billions of dollars of revenue from the addicted and dependent

           American public, while entities like the Plaintiffs experienced billions of dollars of injury



123
      21 U.S.C. § 823(a)(1), (b)(1); 21 C.F.R. § 1301.74(b)-(c).
124
      21 C.F.R. § 1303.11(b); 21 C.F.R. § 1303.23.

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         caused by the reasonably foreseeable consequences of the prescription opioid addiction

         and dependency epidemic. As explained in detail below, the Defendants’ misconduct

         violated Section 1962(c) and Plaintiffs are entitled to treble damages for their injuries under

         18 U.S.C. § 1964(c).

  268. Alternatively, the Defendants were members of a legal entity enterprise within the meaning

         of 18 U.S.C. § 1961(4), through which the Defendants conducted their pattern of

         racketeering activity in this jurisdiction and throughout the United States. Specifically, the

         Healthcare Distribution Alliance (the “HDA”) 125 is a distinct legal entity that satisfies the

         definition of a RICO enterprise. The HDA is a non-profit corporation formed under the

         laws of the District of Columbia and doing business in Virginia. As a non-profit

         corporation, HDA qualifies as an “enterprise” within the definition set out in 18 U.S.C. §

         1961(4) because it is a corporation and a legal entity.

  269. On information and belief, each of the Defendants is a member, participant, and/or sponsor

         of the HDA and utilized the HDA to conduct the Opioid Diversion Enterprise and to engage

         in the pattern of racketeering activity that gives rise to the Count.

  270. Each of the Defendants is a legal entity separate and distinct from the HDA. And, the HDA

         serves the interests of distributors and manufacturers beyond the Defendants. Therefore,

         the HDA exists separately from the Opioid Diversion Enterprise, and each of the

         Defendants exists separately from the HDA. Therefore, the HDA may serve as a RICO

         enterprise.




125
    Health Distribution Alliance, History, Health Distribution Alliance, (last accessed on September 15, 2017),
https://www.healthcaredistribution.org/about/hda-history.

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  271. The legal and association-in-fact enterprises alleged in the previous and subsequent

         paragraphs were each used by the Defendants to conduct the Opioid Diversion Enterprise

         by engaging in a pattern of racketeering activity. Therefore, the legal and association- in-

         fact enterprises alleged in the previous and subsequent paragraphs are pleaded in the

         alternative and are collectively referred to as the “Opioid Diversion Enterprise.”

             a. The Opioid Diversion Enterprise

  272. Recognizing that there is a need for greater scrutiny over controlled substances due to their

         potential for abuse and danger to public health and safety, the United States Congress

         enacted the Controlled Substances Act in 1970. 126 The CSA and its implementing

         regulations created a closed-system of distribution for all controlled substances and listed

         chemicals. 127 Congress specifically designed the closed chain of distribution to prevent the

         diversion of legally produced controlled substances into the illicit market. 128 As reflected

         in comments from United States Senators during deliberation on the CSA, the “[CSA] is

         designed to crack down hard on the narcotics pusher and the illegal diverters of pep pills

         and goof balls.” 129 Congress was concerned with the diversion of drugs out of legitimate

         channels of distribution when it enacted the CSA and acted to halt the “widespread

         diversion of [controlled substances] out of legitimate channels into the illegal market.”130

         Moreover, the closed-system was specifically designed to ensure that there are multiple



126
    Joseph T. Rannazzisi Decl., r 4, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No. 12-
cv-185 (Document 14-2 February 10, 2012).
127
    See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566.
128
    Gonzalez v. Raich, 545 U.S. 1, 12-14 (2005); 21 U.S.C. § 801(20; 21 U.S.C. §§ 821-824, 827, 880; H.R. Rep. No.
91-1444, 1970 U.S.C.C.A.N. 4566, 4572 (Sept. 10, 1970).
129
    See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566; 116 Cong. Rec. 977-78 (Comments of Sen. Dodd, Jan
23, 1970).
130
    See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United State Senate,
May 5, 2015 (available at https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).

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         ways of identifying and preventing diversion through active participation by registrants

         within the drug delivery chain. 131 All registrants -- manufacturers and distributors alike --

         must adhere to the specific security, recordkeeping, monitoring and reporting requirements

         that are designed to identify or prevent diversion. 132 When registrants at any level fail to

         fulfill their obligations, the necessary checks and balances collapse. 133 The result is the

         scourge of addiction and dependency that has occurred.

  273. In 2006 and 2007, the DEA issued multiple letters to the Distributor Defendants reminding

         them of their obligation to maintain effective controls against diversion of particular

         controlled substances, design and operate a system to disclose suspicious orders, and to

         inform the DEA of any suspicious orders. 134 The DEA also published suggested questions

         that a distributor should ask prior to shipping controlled substances, in order to “know their

         customers.” 135

  274. Central to the closed-system created by the CSA was the directive that the DEA determine

         quotas of each basic class of Schedule I and II controlled substances each year. The quota

         system was intended to reduce or eliminate diversion from “legitimate channels of trade”

         by controlling the “quantities of the basic ingredients needed for the manufacture of

         [controlled substances], and the requirement of order forms for all transfers of these




131
    See Statement of Joseph T. Rannazzisi before the Caucus on International Narcotics Control United States Senate,
July 18, 2012 (available at https://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/07/18/12/07-
18-12-dea- rannazzisi.pdf).
132
    Id.
133
    Joseph T. Rannazzisi Decl. ,r 10, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No. 12-
cv-185 (Document 14-2 February 10, 2012).
134
    Joseph T. Rannazzisi, In Reference to Registration # RC0183080 (September 27, 2006); Joseph T. Rannazzisi, In
Reference to Registration # RC0183080 (December 27, 2007).
135
     Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug Enforcement
Administration (available                                                                                           at
https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf).

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         drugs.” 136 When evaluating production quotas, the DEA was instructed to consider the

         following information:

             a. Information provided by the Department of Health and Human Services;

             b. Total net disposal of the basic class by all manufacturers;

             c. Trends in the national rate of disposal of the basic class;

             d. An applicant’s production cycle and current inventory position;

             e. Total actual or estimated inventories of the class and of all substances manufactured
                from the class and trends in inventory accumulation; and

             f. Other factors such as: changes in the currently accepted medical use of substances
                manufactured for a basic class; the economic and physical availability of raw
                materials; yield and sustainability issues; potential disruptions to production; and
                unforeseen emergencies. 137

  275. It is unlawful for a registrant to manufacture a controlled substance in Schedule II, like

         prescription opioids, that is (1) not expressly authorized by its registration and by a quota

         assigned to it by DEA, or (2) in excess of a quota assigned to it by the DEA. 138

  276. At all relevant times, the Defendants operated as an association-in- fact enterprise formed

         for the purpose of unlawfully increasing sales, revenues and profits by disregarding their

         statutory duty to identify, investigate, halt and report suspicious orders of opioids and

         diversion of their drugs into the illicit market, in order to unlawfully increase the quotas

         set by the DEA and allow them to collectively benefit from the unlawful formation of a

         greater pool of prescription opioids from which to profit. The Defendants conducted their


136
    1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on International
Narcotics Control, United States Senate, May 5, 2015
(available at https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
137
    See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United State Senate,
May 5, 2015
(available at https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf). Id. (citing 21
U.S.C. 842(b)).
138
    Id. (citing 21 U.S.C. 842(b)).

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         pattern of racketeering activity in this jurisdiction and throughout the United States through

         this enterprise.

  277. The opioid epidemic has its origins in the mid-1990s, during which per capita purchases of

         methadone, hydrocodone, and oxycodone increased 13-fold, 4-fold, and 9-fold,

         respectively, between 1997 and 2007. By 2010, enough prescription opioids were sold in

         the United States to medicate every adult in the county with a dose of 5 milligrams of

         hydrocodone every 4 hours for 1 month. 139 On information and belief, the Opioid Diversion

         Enterprise has been ongoing for at least the last decade. 140

  278. The Opioid Diversion Enterprise was and is a shockingly successful endeavor. It Opioid

         Diversion Enterprise has been conducting business uninterrupted since its genesis. But, it

         was not until recently that United States and State regulators finally began to unravel the

         extent of the enterprise and the toll that it exacted on the American public.

  279. At all relevant times, the Opioid Diversion Enterprise: (a) had an existence separate and

         distinct from each Defendant; (b) was separate and distinct from the pattern of racketeering

         in which the Defendants engaged; (c) was an ongoing and continuing organization

         consisting of legal entities, including each of the Defendants; (d) characterized by

         interpersonal relationships among the Defendants; (e) had sufficient longevity for the

         enterprise to pursue its purpose; and (f) functioned as a continuing unit. Turkette, 452 U.S.

         at 580; Boyle, 556 U.S. at 944 (2009). Each member of the Opioid Diversion Enterprise

         participated in the conduct of the enterprise, including patterns of racketeering activity, and


139
    Keyes KM, Cerda M, Brady JE, Havens JR, Galea S. Understanding the rural-urban differences in nonmedical
prescription opioid use and abuse in the United States. Am J Public Health. 2014;104(2): e52- 9.
140
    Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public Integrity
(September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-
chamber-shaped-policy-amid- drug-epidemic.

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         shared in the astounding growth of profits supplied by fraudulently inflating opioid sales

         generated as a result of the Opioid Diversion Enterprise’s disregard for their duty to prevent

         diversion of their drugs into the illicit market and then requesting the DEA increase

         production quotas, all so that the Defendants would have a larger pool of prescription

         opioids from which to profit.

  280. The Opioid Diversion Enterprise also engaged in efforts to lobby against the DEA’s

         authority to hold the Defendants liable for disregarding their duty to prevent diversion.

         Members of the Pain Care Forum (described in greater detail below) and the Healthcare

         Distribution Alliance lobbied for the passage of legislation to weaken the DEA’s

         enforcement authority. The Ensuring Patient Access and Effective Drug Enforcement Act

         significantly reduced the DEA’s ability to issue orders to show cause and to suspend and/or

         revoke registrations 141 The HDA and other members of the Pain Care Forum contributed

         substantial amounts of money to political campaigns for federal candidates, state

         candidates, political action committees and political parties. Plaintiffs are informed and

         believe that the Pain Care Forum and their members poured at least $3.5 million into

         lobbying efforts in this jurisdiction while the HDA devoted over a million dollars a year to

         its lobbying efforts between 2011 and 2016.



141
    See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated July
6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now- healthcare-distribution- alliance/;
Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid Epidemic Grew
Out of Control, Wash. Post, Oct. 22, 2016,
https://www.washingtonpost.com/investigations/the-dea- slowed-enforcement-while-the-opioid-epidemic- grew-out-
of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13- d7c704ef9fd9_story.html;
Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of DEA, Enforcement Slowdown
Amid Opioid Crisis, Wash. Post, Mar. 6, 2017, https://www.washingtonpost.com/investigations/us-senator-calls-for-
investigation-of-dea-enforcement- slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric
Eyre, DEA Agent: “We Had no Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18,
2017, http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of- pain-
pills-.

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281. The Opioid Diversion Enterprise functioned by selling prescription opioids. While there

     are some legitimate uses and/or needs for prescription opioids, the Defendants, through

     their illegal enterprise, engaged in a pattern of racketeering activity, that involves a

     fraudulent scheme to increase revenue by violating State and Federal laws requiring the

     maintenance of effective controls against diversion of prescription opioids, and the

     identification, investigation, and reporting of suspicious orders of prescription opioids

     destined for the illicit drug market. The goal of Defendants’ scheme was to increase profits

     from opioid sales. But, Defendants’ profits were limited by the production quotas set by

     the DEA, so the Defendants refused to identify, investigate and/or report suspicious orders

     of their prescription opioids being diverted into the illicit drug market. The end result of

     this strategy was to increase and maintain artificially high production quotas of opioids so

     that there was a larger pool of opioids for Defendants to manufacture and distribute for

     public consumption.

282. The Opioid Diversion Enterprise engaged in, and its activities affected, interstate and

     foreign commerce because the enterprise involved commercial activities across states lines,

     such as manufacture, sale, distribution, and shipment of prescription opioids throughout

     the County and this jurisdiction, and the corresponding payment and/or receipt of money

     from the sale of the same.

283. Within the Opioid Diversion Enterprise, there were interpersonal relationships and

     common communication by which the Defendants shared information on a regular basis.

     These interpersonal relationships also formed the organization of the Opioid Diversion

     Enterprise. The Opioid Diversion Enterprise used their interpersonal relationships and




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         communication network for the purpose of conducting the enterprise through a pattern of

         racketeering activity.

  284. Each of the Defendants had a systematic link to each other through joint participation in

         lobbying groups, trade industry organizations, contractual relationships and continuing

         coordination of activities. The Defendants participated in the operation and management

         of the Opioid Diversion Enterprise by directing its affairs, as described herein. While the

         Defendants participated in, and are members of, the enterprise, they each have a separate

         existence from the enterprise, including distinct legal statuses, different offices and roles,

         bank accounts, officers, directors, employees, individual personhood, reporting,

         requirements, and financial statements.

  285. The Defendants exerted substantial control over the Opioid Diversion Enterprise by their

         membership in the Pain Care Forum, the HDA, and through their contractual relationships.

  286. The Pain Care Forum (“PCF”) has been described as a coalition of drug makers, trade

         groups and dozens of non-profit organizations supported by industry funding. The PCF

         recently became a national news story when it was discovered that lobbyists for members of

         the PCF quietly shaped federal and state policies regarding the use of prescription opioids

         for more than a decade.

  287. The Center for Public Integrity and The Associated Press obtained “internal documents

         shed[ding] new light on how drug makers and their allies shaped the national response to

         the ongoing wave of prescription opioid abuse.” 142 Specifically, PCF members spent




142
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public Integrity
(September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro- painkiller-echo- chamber-
shaped-policy-amid-drug-epidemic (emphasis added).

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         over $740 million lobbying in the nation’s capital and in all 50 statehouses on an array of

         issues, including opioid-related measures. 143

  288. Not surprisingly, each of the Defendants who stood to profit from lobbying in favor of

         prescription opioid use is a member of and/or participant in the PCF. 144 In 2012,

         membership and participating organizations included the HDA (of which all Defendants

         are members), Endo, Purdue, Johnson & Johnson (the parent company for Janssen

         Pharmaceuticals), Actavis (i.e., Allergan), and Teva (the parent company of Cephalon). 145

         Each of the Manufacturer Defendants worked together through the PCF to advance the

         interests of the enterprise. But, the Manufacturer Defendants were not alone. The

         Distributor Defendants actively participated, and continue to participate in the PCF, at a

         minimum, through their trade organization, the HDA. 146 Plaintiffs are informed and believe

         that the Distributor Defendants participated directly in the PCF as well.

  289. The 2012 Meeting Schedule for the Pain Care Forum is particularly revealing on the subject

         of the Defendants’ interpersonal relationships. The meeting schedule indicates that

         meetings were held at a central location in Washington D.C., on a monthly basis, unless

         otherwise noted. Local members were “encouraged to attend in person” at the monthly

         meetings. And, the meeting schedule indicates that the quarterly and year-end meetings

         included a “Guest Speaker.”



143
    Id.
144
    PAIN CARE FORUM 2012 Meetings Schedule, (last updated December 2011),
https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-Meetings-Schedule- amp.pdf
145
    Id. Plaintiff is informed and believes that Mallinckrodt became an active member of the PCF sometime after 2012.
146
    Id. The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief Executive Officer,
Pharmaceutical Segment for Cardinal Health, Inc., the Group President, Pharmaceutical Distribution and Strategic
Global Source for AmerisourceBergen Corporation, and the President, U.S. Pharmaceutical for McKesson
Corporation. Executive Committee, Healthcare Distribution Alliance (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/executive-committee.

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  290. The 2012 Pain Care Forum Meeting Schedule demonstrates that each of the Defendants

         participated in meetings on a monthly basis, either directly or through their trade

         organization, in a coalition of drug makers and their allies whose sole purpose was to shape

         the national response to the ongoing prescription opioid epidemic, including the concerted

         lobbying efforts that the PCF undertook on behalf of its members.

  291. Second, the HDA -- or Healthcare Distribution Alliance -- led to the formation of

         interpersonal relationships and an organization between the Defendants. Although the

         entire HDA membership directory is private, the HDA website confirms that each of the

         Distributor Defendants and the Manufacturer Defendants named in the Complaint,

         including Actavis (i.e., Allergan), Endo, Purdue, Mallinckrodt and Cephalon were

         members of the HDA. 147 And, the HDA and each of the Distributor Defendants, eagerly

         sought the active membership and participation of the Manufacturer Defendants by

         advocating that one of the benefits of membership included the ability to develop direct

         relationships between Manufacturers and Distributors at high executive levels.

  292. In fact, the HDA touted the benefits of membership to the Manufacturer Defendants,

         advocating that membership included the ability to, among other things, “network one on

         one with manufacturer executives at HDA’s members-only Business and Leadership

         Conference,” “networking with HDA wholesale distributor members,” “opportunities to

         host and sponsor HDA Board of Directors events,” “participate on HDA committees, task

         forces and working groups with peers and trading partners,” and “make connections.”148



147
     Manufacturer Membership, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/membership/manufacturer.
148
    Manufacturer Membership Benefits, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/-/media/pdfs/membership/manufacturer-membership-benefits.ashx?la=en.

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         Clearly, the HDA and the Distributor Defendants believed that membership in the HDA

         was an opportunity to create interpersonal and ongoing organizational relationships

         between the Manufacturers and Defendants.

  293. The application for a manufacturer membership in the HDA further indicates the level of

         connection that existed between the Defendants. 149 The manufacturer membership

         application must be signed by a “senior company executive,” and it requests that he

         manufacturer applicant identify a key contact and any additional contacts from within its

         company. The HDA application also requests that the manufacturer identify its current

         distribution information and its most recent year end net sales through any HDA

         distributors, including but not limited to, Defendants AmerisourceBergen, Cardinal Health,

         and McKesson. 150

  294. After becoming members, the Distributors and Manufacturers were eligible to participate

         on councils, committees, task forces and working groups, including:

            a. Industry Relations Council: “This council, composed of distributor and
               manufacturer members, provides leadership on pharmaceutical distribution and
               supply chain issues.” 151

            b. Business Technology Committee: “This committee provides guidance to HDA and
               its members through the development of collaborative e-commerce business
               solutions. The committee’s major areas of focus within pharmaceutical distribution
               include information systems, operational integration and the impact of e-
               commerce.” Participation in this committee includes distributors and manufacturer
               members. 152

            c. Health, Beauty and Wellness Committee: “This committee conducts research, as
               well as creates and exchanges industry knowledge to help shape the future of the
               distribution for health, beauty and wellness/consumer products in the healthcare

149
     Manufacturer Membership Application, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/-/media/pdfs/membership/manufacturer-membership-application.ashx?la=en.
150
    Id.
151
    Id.
152
    Id.

                                                    108
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                 supply chain.” Participation in this committee includes distributors and
                 manufacturer members. 153

             d. Logistics Operation Committee: “This committee initiates projects designed to help
                members enhance the productivity, efficiency and customer satisfaction within the
                healthcare supply chain. Its major areas of focus include process automation,
                information systems, operational integration, resource management and quality
                improvement.” Participation in this committee includes distributors and
                manufacturer members. 154

             e. Manufacturer Government Affairs Advisory Committee: “This committee provides
                a forum for briefing HDA’s manufacturer members on federal and state legislative
                and regulatory activity affecting the pharmaceutical distribution channel. Topics
                discussed include such issues as prescription drug traceability, distributor licensing,
                FDA and DEA regulation of distribution, importation and Medicaid/Medicare
                reimbursement.” Participation in this committee includes manufacturer
                members. 155

             f. Bar Code Task Force: Participation includes Distributor, Manufacturer and Service
                Provider Members. 156

             g. eCommerce Task Force: Participation includes Distributor, Manufacturer and
                Service Provider Members. 157

             h. ASN Working Group: Participation includes Distributor, Manufacturer and Service
                Provider Members. 158

  295. Contracts and Chargebacks Working Group: “This working group explores how the

          contract administration process can be streamlined through process improvements or

          technical efficiencies. It also creates and exchanges industry knowledge of interest to

          contract and chargeback professionals.” Participation includes Distributor and

          Manufacturer Members. 159




153
    Id.
154
    Id.
155
    Id.
156
    Id.
157
    Id.
158
    Id.
159
    Id.

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  296. The councils, committees, task forces and working groups provided the Manufacturer and

         Distributor Defendants with the opportunity to work closely together in shaping their

         common goals and forming the enterprise’s organization.

  297. The HDA also offers a multitude of conferences, including annual business and leadership

         conferences. The HDA, and the Distributor Defendants advertise these conferences to the

         Manufacturer Defendants as an opportunity to “bring together high-level executives, thought

         leaders and influential managers… to hold strategic business discussions on the most

         pressing industry issues.” 160 The conferences also gave the Manufacturer and Distributor

         Defendants “unmatched opportunities to network with [their] peers and trading partners at

         all levels of the healthcare distribution industry.” 161 The HDA and its conferences were

         significant opportunities for the Manufacturer and Distributor Defendants to interact at a

         high-level of leadership. And, it is clear that the Manufacturer Defendants embraced this

         opportunity by attending and sponsoring these events. 162

  298. Third, the Defendants maintained their interpersonal relationships by working together

         and exchanging information and driving the unlawful sales of their opioids through

         their contractual relationships, including chargebacks and vault security programs.

  299. The Manufacturer Defendants engaged in an industry-wide practice of paying rebates

         and/or chargebacks to the Distributor Defendants for sales of prescription opioids. 163 As


160
    Business and Leadership Conference - Information for Manufacturers, Healthcare Distribution Alliance, (accessed
on September 14, 2017),
https://www.healthcaredistribution.org/events/2015-business-and-leadership-conference/blc-for-manufacturers.
161
    Id.
162
    2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance, (accessed on September
14, 2017), https://www.healthcaredistribution.org/events/2015-distribution-management- conference.
163
    Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid manufacturers accountable, The
Washington Post, (April 2, 2017),
https://www.washingtonpost.com/graphics/investigations/dea- mallinckrodt/?utm_term=.b24cc81cc356; see also,
Letter from Sen. Claire McCaskill, (July 27, 2017), https://www.mccaskill.senate.gov/imo/media/image/july-opioid-

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        reported in the Washington Post, identified by Senator McCaskill, and acknowledged by

        the HDA, there is an industry-wide practice whereby the Manufacturers paid the

        Distributors rebates and/or chargebacks on their prescription opioid sales. 164 On information

        and belief, these contracts were negotiated at the highest levels, demonstrating ongoing

        relationships between the Manufacturer and Distributor Defendants. In return for the

        rebates and chargebacks, the Distributor Defendants provided the Manufacturer

        Defendants with detailed information regarding their prescription opioid sales, including

        purchase orders, acknowledgements, ship notices, and invoices. 165 The Manufacturer

        Defendants used this information to gather high-level data regarding overall distribution

        and direct the Distributor Defendants on how to most effectively sell the prescription

        opioids.

  300. The contractual relationships among the Defendants also include vault security programs.

        The Defendants are required to maintain certain security protocols and storage facilities for

        the manufacture and distribution of their opiates. Plaintiffs are informed and believe that

        manufacturers negotiated agreements whereby the Manufacturers installed security vaults

        for Distributors in exchange for agreements to maintain minimum sales performance

        thresholds. Plaintiffs are informed and believe that these agreements were used by the

        Defendants as a tool to violate their reporting and diversion duties in order to reach the

        required sales requirements.


investigation-letter-manufacturers.png;    Letter    from    Sen.    Claire    McCaskill, (July   27, 2017),
https://www.mccaskill.senate.gov/imo/media/image/july-opioid- investigation-letter-manufacturers.png; Letters
From Sen. Claire McCaskill, (March 28, 2017), https://www.mccaskill.senate.gov/opioid- investigation; Purdue
Managed Markets, Purdue Pharma, (accessed on September 14, 2017),
http://www.purduepharma.com/payers/managed-markets/.
164
    Id.
165
    Webinars, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/resources/webinar-leveraging-edi.

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  301. Taken together, the interaction and length of the relationships between and among the

         Manufacturer and Distributor Defendants reflects a deep level of interaction and

         cooperation between two groups in a tightly knit industry. The Manufacturer and

         Distributor Defendants were not two separate groups operating in isolation or two groups

         forced to work together in a closed system. The Defendants operated together as a united

         entity, working together on multiple fronts, to engage in the unlawful sale of prescription

         opioids. The HDA and the Pain Care Forum are but two examples of the overlapping

         relationships, and concerted joint efforts to accomplish common goals and demonstrates

         that the leaders of each of the Defendants was in communication and cooperation.

  302. According to articles published by the Center for Public Integrity and The Associated

         Press, the Pain Care Forum -- whose members include the Manufacturers and the

         Distributors’ trade association has been lobbying on behalf of the Manufacturers and

         Distributors for “more than a decade.” 166 And, from 2006 to 2016 the Distributors and

         Manufacturers worked together through the Pain Care Forum to spend over $740 million

         lobbying in the nation’s capital and in all 50 statehouses on issues including opioid-related

         measures. 167 Similarly, the HDA has continued its work on behalf of Distributors and

         Manufacturers, without interruption, since at least 2000, if not longer. 168

  303. As described above, the Defendants began working together as early as 2006 through the

         Pain Care Forum and/or the HDA to promote the common purpose of their enterprise.




166
    Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public Integrity
(September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo- chamber-
shaped-policy-amid- drug-epidemic.
167
    Id.
168
    HDA History, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/hda-history.

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     Plaintiffs are informed and believe that the Defendants worked together as an ongoing and

     continuous organization throughout the existence of their enterprise.

         b. Conduct of the Opioid Diversion Enterprise

304. During the time period alleged in this Complaint, the Defendants exerted control over,

     conducted and/or participated in the Opioid Diversion Enterprise by fraudulently failing to

     comply with their Federal and State obligations to identify, investigate and report

     suspicious orders of opioids in order to prevent diversion of those highly addictive

     substances into the illicit market, to halt such unlawful sales and, in doing so, to increase

     production quotas and generate unlawful profits, as follows:

305. Defendants disseminated false and misleading statements to the public claiming that they

     were complying with their obligations to maintain effective controls against diversion of

     their prescription opioids.

306. Defendants disseminated false and misleading statements to the public claiming that they

     were complying with their obligations to design and operate a system to disclose to the

     registrant suspicious orders of their prescription opioids.

307. Defendants disseminated false and misleading statements to the public claiming that they

     were complying with their obligation to notify the DEA of any suspicious orders or

     diversion of their prescription opioids.

308. Defendants paid nearly $800 million dollars to influence local, state and federal

     governments through joint lobbying efforts as part of the Pain Care Forum. The Defendants

     were all members of their Pain Care Forum either directly or indirectly through the HDA.

     The lobbying efforts of the Pain Care Forum and its members, included efforts to pass

     legislation making it more difficult for the DEA to suspend and/or revoke the


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         Manufacturers’ and Distributors’ registrations for failure to report suspicious orders of

         opioids.

  309. The Defendants exercised control and influence over the distribution industry by

         participating and maintaining membership in the HDA.

  310. The Defendants applied political and other pressure on the DOJ and DEA to halt

         prosecutions for failure to report suspicious orders of prescription opioids and lobbied

         Congress to strip the DEA of its ability to immediately suspend registrations pending

         investigation by passing the “Ensuring Patient Access and Effective Drug Enforcement

         Act.” 169

  311. The Defendants engaged in an industry-wide practice of paying rebates and chargebacks

         to incentivize unlawful opioid prescription sales. Plaintiffs are informed and believe that

         the Manufacturer Defendants used the chargeback program to acquire detailed high-level

         data regarding sales of the opioids they manufactured. And, Plaintiffs are informed and

         believe that the Manufacturer Defendants used this high-level information to direct the

         Distributor Defendants’ sales efforts to regions where prescription opioids were selling in

         larger volumes.




169
   See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated July
6, 2016),
http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-alliance/;      Lenny
Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid Epidemic Grew Out of
Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea- slowed-enforcement-
while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-    d7c704ef9fd9_story.html;
Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of DEA Enforcement
Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017, https://www.washingtonpost.com/investigations/us-
senator-calls-for-investigation-of-dea-enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-
a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had no Leadership” in WV Amid Flood of Pain Pills,
Charleston Gazette-Mail, Feb. 18, 2017, http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-
leadership-in-wv-amid-flood-of- pain-pills-.

                                                     114
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  312. The Manufacturer Defendants lobbied the DEA to increase Aggregate Production Quotas,

         year after year by submitting net disposal information that the Manufacturer Defendants

         knew included sales that were suspicious and involved the diversion of opioids that had

         not been properly investigated or reported by the Defendants.

  313. The Distributor Defendants developed “know your customer” questionnaires and files.

         This information, compiled pursuant to comments from the DEA in 2006 and 2007 was

         intended to help the Defendants identify suspicious orders or customers who were likely

         to divert prescription opioids. 170 On information and belief, the “know your customer”

         questionnaires informed the Defendants of the number of pills that the pharmacies sold,

         how many non-controlled substances are sold compared to controlled substances, whether

         the pharmacy buys from other distributors, the types of medical providers in the area,

         including pain clinics, general practitioners, hospice facilities, cancer treatment facilities,

         among others, and these questionnaires put the recipients on notice of suspicious orders.

  314. The Defendants refused to identify, investigate and report suspicious orders to the DEA

         when they became aware of the same despite their actual knowledge of drug diversion

         rings. The Defendants refused to identify suspicious orders and diverted drugs despite the

         DEA issuing final decisions against the Distributor Defendants in 178 registrant actions

         between 2008 and 2012 171 and 117 recommended decision in registrant actions from The

         Office of Administrative Law Judges. These numbers include 76 actions involving orders


170
    Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug Enforcement
Administration
(available at https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf); Richard
Widup, Jr., Kathleen H. Dooley, Esq. Pharmaceutical Production Diversion: Beyond the PDMA, Purdue Pharma and
McQuite Woods LLC, (available at https://www.mcguirewoods.com/news-
resources/publications/lifesciences/product_diversion_beyond_pdma.pdf).
171
    Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.

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            to show cause and 41 actions involving immediate suspension orders -- all for failure to

            report suspicious orders. 172

  315. Defendants’ scheme had decision-making structure that was driven by the Manufacturer

            Defendants and corroborated by the Distributor Defendants. The Manufacturer Defendants

            worked together to control the State and Federal Government’s response to the

            manufacture and distribution of prescription opioids by increasing production quotas

            through a systematic refusal to maintain effective controls against diversion, and identify

            suspicious orders and report them to the DEA.

  316. The Defendants worked together to control the flow of information and influence state and

            federal governments and political candidates to pass legislation that was pro- opioid. The

            Manufacturer and Distributor Defendants did this through their participation in the Pain

            Care Forum and Healthcare Distributors Alliance.

  317. The Defendants also worked together to ensure that the Aggregate Production Quotas,

            Individual Quotas and Procurement Quotas allowed by the DEA stayed high and ensured

            that suspicious orders were not reported to the DEA. By not reporting suspicious orders or

            diversion of prescription opioids, the Defendants ensured that the DEA had no basis for

            refusing to increase or decrease the production quotas for prescription opioids due to

            diversion of suspicious orders. The Defendants influenced the DEA production quotas in

            the following ways:

                a. The Distributor Defendants assisted the enterprise and the Manufacturer
                   Defendants in their lobbying efforts through the Pain Care Forum;

                b. The Distributor Defendants invited the participation, oversight and control of the
                   Manufacturer Defendants by including them in the HDA, including on the councils,
                   committees, task forces, and working groups;

172
      Id.

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             c. The Distributor Defendants provided sales information to the Manufacturer
                Defendants regarding their prescription opioids, including reports of all opioids
                prescriptions filled by the Distributor Defendants;

             d. The Manufacturer Defendants used a chargeback program to ensure delivery of the
                Distributor Defendants’ sales information;

             e. The Manufacturer Defendants obtained sales information from QuintilesIMS
                (formerly IMS Health) that gave them a “stream of data showing how individual
                doctors across the nation were prescribing opioids.” 173

             f. The Distributor Defendants accepted rebates and chargebacks for orders of
                prescription opioids;

             g. The Manufacturer Defendants used the Distributor Defendants’ sales information
                and the data from QuintilesIMS to instruct the Distributor Defendants to focus their
                distribution efforts to specific areas where the purchase of prescription opioids was
                most frequent;

             h. The Defendants refused to report suspicious orders of prescription opioids despite
                repeated investigation and punishment of the Distributor Defendants by the DEA
                for failure to report suspicious orders;

             i. The Defendants withheld information regarding suspicious orders and illicit
                diversion from the DEA because it would have revealed that the “medical need”
                for and the net disposal of their drugs did not justify the production quotas set by
                the DEA; and

             j. The Defendants identified suspicious orders of prescription opioids and then
                continued filling those unlawful orders, without reporting them, knowing that they
                were suspicious and/or being diverted into the illicit drug market;

  318. The scheme devised and implemented by the Defendants amounted to a common course

         of conduct characterized by a refusal to maintain effective controls against diversion, and

         all designed and operated to ensure the continued unlawful sale of controlled substances.

             c. Pattern of Racketeering Activity




173
   Harriet Ryan, et al., More than 1 million OxyContin pills ended up in the hands of criminals and addicts. What the
drugmaker knew, Los Angeles Times, (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-part2/

                                                        117
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319. The Defendants conducted and participated in the conduct of the Opioid Diversion

     Enterprise through a pattern of racketeering activity as defined in 18 U.S.C. § 1961(B),

     including mail fraud (18 U.S.C. § 1341) and wire fraud (18 U.S.C. § 1343); and 18 §

     1961(D)    by the felonious manufacture, importation, receiving, concealment buying

     selling, or otherwise dealing in a controlled substance or listed chemical (as defined in

     section 102 of the Controlled Substance Act), punishable under any law of the United

     States.

                 i. The Defendants Engaged in Mail and Wire Fraud

320. The Defendants carried out, or attempted to carry out, a scheme to defraud federal and state

     regulators, and the American public by knowingly conducting or participating in the

     conduct of the Opioid Diversion Enterprise through a pattern of racketeering activity within

     the meaning of 18 U.S.C. § 1961(1) that employed the use of mail and wire facilities, in

     violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

321. The Defendants committed, conspired to commit, and/or aided and abetted in the

     commission of at least two predicate acts of racketeering activity (i.e. violations of 18

     U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of racketeering

     activity that the Defendants committed, or aided and abetted in the commission of, were

     related to each other, posed a threat of continued racketeering activity, and therefore

     constitute a “pattern of racketeering activity.” The racketeering activity was made possible

     by the Defendants’ regular use of the facilities, services, distribution channels, and

     employees of the Opioid Diversion Enterprise. The Defendants participated in the scheme

     to defraud by using mail, telephone and the Internet to transmit mailings and wires in

     interstate or foreign commerce.


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322. The Defendants used, directed the use of, and/or caused to be used, thousands of interstate

     mail and wire communications in service of their scheme through virtually uniform

     misrepresentations, concealments and material omissions regarding their compliance with

     their mandatory reporting requirements and the actions necessary to carry out their

     unlawful goal of selling prescription opioids without reporting suspicious orders or the

     diversion of opioids into the illicit market.

323. In devising and executing the illegal scheme, the Defendants devised and knowingly

     carried out a material scheme and/or artifice to defraud by means of materially false or

     fraudulent pretenses, representations, promises, or omissions of material facts. For the

     purpose of executing the illegal scheme, the Defendants committed these racketeering acts,

     which number in the thousands, intentionally and knowingly with the specific intent to

     advance the illegal scheme.

324. The Defendants’ predicate acts of racketeering (18 U.S.C. § 1961(1)) include, but are not

     limited to:

         a. Mail Fraud: The Defendants violated 18 U.S.C. § 1341 by sending or receiving, or
            by causing to be sent and/or received, materials via U.S. mail or commercial
            interstate carriers for the purpose of executing the unlawful scheme to design,
            manufacture, market, and sell the prescription opioids by means of false pretenses,
            misrepresentations, promises, and omissions.

         b. Wire Fraud: The Defendants violated 18 U.S.C. § 1343 by transmitting and/or
            receiving, or by causing to be transmitted and/or received, materials by wire for the
            purpose of executing the unlawful scheme to design, manufacture, market, and sell
            the prescription opioids by means of false pretenses, and misrepresentations,
            promises, and omissions.

325. The Defendants’ use of the mail and wires includes, but is not limited to, the transmission,

     delivery, or shipment of the following by the Manufacturers, Distributors, or third parties




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   that were foreseeably caused to be sent as a result of the Defendants’ illegal scheme,

   including but not limited to:

      a. The prescription opioids themselves;

      b. Documents and communications that facilitated the manufacture, purchase and
         unlawful sale of prescription opioids;

      c. Defendants’ DEA registrations;

      d. Documents and communications that supported and/or facilitated Defendants’
         DEA registrations;

      e. Documents and communications that supported and/or facilitated the Defendants’
         request for higher aggregate production quotas, individual production quotas, and
         procurement quotas;

      f. Defendants’ records and reports that were required to be submitted to the DEA
         pursuant to 21 U.S.C. § 827;

      g. Documents and communications related to the Defendants’ mandatory DEA
         reports pursuant to 21 U.S.C. § 823 and 21 C.F.R. § 1301.74;

      h. Documents intended to facilitate the manufacture and distribution of Defendants’
         prescription opioids, including bills of lading, invoices, shipping records, reports
         and correspondence;

      i. Documents for processing and receiving payment for prescription opioids;

      j. Payments from the Distributors to the Manufacturers;

      k. Rebates and chargebacks from the Manufacturers to the Distributors;

      l. Payments to Defendants’ lobbyists through the Pain Care Forum;

      m. Payments to Defendants’ trade organizations, like the HDA, for memberships
         and/or sponsorships;

      n. Deposits of proceeds from Defendants’ manufacture and distribution of
         prescription opioids; and

      o. Other documents and things, including electronic communications.




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326. On information and belief, the Defendants (and/or their agents), for the purpose of

     executing the illegal scheme, sent and/or received (or caused to be sent and/or received) by

     mail or by private or interstate carrier, shipments of prescription opioids and related

     documents by mail or by private carrier affecting interstate commerce, including the

     following:

327. Purdue manufactures multiple forms of prescription opioids, including but not limited to:

     OxyContin, MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq ER.

     Purdue manufactured and shipped these prescription opioids to the Distributor Defendants.

328. The Distributor Defendants shipped Purdue’s prescription opioids throughout the United

     States.

329. Cephalon manufactures multiple forms of prescription opioids, including but not limited

     to: Actiq and Fentora. Cephalon manufactured and shipped these prescription opioids to

     the Distributor Defendants.

330. The Distributor Defendants shipped Teva’s prescription opioids throughout the United

     States.

331. Janssen manufactures prescription opioids known as Duragesic. Janssen manufactured and

     shipped its prescription opioids to the Distributor Defendants.

332. The Distributor Defendants shipped Janssen’s prescription opioids throughout the United

     States.

333. Endo manufactures multiple forms of prescription opioids, including but not limited to:

     Opana/Opana ER, Percodan, Percocet, and Zydone. Endo manufactured and shipped its

     prescription opioids to the Distributor Defendants.




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334. The Distributor Defendants shipped Janssen’s prescription opioids throughout the United

     States.

335. Actavis manufactures multiple forms of prescription opioids, including but not limited to:

     Kadin and Norco, as well as generic versions of the drugs known as Kadian, Duragesic and

     Opana. Actavis manufactured and shipped its prescription opioids to the Distributor

     Defendants.

336. The Distributor Defendants shipped Actavis’ prescription opioids throughout the United

     States.

337. Mallinckrodt manufactures multiple forms of prescription opioids, including but not

     limited to: Exalgo and Roxicodone.

338. The Distributor Defendants shipped Mallinckrodt’s prescription opioids throughout the

     United States.

339. The Defendants also used the internet and other electronic facilities to carry out their

     scheme and conceal the ongoing fraudulent activities. Specifically, the Defendants made

     misrepresentations about their compliance with Federal and State laws requiring them to

     identify, investigate and report suspicious orders of prescription opioids and/or diversion

     of the same into the illicit market.

340. At the same time, the Defendants misrepresented the superior safety features of their order

     monitoring programs, ability to detect suspicious orders, commitment to preventing

     diversion of prescription opioids and that they complied with all state and federal

     regulations regarding the identification and reporting of suspicious orders of prescription

     opioids.




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341. Plaintiffs are also informed and believe that the Defendants utilized the internet and other

     electronic resources to exchange communications, to exchange information regarding

     prescription opioid sales, and to transmit payments and rebates/chargebacks.

342. The Defendants also communicated by U.S. Mail, by interstate facsimile, and by interstate

     electronic mail and with various other affiliates, regional offices, regulators, distributors,

     and other third-party entities in furtherance of the scheme.

343. The mail and wire transmissions described herein were made in furtherance of Defendants’

     scheme and common course of conduct to deceive regulators and the public that

     Defendants were complying with their state and federal obligations to identify and report

     suspicious orders of prescription opioids all while Defendants were knowingly allowing

     millions of doses of prescription opioids to divert into the illicit drug market. The

     Defendants’ scheme and common course of conduct was intended to increase or maintain

     high production quotas for their prescription opioids from which they could profit.

344. Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire

     facilities have been deliberately hidden, and cannot be alleged without access to

     Defendants’ books and records. But, Plaintiffs have described the types of, and in some

     instances, occasions on which the predicate acts of mail and/or wire fraud occurred. They

     include thousands of communications to perpetuate and maintain the scheme, including the

     things and documents described in the preceding paragraphs.

345. The Defendants did not undertake the practices described herein in isolation, but as part of

     a common scheme. These actions violate 18 U.S.C. § 1962(c). Various other persons,

     firms, and corporations, including third-party entities and individuals not named as

     defendants in this Complaint, may have contributed to and/or participated in the scheme


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     with the Defendants in these offenses and have performed acts in furtherance of the scheme

     to increase revenues, increase market share, and /or minimize the losses for the Defendants.

346. The Defendants aided and abetted others in the violations of the above laws, thereby

     rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343 offenses.

347. The Defendants hid from the general public, and suppressed and/or ignored warnings from

     third parties, whistleblowers and governmental entities, about the reality of the suspicious

     orders that the Defendants were filling on a daily basis—leading to the diversion of

     millions of doses of prescription opioids into the illicit market.

348. The Defendants, with knowledge and intent, agreed to the overall objective of their

     fraudulent scheme and participated in the common course of conduct to commit acts of

     fraud and indecency in manufacturing and distributing prescription opioids.

349. Indeed, for the Defendants’ fraudulent scheme to work, each of the Defendants had to

     agree to implement similar tactics regarding marketing prescription opioids and refusing

     to report suspicious orders.

350. As described herein, the Defendants engaged in a pattern of related and continuous

     predicate acts for years. The predicate acts constituted a variety of unlawful activities, each

     conducted with the common purpose of obtaining significant monies and revenues from

     the sale of their highly addictive and dangerous drugs. The predicate acts also had the same

     or similar results, participants, victims, and methods of commission. The predicate acts

     were related and not isolated events.

351. The predicate acts all had the purpose of generating significant revenue and profits for the

     Defendants while Plaintiffs were left with substantial monetary losses through the damage

     that the prescription opioid epidemic caused. The predicate acts were committed or caused


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     to be committed by the Defendants through their participation in the Opioid Diversion

     Enterprise and in furtherance of its fraudulent scheme.

352. The pattern of racketeering activity alleged herein and the Opioid Diversion Enterprise are

     separate and distinct from each other. Likewise, Defendants are distinct from the enterprise.

353. The pattern of racketeering activity alleged herein is continuing as of the date of this

     Complaint and, upon information and belief, will continue into the future.

354. Many of the precise dates of the Defendants’ criminal actions at issue here have been

     hidden and cannot be alleged without access to Defendants’ books and records. Indeed, an

     essential part of the successful operation of the Opioids Addiction and Opioid Diversion

     Enterprise alleged herein depended upon secrecy.

355. Each instance of racketeering activity alleged herein was related, had similar purposes,

     involved the same or similar participants and methods of commission, and had similar

     results affecting similar victims, including the Plaintiffs. Defendants calculated and

     intentionally crafted the Opioid Diversion Enterprise and their scheme to increase and

     maintain their increased profits, without regard to the effect such behavior would have on

     consumers and/or the Plaintiffs. In designing and implementing the scheme, at all times

     Defendants were cognizant of the fact that those in the manufacturing and distribution

     chain rely on the integrity of the pharmaceutical companies and ostensibly neutral third

     parties to provide objective and reliable information regarding Defendants’ products and

     their manufacture and distribution of those products.

356. By intentionally refusing to report and halt suspicious orders of their prescription opioids,

     Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting a

     pattern of racketeering activity.


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357. It was foreseeable to Defendants that refusing to report and halt suspicious orders, as

     required by the CSA and Code of Federal Regulations, would harm Plaintiffs as set out

     herein, by allowing the flow of prescription opioids from appropriate medical channels into

     the illicit drug market.

358. The last racketeering incident occurred within five years of the commission of a prior

     incident of racketeering.

                 ii. The Defendants Manufactured, Sold, and/or Dealt in Controlled
                     Substances and their Crimes are Punishable as Felonies

359. The Defendants conducted and participated in the conduct of the affairs of the Opioid

     Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C. §

     1961(D) by the felonious manufacture, importation, receiving, concealment, buying,

     selling, or otherwise dealing in a controlled substance or listed chemical (as defined in

     section 102 of the Controlled Substance Act), punishable under any law of the United

     States.

360. The Defendants committed crimes that are punishable as felonies under the laws of the

     United States. Specifically, 21 U.S.C. § 483(a)(4) makes it unlawful for any person to

     knowingly or intentionally furnish false or fraudulent information in, or omit any material

     information from, any application, report, record or other document required to be made,

     kept or filed under this subchapter. A violation of section 483(a)(4) is punishable by up to

     four years in jail, making it a felony. 21 U.S.C. § 483(d)(1).

361. Each of the Defendants qualify as registrants under the CSA. Their status as registrants

     under the CSA requires that they maintain effective controls against diversion of controlled

     substances in schedule I or II, design and operate a system to disclose to the registrant



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         suspicious orders of controlled substances., and inform the DEA of suspicious orders when

         discovered by the registrant. 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).

  362. Pursuant to the CSA and the Code of Federal Regulations, the Defendants were required

         to make reports to the DEA of any suspicious orders identified through the design and

         operation of their system to disclose suspicious orders.

  363. As is indicated by government documents, and described in more detail below, the

         Defendants knowingly and intentionally furnished false or fraudulent information in their

         reports to the DEA about suspicious orders, and/or omitted material information from

         reports, records and other document required to be filed with the DEA including the

         Manufacturer Defendants’ applications for production quotas. Specifically, the Defendants

         were aware of suspicious orders of prescription opioids and the diversion of their

         prescription opioids into the illicit market, and failed to report this information to the DEA

         in their mandatory reports and their applications for production quotas.

  364. For example, The DEA and DOJ began investigating McKesson in 2013 regarding its

         monitoring and reporting of suspicious controlled substances orders. On April 23, 2015,

         McKesson filed a Form-8-K announcing a settlement with the DEA and DOJ wherein it

         admitted to violating the CSA and agreed to pay $150 million and have some of its DEA

         registrations suspended on a staggered basis. The settlement was finalized on January 17,

         2017. 174




174
    McKesson, McKesson Finalizes Settlement with U.S. Department of Justice and U.S. Drug Enforcement
Administration to Resolve Past Claims, About McKesson / Newsroom / Press Releases, (January 17,       2017),
http://www.mckesson.com/about-mckesson/newsroom/press- releases/2017/mckesson-finalizes-settlement-with-doj-
and-dea-to-resolve-past-claims/.

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  365. Purdue’s experience in Los Angeles is another striking example of Defendants’ willful

         violation of the CSA and Code of Federal Regulations as it relates to reporting suspicious

         orders of prescription opioids. In 2016, the Los Angeles Times reported that Purdue was

         aware of a pill mill operating out of Los Angeles yet failed to alert the DEA. 175 The LA

         Times uncovered that Purdue began tracking a surge in prescriptions in Los Angeles,

         including one prescriber in particular. A Purdue sales manager spoke with company

         officials in 2009 about the prescriber, asking “Shouldn’t the DEA be contacted about this?”

         and adding that she felt “very certain this is an organized drug ring.” 176 Despite knowledge

         of the staggering amount of pills being issued in Los Angeles, and internal discussion of

         the problem, “Purdue did not shut off the supply of highly addictive OxyContin and did

         not tell authorities what it knew about Lake Medical until several years later when the clinic

         was out of business and its leaders indicted. By that time, 1.1 million pills had spilled into

         the hands of Armenian mobsters, the Crips gang and other criminals.” 177

  366. Finally, Mallinckrodt was recently the subject of a DEA and Senate investigation for its

         opioid practices. Specifically, in 2011, the DEA targeted Mallinckrodt arguing that it

         ignored its responsibility to report suspicious orders as 500 million of its pills ended up in

         Florida between 2008 and 2012. 178 After six years of DEA investigation, Mallinckrodt

         agreed to a settlement involving a $35 million fine. Federal prosecutors summarized the




175
    Harriet Ryan, et al., More than 1 million OxyContin pills ended up in the hands of criminals and addicts. What the
drugmaker knew, Los Angeles Times, (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-part2/.
176
    Id.
177
    Id.
178
    Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid manufacturers accountable, The
Washington        Post,      (April      2,     2017),      https://www.washingtonpost.com/graphics/investigations/dea-
mallinckrodt/?utm_term=.b24cc81cc356. This number accounted for 66% of all oxycodone sold in the state of
Florida during that time.

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         case by saying that Mallinckrodt’s response was that everyone knew what was going on in

         Florida but they had no duty to report it. 179

  367. Plaintiffs are informed and believe that the foregoing examples reflect the Defendants’

         pattern and practice of willfully and intentionally omitting information from their

         mandatory reports to the DEA as required by 21 C.F.R. § 1301.74. This conclusion is

         supported by the sheer volume of enforcement actions available in the public record against

         the Distributor Defendants. 180 For example:

  368. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate Suspension

         Order against the AmerisourceBergen Orlando, Florida distribution center (“Orlando

         Facility”) alleging failure to maintain effective controls against diversion of controlled

         substances. On June 22, 2007, AmerisourceBergen entered into a settlement that resulted

         in the suspension of its DEA registration;

  369. On November 28, 2007, the DEA issued an Order to Show Cause and Immediate

         Suspension Order against the Cardinal Health Auburn, Washington Distribution Center

         (“Auburn Facility”) for failure to maintain effective controls against diversion of

         hydrocodone;

  370. On December 5, 2007, the DEA issued an Order to Show Cause and Immediate Suspension

         Order against the Cardinal Health Lakeland, Florida Distribution Center (“Lakeland

         Facility”) for failure to maintain effective controls against diversion of hydrocodone;

  371. On December 7, 2007, the DEA issued an Order to Show Cause and Immediate Suspension

         Order against the Cardinal Health Swedesboro, New Jersey Distribution Center


179
  Id.
180
  Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.

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     (“Swedesboro Facility”) for failure to maintain effective controls against diversion of

     hydrocodone;

372. On January 30, 2008, the DEA issued an Order to Show Cause and Immediate Suspension

     Order against the Cardinal Health Stafford, Texas Distribution Center (“Stafford Facility”)

     for failure to maintain effective controls against diversion of hydrocodone;

373. On May 2, 2008, McKesson Corporation entered into an Administrative Memorandum of

     Agreement (“2008 MOA”) with the DEA which provided that McKesson would “maintain

     a compliance program designed to detect and prevent the diversion of controlled

     substances, inform DEA of suspicious orders required by 21 C.F.R. § 1301.74(b), and

     follow the procedures established by its Controlled Substance Monitoring Program”;

374. On September 30, 2008, Cardinal Health entered into a Settlement and Release Agreement

     and Administrative Memorandum of Agreement with the DEA related to its Auburn

     Facility, Lakeland Facility, Swedesboro Facility and Stafford Facility. The document also

     referenced allegations by the DEA that Cardinal failed to maintain effective controls

     against the diversion of controlled substances at its distribution facilities located in

     McDonough, Georgia (“McDonough Facility”), Valencia, California (“Valencia Facility”)

     and Denver, Colorado (“Denver Facility”);

375. On February 2, 2012, the DEA issued an Order to Show Cause and Immediate Suspension

     Order against the Cardinal Health Lakeland, Florida Distribution Center (“Lakeland

     Facility”) for failure to maintain effective controls against diversion of oxycodone;

376. On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to the DEA to

     resolve the civil penalty portion of the administrative action taken against its Lakeland,

     Florida Distribution Center; and


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377. On January 5, 2017, McKesson Corporation entered into an Administrative Memorandum

     Agreement with the DEA wherein it agreed to pay a $150,000,000 civil penalty for

     violation of the 2008 MOA as well as failure to identify and report suspicious orders at its

     facilities in Aurora CO, Aurora IL, Delran NJ, LaCrosse WI, Lakeland FL, Landover MD,

     La Vista NE, Livonia MI, Methuen MA, Santa Fe Springs CA, Washington Courthouse

     OH and West Sacramento CA.

378. These actions against the Distributor Defendants confirm that the Distributors knew they

     had a duty to maintain effective controls against diversion, design and operate a system to

     disclose suspicious orders, and to report suspicious orders to the DEA. These actions also

     demonstrate, on information and belief, that the Manufacturer Defendants were aware of

     the enforcement against their Distributors and the diversion of the prescription opioids and

     a corresponding duty to report suspicious orders.

379. The pattern of racketeering activity alleged herein is continuing as of the date of this

     Complaint and, upon information and belief, will continue into the future.

380. Many of the precise dates of Defendants’ criminal actions at issue herein were hidden and

     cannot be alleged without access to Defendants’ books and records. Indeed, an essential

     part of the successful operation of the Opioid Diversion Enterprise depended upon the

     secrecy of the participants in that enterprise.

381. Each instance of racketeering activity alleged herein was related, had similar purposes,

     involved the same or similar participants and methods of commission, and had similar

     results affecting similar victims, including consumers and Plaintiffs. Defendants calculated

     and intentionally crafted the diversion scheme to increase and maintain profits from




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     unlawful sales of opioids, without regard to the effect such behavior would have on

     consumers and/or the Plaintiffs.

382. By intentionally refusing to report and halt suspicious orders of their prescription opioids,

     Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting a

     pattern of racketeering activity.

383. It was foreseeable to Defendants that refusing to report and halt suspicious orders, as

     required by the CSA and Code of Federal Regulations would harm Plaintiffs as set out

     herein by allowing the flow of prescription opioids from appropriate medical channels into

     the illicit drug market.

384. The last racketeering incident occurred within five years of the commission of a prior

     incident of racketeering.

           d. Damages

385. The Defendants’ violations of law and their pattern of racketeering activity directly and

     proximately caused Plaintiffs injury in their businesses, as described above in language

     expressly incorporated herein by reference.

386. Plaintiffs’ injuries were proximately caused by Defendants’ racketeering activities. But for

     the Defendants’ conduct, Plaintiffs would not have incurred the monetary losses described

     above and expressly incorporated herein by reference.

387. Plaintiffs’ injuries were directly caused by the Defendants’ racketeering activities.

388. Plaintiffs seek actual damages, treble damages, attorney’s fees and all costs and expenses

     of suit and pre- and post-judgment interest, which exceed the minimum jurisdictional

     amount for this Court to exercise jurisdiction in this matter.




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COUNT II - RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT 18
                U.S.C. 1962(d) et. seq. (Against All Defendants)

 389. Plaintiffs reallege and incorporate by reference all preceding paragraphs.

 390. Plaintiffs’ injuries were proximately caused by Defendants’ racketeering activities. But for

      the Defendants’ conduct, Plaintiffs would not have incurred the monetary losses described

      above and expressly incorporated herein by reference.

 391. Defendants conspired to violate Section 1962(c), as alleged more fully above, by

      conducting the affairs of the Opioid Diversion Enterprise through a pattern of racketeering

      activity, as incorporated by reference below.

          a. The Opioid Diversion Enterprise

 392. For efficiency and avoiding repetition, for purposes of this claim, Plaintiffs incorporate by

      reference Paragraphs 272 through 303 concerning the Opioid Diversion Enterprise.

          b. Conduct of the Opioid Diversion Enterprise

 393. For efficiency and avoiding repetition, for purposes of this claim, Plaintiffs incorporate by

      reference Paragraphs 304 through 318 concerning the Conduct of the Opioid Diversion

      Enterprise.

          c. Pattern of Racketeering Activity

 394. For efficiency and avoiding repetition, for purposes of this claim, Plaintiffs incorporate by

      reference Paragraphs 319 through 384 concerning the Pattern of Racketeering Activity.

          d. Damages

 395. The Defendants’ violations of law and their pattern of racketeering activity directly and

      proximately caused Plaintiffs injury in their businesses, as described above in Paragraphs

      385 through 388, in language expressly incorporated herein by reference.



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396. Plaintiffs bring this claim against all Defendants. At all relevant times, the Defendants were

     associated with the Opioid Diversion Enterprise and agreed and conspired to violate 18

     U.S.C. § 1962(c), that is, they agreed to conduct and participate, directly and indirectly, in

     the conduct of the affairs of the Opioid Diversion Enterprise through a pattern of

     racketeering activity in violation of 18 U.S.C. § 1962(d). Under Section 1962(d) it is

     unlawful for “any person to conspire to violate” Section 1962(c), among other

     provisions. 18 U.S.C. § 1962(d).

397. Plaintiffs’ injuries were directly caused by the Defendants’ racketeering activities.

398. Plaintiffs seek actual damages, treble damages, attorney’s fees and all costs and expenses

     of suit and pre- and post-judgment interest, which exceed the minimum jurisdictional

     amount for this Court to exercise jurisdiction in this matter.

                 COUNT III – VIRGINIA CONSUMER PROTECTIONS ACT
                                (Against All Defendants)

399. Plaintiffs reallege and incorporate by reference all preceding paragraphs.

400. This Cause of Action is brought in the public interest under the Virginia Consumer

     Protections Act (“VCPA”) Va. Code §§ 59.1–196 et seq..

401. The VCPA prohibits suppliers from committing fraudulent acts or practices in connection

     with consumer transactions. Specifically, the VCPA prohibits suppliers from:

     misrepresenting that goods or services have certain quantities, characteristics, ingredients,

     uses, or benefits; misrepresenting that goods or services are of a particular standard, quality,

     grade, style, or model; and using any other deception, fraud, false pretense, false promise,

     or misrepresentation in connection with a consumer transaction. Va. Code §

     59.200(A)(5)(6)(14).



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402. As previously alleged herein, each Defendant, at all times relevant to this Complaint, have

     violated the VCPA by making deceptive representations about the use of opioids to treat

     chronic pain. Each Defendant also omitted or concealed material facts and failed to correct

     prior misrepresentations and omissions about the risks and benefits of opioids. Each

     Defendant’s omissions rendered even their seemingly truthful statements about opioids

     deceptive.

403. Collectively, Defendants made and/or disseminated deceptive statements, including, but

     not limited to, the following:

         a. Creating, sponsoring, and assisting in the distribution of patient education materials
            distributed to Virginia providers and consumers that contained deceptive
            statements;

         b. Creating and disseminating advertisements that contained deceptive statements
            concerning the ability of opioids to improve function long-term and concerning the
            evidence supporting the efficacy of opioids long-term for the treatment of chronic
            pain;

         c. Creating and disseminating paid advertisement supplements in academic journals
            promoting chronic opioid therapy as safe and effective for long-term use for high-
            risk patients;

         d. Creating and disseminating advertisements that falsely and inaccurately conveyed
            the impression that Defendants’ opioid therapies would provide a reduction in oral,
            intranasal, or intravenous abuse;

         e. Disseminating misleading statements concealing the true risk of addiction and
            promoting the deceptive concept of pseudoaddiction through Defendants’ own
            unbranded publications and on internet sites that Defendants operated that were
            marketed to and accessible by consumers;

         f. Distributing brochures to doctors, patients and law enforcement officials that
            included deceptive statements concerning the indicators of possible opioid abuse;


         g. Sponsoring, directly distributing, and assisting in the distribution of publications
            that promoted the deceptive concept of pseudoaddiction, even for high-risk
            patients;


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      h.    Endorsing, directly distributing, and assisting in the distribution of publications
           that presented an unbalanced treatment of the long-term and dose-dependent risks
           of opioids versus nonsteroidal anti-inflammatory drugs (“NSAIDS”);

      i. Providing significant financial support to pro-opioid Key Opinion Leader (“KOL”)
         doctors who made deceptive statements concerning the use of opioids to treat
         chronic pain;

      j. Providing needed financial support to pro-opioid pain organizations that made
         deceptive statements, including in patient education material, concerning the use of
         opioids to treat chronic pain;

      k. Assisting in the distribution of guidelines that contained deceptive statements
         concerning the use of opioids to treat chronic pain and misrepresented the risks of
         opioid addiction;

      l. Endorsing and assisting in the distribution of Continuing Medical Education
         (“CME’s”) containing deceptive statements concerning the use of opioids to treat
         chronic pain;

      m. Developing and disseminating scientific studies that misleadingly concluded that
         opioids are safe and effective for the long-term treatment of chronic pain and that
         opioids improve the quality of life, while concealing contrary data;

      n. Assisting in the dissemination of literature written by pro-opioid KOL’s that
         contained deceptive statements concerning the use of opioids to treat chronic pain;

      o. Creating, endorsing, and supporting the distribution of patient and prescriber
         education materials that misrepresented the date regarding the safety and efficacy
         of opioids for the long-term treatment of chronic pain, including known rates of
         abuse and addiction and the lack of validation for long-term efficacy;

      p. Targeting veterans by sponsoring and disseminating patient education marketing
         materials that contained deceptive statements concerning the use of opioids to treat
         chronic pain;


      q. Targeting the elderly by assisting in the distribution of guidelines that contained
         deceptive statements concerning the use of opioids to treat chronic paint and
         misrepresented the risks of opioid addiction in this population;

      r. Exclusively disseminating misleading statements in education materials to doctors
         and staff while purportedly educating them on new pain standards; and

      s. Making deceptive statements concerning the use of opioids to treat chronic pain to
         Virginia prescribers through in-person detailing;

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404. As described more specifically above, Defendants’ willful representations and

     concealments constitute a course of conduct which is ongoing.

405. Because of physicians’ and patients’ reliance on Defendants’ misrepresentations and

     omissions of material fact, Plaintiffs have suffered monetary damages as aforesaid.

     Plaintiffs seek treble damages in accordance with Virginia Code § 59.1-204, plus the

     recovery of costs associated with this action, which exceed the minimum jurisdictional

     amount for this Court to exercise jurisdiction in this matter.

                 COUNT IV – NEGLIGENCE (Against All Defendants)

406. Plaintiffs reallege and incorporate by reference all preceding paragraphs.

407. Under State law, to establish actionable negligence, one must show in addition to the

     existence of a duty, a breach of that duty, and injury resulting proximately therefrom. All

     such essential elements exist here.

408. Each Defendant had duties to exercise reasonable and/or due care, owed to the Plaintiffs

     and to the patients of the Plaintiffs in manufacturing, marketing, selling, and distributing

     highly dangerous opioid drugs.

409. Each Defendant had duties to comply with the statutes, laws, and regulations of the United

     States as well as each state where it conducted business by selling or distributing

     pharmaceuticals, including but not limited to the Commonwealth of Virginia.

410. Each Defendant breached its aforesaid duties by its conduct previously identified herein.

411. Each Defendant owed its aforesaid duties to the Plaintiffs because the injuries alleged

     herein were foreseeable by the Defendants.




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412. By violating the statutes, laws and or regulations of the United States, and each of the states

     where Defendants did business, including but not limited to the Commonwealth of

     Virginia, each Defendants’ actions constitute negligence, per se.

413. Plaintiffs seek compensatory damages for their monetary losses previously specified

     herein, plus interest and the costs of this action, which exceed the minimum jurisdictional

     amount for this Court to exercise jurisdiction in this matter.

                               COUNT V – NEGLIGENCE PER SE
                                   (Against all Defendants)

414. Plaintiffs reallege and incorporate by reference all preceding paragraphs.

415. The General Assembly of Virginia requires that “[e]very person who manufactures,

     distributes or dispenses any substance that is controlled in Schedules I through V or who

     proposes to engage in the manufacture, distribution or dispensing of any such controlled

     substance… shall obtain annually a controlled substances registration certificate issued by

     the Board. This registration shall be in addition to other licensing or permitting

     requirements enumerated in this chapter or otherwise required by law.” Va. Code Ann. §

     54.1-3422. Further, 18 VAC 110-50-30 requires any distributor or manufacturer engaging

     in “receiving, possessing, storing, using, manufacturing, distributing, or otherwise

     disposing of any Schedules II through V controlled substances… [to] be duly registered

     with DEA and in compliance with all applicable laws and rules for the storage, distribution,

     shipping, handling, and transporting of controlled substances.”

416. Accordingly, Virginia’s minimum requirements for controlled substance manufacture and

     wholesale drug distribution permit the Virginia Board of Pharmacy to suspend or revoke a

     license and notify the DEA if a registrant “[h]as furnished false or fraudulent material



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     information in an application filed under this chapter… [or] has had his federal registration

     to manufacture, distribute, or dispense controlled substances suspended or revoked.” Va.

     Code Ann. § 54.1-3424.

417. The federal laws and requirements which Virginia incorporates into its own laws require

     Defendants to act as gatekeepers guarding against the diversion of the highly addictive,

     dangerous opioid drugs. See Virginia laws incorporating federal requirements (e.g. 18 VA

     110-50-40).

418. The federal mandates incorporated into Virginia law require that Defendants must maintain

     “effective control against diversion of particular controlled substances into other than

     legitimate medical, scientific, and industrial channels.” 21 U.S.C. §§ 823(a)(1), (b)(1).

     These federal regulations impose a non-delegable duty upon both manufacturers and

     distributors to “design and operate a system to disclose to the registrant suspicious orders

     of controlled substances. The registrant [distributor or manufacturer] shall inform the Field

     Division Office of the Administration in his area of suspicious orders when discovered by

     the registrant. Suspicious orders include orders of unusual size, orders deviating

     substantially from a normal pattern, and orders of unusual frequency.” 21 C.F.R. §

     1301.74(b).

419. In addition to reporting all suspicious orders, distributors must also stop shipment on any

     order which is flagged as suspicious and only ship orders which were flagged as potentially

     suspicious if, after conducting due diligence, the distributor can determine that the order is

     not likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg.

     36,487, 36,501 (Drug Enf’t Admin. July 3, 2007); Masters Pharm., Inc. v. Drug Enf’t




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     Admin., 861 F.3d 206 (D.C. Cir. 2017). Regardless, all flagged orders must be reported.

     Id.

420. Each Defendant was further required to register with the DEA, pursuant to the federal

     Controlled Substance Act, as incorporated into Virginia law. See 21 U.S.C. § 823(b), (e);

     28 C.F.R. § 0.100. Each Defendant is a “registrant” as a wholesale distributor and/or

     manufacturer in the chain of distribution of Schedule II controlled substances with a duty

     to comply with all security requirements imposed under that statutory scheme.

421. Defendants violated VA Code Ann. § 18.2-248, which provides that, “[e]xcept as

     authorized in the Drug Control Act, it shall be unlawful for any person to manufacture, sell,

     give, distribute, or possess with intent to manufacture, sell, give or distribute a controlled

     substance or an imitation controlled substance.”

422. Defendants violated VA Code Ann. § 18.2-248.01, which provides that, “[e]xcept as

     authorized in the Drug Control Act, it is unlawful for any person to transport into the

     Commonwealth by any means with intent to sell or distribute… one ounce or more of any

     other Schedule I or II controlled substance…”

423. Defendants violated VA Code Ann. § 18.2-256, which provides that a person commits

     criminal conspiracy when it intends that an offense be committed.

424. Defendants also violated VA Code Ann. § 18.2-258.2 by knowingly assisting others “in

     unlawfully procuring prescription drugs from a pharmacy or other source he knows is not…

     permitted by the licensing authority of the Commonwealth…” for compensation.

425. Defendants do not qualify for the “authorized by law” exceptions to the Virginia Drug

     Control Act violations because Defendants did not comply with the mandatory terms of




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     the licenses issued to them by the Virginia Board of Pharmacy or with federal requirements

     incorporated by reference, as further detailed in this Complaint.

426. As previously alleged herein, each Defendant, at all times relevant to this Complaint, have

     violated the VCPA, codified at Va. Code §§ 59.1–196 et seq., by making deceptive

     representations about the use of opioids to treat chronic pain. Each Defendant also omitted

     or concealed material facts and failed to correct prior misrepresentations and omissions

     about the risks and benefits of opioids. Each Defendant’s omissions rendered even their

     seemingly truthful statements about opioids deceptive

427. Virginia common law creates a private right of action in a person damaged by another

     person's violation of any statute even where the statute is enacted for public safety and if

     the person damaged is within the class of persons the statute intended to be protected.

     Common law also extends to Virginia administrative regulations where adopted pursuant

     to an enabling statute and where such regulations concern public safety. See Butler v.

     Frieden, 208 Va. 352, 353, 158 S.E.2d 121, 122 (1967); Collett v. Cordovana, 772 S.E.2d

     584 (2015); Kaltman v. All American Pest Control, Inc., 706 S.E.2d 864, 872 (2011).

428. Plaintiffs are within the class intended to be protected by the public safety statutes and

     regulations concerning controlled substances.

429. Defendants’ violations of these public safety laws are prima facie evidence of negligence.

     Each Defendant had a duty under, inter alia, these laws to maintain effective controls

     against diversion of prescription opioids and to guard against, prevent, and report

     suspicious orders of opioids. Defendants’ violations of the law constitute negligence per

     se. Defendants breached mandatory, non-delegable legal duties and did not act reasonably

     under the circumstances.


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430. As described above in allegations expressly incorporated herein, Defendants breached their

     duties to maintain effective controls against diversion of dangerously addictive opioids,

     including violating public safety statutes and regulations requiring that, as wholesale drug

     distributors, Defendants could only distribute these dangerous drugs under a closed system

     Defendants were responsible for guarding.

431. As described above, Defendants’ breach of statutory and regulatory duties caused, bears a

     causal connection with, is and was a substantial factor contributing to, and/or proximately

     resulted in, harm and damages to Plaintiffs.

432. The injuries and damages sustained are those which the Virginia statutes and public safety

     regulations were designed to prevent.

433. Defendants’ violations of the Virginia statutes and public safety regulations cited herein

     were and are a substantial factor in the injuries and damages sustained.

434. It was foreseeable that Defendants’ breach of statutory and regulatory duties described

     herein would result in the damages sustained.

435. Plaintiffs seek compensatory damages for their monetary losses previously specified

     herein, plus interest and the costs of this action, resulting from Defendants’ negligence per

     se. Plaintiff does not seek damages for wrongful death, physical personal injury, or any

     physical damage to property caused by Defendants’ actions.

436. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

     disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

     compensatory and punitive damages, and all damages allowed by law to be paid by the

     Defendants, attorney fees and costs, and pre- and post-judgment interest, which exceed the

     minimum jurisdictional amount for this Court to exercise jurisdiction in this matter.


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    COUNT VI – WANTONESS, RECKLESSNESS, AND GROSS NEGLIGENCE
                       (Against all Defendants)

437. Plaintiffs reallege and incorporate by reference all preceding paragraphs.

438. Defendants’ aforesaid acts and omissions were done and/or omitted knowing that injury to

     Plaintiffs would likely or probably result; were done and/or omitted with a reckless or

     conscious disregard of the rights of Plaintiffs; were done and/or omitted without the exercise

     of even a slight degree of care; were done and/or omitted with conscious indifference to the

     consequences; and/or constituted a substantial deviation from the accepted and applicable

     standard(s) of care.

439. As a direct and proximate result of Defendants’ wantonness, recklessness, or gross

     negligence, Plaintiffs were monetarily damaged as aforesaid. Plaintiffs seek compensatory

     and punitive damages, plus the costs of this action, which exceed the minimum

     jurisdictional amount for this Court to exercise jurisdiction in this matter.

                                   COUNT VII – FRAUD
                                  (Against All Defendants)

440. Plaintiffs reallege and incorporate by reference all preceding paragraphs.

441. As alleged herein, Defendants made false representations, concealed material facts about

     opioids, and encouraged the prescription of opioids by physicians, as well as the use of

     opioids by patients, even when medically unwarranted.

442. Defendants made misrepresentations and failed to disclose material facts to physicians and

     patients throughout the United States, to induce and encourage physicians to prescribe and

     administer, and patients to purchase and consume, opioids as set forth herein.

443. Defendants’ false representations and omissions were material, and were made and/or

     omitted intentionally or knowingly.


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444. Defendants intended that physicians and patients would rely upon their misrepresentations

     and omissions.

445. Physicians and patients reasonably relied on Defendants’ misrepresentations and

     omissions. Physicians prescribed and administered, and patients purchased and consumed,

     opioids as set forth herein.

446. Because of physicians’ and patients’ reliance on Defendants’ misrepresentations and

     omissions of material fact, Plaintiffs have suffered monetary damages as aforesaid.

     Plaintiffs seek compensatory and punitive damages, plus the recovery of costs associated

     with this action, which exceed the minimum jurisdictional amount for this Court to exercise

     jurisdiction in this matter.

                                COUNT VIII – PUBLIC NUISANCE
                                    (Against All Defendants)

447. Plaintiffs reallege and incorporate by reference all preceding paragraphs.

448. Defendants, through the actions described in the Complaint, have created, or were a

     substantial factor in creating, a public nuisance by unreasonably interfering with a right

     common to the general public that works hurt, inconvenience, or damage, and interferes

     with the enjoyment of life or property.

449. Plaintiffs and patients have a public right to be free from the substantial injury to public

     health, safety, peace, comfort, and convenience that has resulted from Defendants illegal

     and deceptive marketing of opioids for the treatment of chronic pain.

450. This injury to Plaintiffs and patients includes, but is not limited to (a) a distortion of the

     medical standard of care for treating chronic pain, resulting in pervasive overprescribing

     of opioids and the failure to provide more appropriate pain treatment; (b) high rates of



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     opioid abuse and addiction, with which too many Virginia residents will now struggle their

     entire lives; (c) overdoses, other serious diseases (like Hepatitis C), and fatalities, with

     grievous consequences to Virginia communities and families; (d) children removed from

     their homes and newborns born addicted to opioids; (d) lost employee productivity due to

     opioid­ related addiction and disability; (f) the creation and maintenance of a secondary,

     criminal market for opioids; (f) greater demand for emergency services, law enforcement,

     addiction treatment, and social services; and (h) increased health care costs for individuals,

     families, and the State.

451. At all times relevant to the Complaint, Defendants’ deceptive marketing substantially and

     unreasonably interfered in the enjoyment of this public right by the Plaintiffs and their

     patients. Defendants engaged in a pattern of conduct that: (a) overstated the benefits of

     chronic opioid therapy, including a failure to disclose the lack of evidence supporting long-

     term use of opioids; (b) obscured or omitted the serious risk of addiction and other adverse

     effects arising from such use; and (c) overstated the impact of its abuse-deterrent

     formulations in reducing abuse, thus prompting doctors to continue to prescribe opioids in

     the false belief that these opioids were safer or prevented abuse. This conduct affected and

     maintained a shift in health care providers' willingness to prescribe opioids for chronic

     pain, resulting in a dramatic increase in opioid prescribing and the injuries described above.

     Defendants also interfered with the enjoyment of the public right by failing to report

     suspicions of illicit prescribing to law enforcement.

452. At all times relevant to the Complaint, Defendants exercised control over the

     instrumentalities constituting the nuisance, i.e., their marketing as conveyed through sales

     representatives, other speakers, and publications, and their program to identify suspicious


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     prescribing. As alleged herein, Defendants created, or were a substantial factor in creating,

     the nuisance through multiple vehicles, including: (a) making in-person sales calls; (b)

     disseminating advertisements and publications; (c) creating, sponsoring, and disseminating

     flawed and biased scientific research and prescribing guidelines; (d) sponsoring and

     collaborating with third parties to disseminate false and misleading messages about

     opioids; and (e) failing to report suspicious prescribing to law enforcement. To the extent

     Defendants worked through third parties, they adopted those third-party statements as their

     own by disseminating their publications, and/or exercised control over them by financing,

     reviewing, editing, and approving their materials.

453. Defendants’ actions were, at the very least, a substantial factor creating the public nuisance

     by deceiving prescribers and patients about the risks and benefits of opioids and distorting

     the medical standard of care for treating chronic pain. Without Defendants’ actions, opioid

     use would not have become so widespread, and the opioid epidemic that now exists in the

     Commonwealth of Virginia would have been averted or would be much less severe.

454. The public nuisance was foreseeable to Defendants, which knew or should have known of

     the harm they would cause. As alleged herein, Defendants engaged in widespread

     promotion of opioids in which they misrepresented the risks and benefits of opioids to treat

     chronic pain. Defendants knew that there was no evidence showing a long-term benefit of

     opioids on pain and function, and that opioids carried serious risks of addiction, injury,

     overdose, and death. A reasonable person in Defendants’ position would foresee not only

     a vastly expanded market for chronic opioid therapy as the likely result of Defendants’

     conduct—that was Defendants’ goal—but also that widespread problems of opioid

     addiction and abuse would result. In fact, Defendants were on notice and aware of signs


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     that the broader use of opioids was causing just the kinds of injuries described in this

     Complaint.

455. This public nuisance can be abated through education on appropriate prescribing, honest

     marketing of the risks and benefits of long-term opioid use, addiction treatment, disposal

     of unused opioids, and other means.

456. Because of Defendants’ actions, they have created a need for Plaintiffs to provide

     undercompensated and/or uncompensated care to illicit drug users. Plaintiffs seek

     compensatory and punitive damages, plus the recovery of costs associated with this action,

     which exceed the minimum jurisdictional amount for this Court to exercise jurisdiction in

     this matter.

                                  XIV.     DAMAGES

457. As a direct and proximate result of the foregoing, Defendants have foreseeably caused

     damages to Plaintiffs, including but not limited to the following: (a) unreimbursed and/or

     uncompensated costs incurred for the treatment of patients who suffer from conditions

     related to or caused by opioid use; (b) unreimbursed and/or uncompensated costs incurred

     for the treatment of patients, whose conditions are managed through the prescribing of

     long-term opioid use and the complications suffered by those patients as a result of long-

     term use of opioids; (c) unreimbursed and/or uncompensated costs incurred for the

     treatment and management of patients under the influence of opioids or suffering

     complications as a result of opioid use or misuse; (d) unreimbursed and/or uncompensated

     costs incurred for the treatment of patients including children whose medical conditions

     and complications may be caused by or exacerbated by the use of opioids by others; (e)

     unreimbursed or uncompensated costs of providing additional treatments and services


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   including therapeutic and prescription drug purchases; (f) unreimbursed and/or

   uncompensated costs incurred for the provision of laboratory and other diagnostic testing

   for the treatment and/or management of patients using opioids or undergoing therapeutic

   interventions to address opioid use or misuse; (g) unreimbursed and/or uncompensated

   costs incurred for the emergency treatment of patients with opioid-related addiction,

   disease, or dependency, including but not limited to emergency healthcare services

   provided for opioid overdose or for patients seeking treatment with opioids due to

   addictions, dependencies, and/or misuse; (h) unreimbursed and/or uncompensated costs

   incurred for the treatment with life support-related healthcare services to prevent death in

   certain instances of opioid overdose, including but not limited to treatment for babies born

   with addictions and dependencies; (i) the increased costs due to providing necessary

   screening procedures for acceptance of patients due to the high prevalence of individuals

   suffering from opioid-related addiction, disease, or dependency and needing medical care;

   (j) increased costs related to the monitoring of patients; (k) increased costs related to the

   credentialing and monitoring of healthcare providers; (l) increased costs related to

   additional security to address public safety concerns, particularly in the emergency

   department; (m) increased costs related to the storage and safekeeping of controlled

   substances; (n) increased costs related to added regulatory compliance; (o) increased

   litigation defense costs; (p) increased costs related to the procurement and maintenance of

   insurance; (q) lost revenue attributable to the required discharge of patients who are

   diverting and/or using opioids in a manner which does not comply with their prescribed

   use; (r) lost opportunity costs; (s) the diversion of assets from the provision of other needed

   health care; (t) increased human resources costs, as well as loss of employee productivity;


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       (u) uncompensated research cost related to non-opioid treatment alternatives; (v)

       uncompensated cost and expense for the provision of non-opioid treatment alternatives in

       the future; (w) uncompensated cost and expense for the current and future provision of

       treatment to address the consequences of opioid addiction and dependency, including but

       not limited to the after-effects attributable to medication assisted therapies; and (x)

       uncompensated cost and expense for the current and future provision of treatment to

       patients suffering from opioid withdrawal and/or medical issues related to opioid

       withdrawal.

                                XV.     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiffs, Bon Secours Health System, Inc.; Bon Secours- Richmond

Community Hospital, Incorporated; Bon Secours DePaul Medical Center, Inc.; Bon Secours—

Memorial Regional Medical Center, Inc.; Bon Secours—St. Francis Medical Center, Inc.; Bon

Secours—St. Mary’s Hospital of Richmond, Inc.; Bon Secours—Virginia Healthsource, Inc.;

Chesapeake Hospital Corporation; Mary Immaculate Hospital, Incorporated; and Maryview

Hospital, respectfully pray that the Court grant the following relief:

   1. Provide injunctive relief;

   2. Issue civil penalties;

   3. Enter judgment awarding Plaintiffs monetary damages, in the form of restitution and/or an

       adequate compensatory amount;

   4. Enter judgment awarding Plaintiffs monetary damages, punitive in nature, on their claims

       for wanton, reckless, and grossly negligent conduct, and on their claims for fraud;

   5. Enter judgment awarding Plaintiffs treble damages on their RICO claims;

   6. Award Plaintiffs pre-judgment and post-judgment interest as provided by law;


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    7. Award Plaintiffs reasonable attorney fees and costs;

    8. A trial by jury for all counts so triable; and

    9. Any and all other relief this Court deems necessary.

                                      XVI.   JURY DEMAND

        Plaintiffs, Bon Secours Health System, Inc.; Bon Secours- Richmond Community

Hospital, Incorporated; Bon Secours DePaul Medical Center, Inc.; Bon Secours—Memorial

Regional Medical Center, Inc.; Bon Secours—St. Francis Medical Center, Inc.; Bon Secours—St.

Mary’s Hospital of Richmond, Inc.; Bon Secours—Virginia Healthsource, Inc.; Chesapeake

Hospital Corporation; Mary Immaculate Hospital, Incorporated; and Maryview Hospital, demand

a trial by jury on all issues so triable.

                                                        Respectfully submitted,

                                                        /s/ Robert K. Finnell
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